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                           Randy Hinaman
                                                                             FILED
                                                                    2021 Dec-15 PM 10:37
                         December 09, 2021                          U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA

             UNITED STATES DISTRICT COURT

       FOR THE NORTHERN DISTRICT OF ALABAMA




EVAN MILLIGAN, et al.,       )

                             )         CIVIL CASE NO.

       Plaintiffs,           )      2:21-CV-01530-AMM

VS.                          )     VIDEO DEPOSITION OF:

JOHN MERRILL, et al.,        )         RANDY HINAMAN

                             )

       Defendants.           )




               S T I P U L A T I O N S

            IT IS STIPULATED AND AGREED, by and

between the parties through their respective

counsel, that the deposition of:

                     RANDY HINAMAN,

may be taken before LeAnn Maroney, Notary Public,

State at Large, at the law offices of Balch &

Bingham, 105 Tallapoosa Street, Montgomery,

Alabama, 36104, on December 9, 2021, commencing at

9:13 a.m.


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 1              IT IS FURTHER STIPULATED AND AGREED that

 2   the signature to and reading of the deposition by

 3   the witness is waived, the deposition to have the

 4   same force and effect as if full compliance had

 5   been had with all laws and rules of Court relating

 6   to the taking of depositions.

 7

 8              IT IS FURTHER STIPULATED AND AGREED that

 9   it shall not be necessary for any objections to be

10   made by counsel to any questions, except as to form

11   or leading questions, and that counsel for the

12   parties may make objections and assign grounds at

13   the time of the trial, or at the time said

14   deposition is offered in evidence, or prior

15   thereto.

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 1                   A P P E A R A N C E S

 2

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 9   FOR DEFENDANT JOHN H. MERRILL:

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 1   ALSO PRESENT:

 2              Paige Ali, Videographer

 3              Elizabeth Baggett

 4

 5

 6                            I N D E X

 7              MR. THOMPSON:        11-197

 8              MR. BLACKSHER:      197-229

 9

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11                   E X H I B I T        L I S T

12                                                             PAGE

13              Plaintiff's Exhibit 1         -                   14

14              (Depo notice)

15              Plaintiff's Exhibit 2         -                   14

16              (Subpoena)

17              Plaintiff's Exhibit 3         -                   21

18              (CV)

19              Plaintiff's Exhibit 4         -                   25

20              (Declaration)

21              Plaintiff's Exhibit 5         -                   92

22              (2021 Alabama Congressional Plan, RC 000553)

23              Plaintiff's Exhibit 6         -                   93

24              (2011 Congressional Districts)

25              Plaintiff's Exhibit 7         -                   135


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 1   (5-5-21 Reapportionment Committee

 2    Redistricting Guidelines)

 3   Plaintiff's Exhibit 8       -                    160

 4   (District 1-7 maps, RC 000556-562)

 5   Plaintiff's Exhibit 9       -                    179

 6   (List of 2021 congressional plans)

 7   Plaintiff's Exhibit 10 -                         201

 8   (State of AL v. US Department of Commerce

 9    Introduction)

10   Plaintiff's Exhibit 11 -                         203

11   (9-1-21 public hearing transcript excerpt)

12   Plaintiff's Exhibit 12 -                         208

13   (Whole County Plan)

14   Plaintiff's Exhibit 13 -                         213

15   (Tuscaloosa and Montgomery Whole)

16   Plaintiff's Exhibit 14 -                         213

17   (Data table)

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 1                    I, LeAnn Maroney, a Court Reporter of

 2   Birmingham, Alabama, and a Notary Public for the

 3   State of Alabama at Large, acting as commissioner,

 4   certify that on this date, pursuant to the Federal

 5   Rules of Civil Procedure and the foregoing

 6   stipulation of counsel, there came before me on

 7   December 9, 2021, RANDY HINAMAN, witness in the

 8   above cause, for oral examination, whereupon the

 9   following proceedings were had:

10                            * * * * *

11                  THE VIDEOGRAPHER:       This marks the

12   beginning of the deposition of Randy Hinaman in the

13   matter of Evan Milligan, et al, versus John H.

14   Merrill, et al., Civil Case Number 2:21-CV-01530-AMM

15   filed in the United States District Court for the

16   Northern District of Alabama.        The date is December

17   9, 2021.   The time is 9:13 a.m

18                  All attorneys present, will you please

19   state your names and whom you represent.

20                  MR. HARE:     Eli Hare on behalf of the

21   Singleton plaintiffs.

22                   MR. DAVIS:     Jim Davis for Secretary

23   Merrill.

24                   MR. WALKER:     Dorman Walker for the

25   Committee Chairs, Senator Jim McClendon and


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 1   Representative Chris Pringle.

 2                    MR. PENN:     Myron Penn for the Singleton

 3   plaintiffs.

 4                    MR. TURRILL:     Mike Turrill for the

 5   Milligan plaintiffs.

 6                    MR. THOMPSON:     And Blain Thompson for

 7   the Milligan plaintiffs.

 8                    MR. BLACKSHER:      And Jim Blacksher for

 9   the Singleton plaintiffs.        I'll be asking questions

10   virtually.

11                  MS. MADDURI:      Lali Madduri for the

12   Caster plaintiffs.

13                    MR. QUILLEN:     Henry Quillen for the

14   Singleton plaintiffs.

15                    MR. ROSS:     Deuel Ross for the Milligan

16   plaintiffs.

17                    MR. ROSBOROUGH:      Davin Rosborough for

18   the Milligan plaintiffs.

19                    MS. EBENSTEIN:      Good morning.      Julie

20   Ebenstein for the Milligan plaintiffs.

21                    MS. FAULKS:     Good morning.      Tish Faulks

22   for the Milligan plaintiffs.

23                    MS. BAGGETT:     Good morning.      It's

24   Elizabeth Baggett for the Milligan plaintiffs.              I'm

25   a law clerk, not an attorney.


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 1                  THE VIDEOGRAPHER:       Court Reporter, will

 2   you please swear in the witness.

 3                          RANDY HINAMAN,

 4   having been duly sworn, was examined and testified

 5                           as follows:

6                   THE REPORTER:      Usual stipulations?

7                   MR. WALKER:      The ones that we've just

8    discussed.

9                   MR. THOMPSON:      Yes.

10                  Mr. Walker, did you want to say

11   something before we begin?

12                  MR. WALKER:      Yes.   I'd like to put on

13   the record that the committee chair, Senator Jim

14   McClendon, and Representative Chris Pringle have

15   asserted their legislative privilege and immunity in

16   this case.     Of course, the Court has not yet ruled

17   on that.     Thank you.

18   EXAMINATION BY MR. THOMPSON:

19   Q.             Good morning, sir.

20   A.             Good morning.

21   Q.             Please state your name for the record.

22   A.             Randy Hinaman.

23   Q.             Mr. Hinaman, you understand that you're

24   testifying under oath right now?

25   A.             I do.


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 1   Q.              Is there anything that might prevent you

 2   from understanding my questions or answering

 3   truthfully today?

 4   A.              No.

 5   Q.              Are you being represented by a lawyer

 6   today?

 7   A.              Dorman Walker with the reapportionment

 8   committee.

 9   Q.              Are you paying Mr. Walker to be your

10   lawyer today?

11   A.              I am not.

12   Q.              Do you assume that plaintiffs or the

13   State of Alabama is paying Mr. Walker to be your

14   lawyer today?

15   A.              I do.

16   Q.              Have you ever been deposed before?

17   A.              I have.

18   Q.              How many times?

19   A.              Once.   Once is all I remember, not

20   counting trial.

21   Q.              And was that in the ALBC versus the

22   State of Alabama lawsuit?

23   A.              Yes, sir.

24   Q.              All right.    So I'll go over a few of the

25   key rules.


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 1                  I think that last deposition was about

 2   eight years ago.       Is that correct?

 3   A.             Yes, sir.

 4   Q.             Okay.    So I'll be asking questions

 5   today.   And then after I'm done, there will be

 6   several other people asking questions, as well.

 7                  If you don't understand a question, just

 8   let me know.     Is that okay?

 9   A.             Yes, sir.

10   Q.             If you answer a question, I will assume

11   that you understood it.         Is that fair?

12   A.             Yes.

13   Q.             Also, as you can see, we have a court

14   reporter here who is doing an amazing job typing

15   everything that we say as we go.          But it's very

16   important, because she's typing it, that we both

17   speak one at a time.       So I'll do my best to wait

18   until you're done answering questions.           And if you

19   can do the same, that will help her out a lot.             Is

20   that all right?

21   A.             Yes.

22   Q.             And then we'll take a break about every

23   hour.    If you need a break before then, just let us

24   know, and we can do that as long as there's not a

25   question pending.       Fair?


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 1   A.              Very well.

 2

 3                   (Plaintiff's Exhibits 1&2

 4               were marked for identification.)

 5

 6   Q.             I'm handing you what's been marked as

 7   Exhibit 1 and Exhibit 2.

 8                    MR. THOMPSON:     I've got copies for

 9   everyone else to the extent you would like one.

10   Q.              This is a copy of the deposition notice

11   and subpoena.

12                   MR. WALKER:     Which one is which?

13                   MR. THOMPSON:     Exhibit 1 is the notice.

14                    MR. WALKER:     Okay.

15                    MR. THOMPSON:     And Exhibit 2 is the

16   subpoena.

17                   MR. WALKER:     Thanks.

18   Q.             Have you seen a copy of these documents

19   before today?

20   A.             I have.

21   Q.             Both of them?

22   A.             Yes, sir.

23   Q.             Who provided them to you?

24   A.             Dorman Walker.

25   Q.             And when was that?


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 1   A.             The end of last week.        Friday maybe.

 2   Q.             All right.     You can set those aside.

 3                  Without disclosing the content of any

 4   discussions that you had with your attorneys, what

 5   did you do to prepare for your deposition today?

 6   A.             I met with Dorman Walker and Jim Davis

 7   and others and did some -- just reviewed numbers and

 8   talked about the process we followed.

 9   Q.             When did you meet with them?

10   A.             Monday and Tuesday, Monday morning and

11   -- Monday afternoon really and Tuesday morning of

12   this week.

13   Q.             About how long would you say you met

14   with them?

15   A.             I guess about four -- four or five hours

16   on Monday.    We also had lunch in there.         And three

17   hours on Tuesday.

18   Q.             Did you meet with anyone who was not an

19   attorney?

20   A.             No, I don't believe so.

21   Q.             Did you review any documents in

22   preparation for today?

23   A.             I just reviewed some of the census

24   numbers and the guidelines, the committee

25   guidelines.    That would be about it.


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 1   Q.              Did you review any of the complaints in

 2   this lawsuit?

 3   A.              No, I didn't.

 4   Q.              Did you review any maps?

 5   A.              Yeah.   I looked -- I looked at the

 6   current -- the map that was passed.          And I also

 7   looked briefly at some of the other maps that were

 8   offered to the legislature.

 9   Q.              Which other maps did you look at?

10   A.              The Singleton --

11                   MR. BLACKSHER:     Randy needs to speak up

12   a little bit, please.

13                   THE WITNESS:     Sure.

14   A.              The Singleton maps, the Coleman map, and

15   the Hatcher map, I believe.

16   Q.              Had you reviewed those maps, any of

17   those maps, before preparing for your deposition?

18                   MR. WALKER:     Objection to form.

19   Q.              You mentioned that you reviewed several

20   of those maps in preparation for your deposition,

21   correct?

22   A.              Correct.

23   Q.              Before then, had you reviewed any of

24   those maps?

25   A.              I looked at them when they were offered


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 1   on the floor of either -- whatever body they were

 2   offered in.

 3   Q.              Other than in preparation for your

 4   deposition last Monday and Tuesday, have you

 5   discussed this lawsuit with anyone?

 6   A.              No.

 7   Q.              Did you do anything else to prepare for

 8   your deposition today?

 9   A.              I did not.

10   Q.              Are you being compensated by anyone for

11   being here today?

12   A.              I assume I am.     I haven't -- I haven't

13   billed anybody yet.      But I'm planning to.

14   Q.              And who do you plan to bill for today?

15   A.              The attorney general's office.

16   Q.              How much do you plan to bill the

17   attorney general's office for your time today?

18   A.              $400 an hour.

19   Q.              Is that pursuant to some agreement that

20   you have with the attorney general's office?

21   A.              Well, we really haven't even discussed

22   it, honestly.     I guess I'll send them the bill, and

23   we'll see if they pay it.

24   Q.              Fair enough.

25                   Similarly, do you expect to be


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 1   compensated in any way to testify at trial?

 2   A.              I would assume the same arrangement.

 3   Q.              By the attorney general's office, as

 4   well?

 5   A.              Yes.

 6   Q.              All right.    Taking a step back and just

 7   talking about your background a little bit, can you

 8   please state your date of birth?

 9   A.              5-5-57.

10   Q.              What's your address?

11   A.              33267 River Road, Orange Beach, Alabama,

12   36561.

13   Q.              Is that your full-time address now here

14   in Alabama?

15   A.              Yes, sir.

16   Q.              You previously lived in Virginia; is

17   that correct?

18   A.              That's correct.

19   Q.              When did you make that move?

20   A.              I bought this property about five years

21   ago.     But I really technically moved probably about

22   three years ago.

23   Q.              Do you have a telephone number?

24   A.              Just my cell phone.

25   Q.              What's that number?


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 1   A.             (703)598-8383.

 2   Q.             Do you have an email account?

 3   A.             I do.

 4   Q.             What is that?

 5   A.             Sharh1@comcast.net.

 6   Q.             Do you have any other email addresses?

 7   A.             I do not.

 8   Q.             Have you ever been involved in any other

 9   lawsuits?

10   A.             No.    I mean, not as a witness or -- no.

11   Q.             What's the highest level of education

12   you've completed?

13   A.             I attended Cornell University.

14   Q.             Was that for undergraduate?

15   A.             Yes.

16   Q.             Did you graduate?

17   A.             I did not.

18   Q.             What did you study at Cornell?

19   A.             Political science.       Really they called

20   it government.

21                  MR. WALKER:      Called it what?

22                  THE WITNESS:      Government.     Anywhere else

23   on earth, it would be political science.

24   Q.             And if you don't mind me asking, you

25   said you did not graduate.        Is there a reason why?


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 1   A.             Yeah.    In the middle of that, I was

 2   offered a position with the Reagan campaign, which

 3   was sort of my dream job to work for his

 4   presidential race.      So I left to take on that

 5   responsibility for the national field director for

 6   the Reagan Youth Campaign.

 7   Q.             How far along had you gotten in your

 8   studies when you left?

 9   A.             Two years.

10   Q.             Do you have any other -- excuse me.            Do

11   you have any educational certificates or anything

12   like that?

13   A.             No.

14   Q.             Do you have any certain specializations

15   in anything?

16   A.             No.

17   Q.             Mr. Hinaman, what do you do for a

18   living?

19   A.             I do political consulting and lobbying.

20   Q.             Where do you work?

21   A.             I work for my own company out of my

22   residence in Orange Beach.

23   Q.             What's the name of that company?

24   A.             R. Hinaman, LLC.

25   Q.             And what is your -- do you have a formal


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 1   title within R. Hinaman, LLC?

 2   A.              I guess I would be the president of R.

 3   Hinaman, LLC.

 4   Q.              Are there other employees of that

 5   company?

 6   A.              There are not.

 7   Q.              If you can, explain to me briefly what

 8   you do as a political consultant and lobbyist.

 9   A.              Sure.   On the political consulting

10   front, I usually do -- I consult political

11   campaigns, usually on the federal level, mostly

12   congress, put together the campaign team for various

13   candidates to get elected to those offices.

14                   On the lobbying side, which I'm doing

15   less and less and less of, I did lobbying on the

16   federal level for various companies and

17   organizations.

18

19                 (Plaintiff's Exhibit 3 was

20                 marked for identification.)

21

22   Q.              I think I can short-circuit our

23   discussion about your background a little bit here.

24   This is Exhibit 3.

25                   MR. THOMPSON:     I can get you a copy, as


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 1   well, Mr. Walker.

 2   Q.             And I'll state for the record that this

 3   is a copy of your resume that was shown to you in a

 4   prior deposition that you gave on June 25, 2013.              I

 5   believe this was PX3 in that deposition.

 6                  Do you recognize this document?

 7   A.             I do.

 8   Q.             Does this appear to be a true and

 9   correct copy of your resume as of June 25, 2013?

10   A.             It does.

11   Q.             Is this resume up to date?

12   A.             It is not.

13   Q.             What has changed?

14   A.             Well, technically, the name of my

15   company changed because I moved from Virginia to

16   Alabama.    Obviously, my address has changed, again

17   because of moving.      Obviously, I've had some

18   additional clients since 2013.

19   Q.             Who have your additional clients been?

20   A.             I was afraid you would ask me that.

21                  Congressman Ben Cline, I did his

22   campaign to replace Bob Goodlatte who retired in

23   2018.   Let's see.     The American Dental Association

24   is on there.

25                  That's the major one.        I can't say there


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 1   wasn't another campaign in there.

 2   Q.             On here, it says that your company name

 3   is Hinaman & Company, Inc.        Did that change at some

 4   point?

 5   A.             Yeah, when I moved.        That was an LLC in

 6   Virginia.    And when I moved to Alabama, I formed a

 7   new LLC.

 8   Q.             And when was that?

 9   A.             Again, approximately about three years

10   ago.

11   Q.             Does a more current version of your

12   resume exist anywhere?

13   A.             Yeah, I'm sure it does.

14   Q.             Is that something that you could produce

15   in this case if you were asked to?

16   A.             Yes.

17   Q.             What experience do you have working with

18   redistricting?

19   A.             Obviously, I drew three of the four maps

20   for Alabama ten years ago, 2011, 2012.           I drew the

21   congressional maps and the two legislative maps.              I

22   also worked for the republican congressmen in

23   Virginia to draw their map in 2012.

24                  And before that, I worked with

25   Congressman Callahan, who was my -- I was his chief


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 1   of staff at one point and then his consultant in

 2   Alabama, and helped draw a map in 1992 which was

 3   then put into practice by a federal court.

 4   Q.              Anything beyond that?

 5   A.              No.   I mean, I assisted the majority

 6   leader of the Virginia senate in some of his efforts

 7   on redistricting ten years ago.         Actually, it was

 8   more like 20 years ago.        But I wasn't really the

 9   lead on it.     I was just assisting his office.

10   Q.              Outside of Alabama and Virginia, have

11   you ever worked in redistricting for any other

12   states?

13   A.              I have not.

14   Q.              How did you get involved in drawing maps

15   originally?

16   A.              Well, my first effort, I guess, was way

17   back in 1992 when the legislature failed to draw a

18   map for congress in Alabama.         I was working for

19   Congressman Callahan.        And with him and some of the

20   other members of the delegation, we decided that we

21   needed to file a lawsuit to remedy that situation.

22   And so I helped produce a map that was filed with

23   that lawsuit.     That was my first endeavor.

24   Q.              Had you ever drawn a map before then?

25   A.              I had not.


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 1   Q.             So how did they come about saying,

 2   "Randy, we want you to draw this map"?

 3   A.             I guess we drew straws and I lost.

 4   Q.             Fair enough.

 5

 6                 (Plaintiff's Exhibit 4 was

 7                 marked for identification.)

 8

 9   Q.             I'm going to hand you another exhibit

10   here.   This is being marked as Plaintiff's Exhibit

11   4.   This is also from the ALBC versus Alabama

12   lawsuit.    This is a declaration that was signed by

13   you.

14                  And you can see at the top there,

15   there's a date that says this was filed on June 17,

16   2013, in the Alabama Legislative Black Caucus for

17   the State of Alabama lawsuit.         Do you see that?

18   A.             I do.

19   Q.             Do you recognize this document?

20   A.             Not particularly.

21   Q.             If you can, flip to Page 7.          Do you see

22   there's a signature?

23   A.             Yes.

24   Q.             And your name?

25   A.             Yes.


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 1   Q.             Does that appear to be your signature?

 2   A.             Yes, sir.

 3   Q.             Does this appear to be a true and

 4   correct copy of your declaration?

 5   A.             Again, it doesn't ring a bill.           But I

 6   have no reason to believe it isn't.

 7   Q.             Take a look at paragraph two.          It

 8   states, "I have substantial experience in drafting

 9   redistricting plans in Alabama, including drawing

10   the congressional plan adopted by the three-judge

11   federal district court in Mobile in 1992 and work on

12   the 2011 congressional plan."         Excuse me.     "And work

13   on the 2001 congressional plan.         In 2011, I

14   developed the redistricting plan for the Alabama

15   congressional delegation.        In that work, I worked

16   within the guidelines for redistricting adopted by

17   the reapportionment committee."

18                  Do you see that?

19   A.             I do.

20   Q.             Is that an accurate description of your

21   experience in drafting redistricting plans in

22   Alabama?

23   A.             It is.    I mean, I don't know what that

24   -- the sentence on 2001, I did not draft the 2001

25   plans.     But I did work with the leaders in the


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 1   legislature who did draft those plans.           I didn't

 2   want it to imply that I drew those maps.            I don't

 3   know that it does imply that.

 4   Q.             Okay.    Well, let's go to the first part

 5   there where you said that you -- your experience did

 6   include drawing the congressional plan adopted in

 7   1992.   Does that mean that you did draw that map?

 8   A.             I did, yes.

 9   Q.             Is that the map that was used for the

10   Alabama congressional elections in the '90s?

11   A.             Yes, sir.

12   Q.             Did that map serve as the starting

13   point, then, for the congressional map that was

14   drafted for 2001?

15   A.             I didn't draw that map.

16   Q.             You said you worked on drawing that map.

17   What does that mean?

18   A.             The legislature at that time was

19   controlled by the democrats, and I was representing

20   some republican Congressman in just interacting with

21   them.   But they -- they drew the map.          I was just

22   trying to give our point of view to it.

23   Q.             Are you familiar at all with how that

24   map was drawn in 2001?

25   A.             Vaguely, but not -- not the specifics of


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 1   it.

 2   Q.             What's your understanding?

 3   A.             Well, it was essentially a continuation

 4   of the 1992 map, just updated for the most part for

 5   population shift.

 6   Q.             And you said you were working with the

 7   republican legislators?

 8   A.             I was working with Congressman Callahan

 9   at that point.

10   Q.             Did you have any role whatsoever in

11   drawing that map in 2001?

12   A.             I had no official role other than I was

13   working with the leaders -- the democratic leaders

14   who were working on that map.         I would occasionally,

15   you know, talk to them about the changes that were

16   made, and for especially Congressman Callahan's

17   district.    But I didn't -- I didn't have control of

18   the process, if that makes any sense.

19   Q.             Do you know who did draw the map?

20   A.             Senator Enfinger, I believe.

21   Q.             Did he --

22   A.             Well, that's who the -- he was the -- I

23   don't know who he hired.        That's who I interfaced

24   with.   Let's put it that way.

25   Q.             Understood.      That was going to be my


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 1   next question.

 2                  You said you spoke to several members of

 3   the legislature.      Do you remember who you spoke to?

 4   A.             In 2001?

 5   Q.             Yes.

 6   A.             My primary -- my primary interface on

 7   that map was Senator Enfinger.

 8   Q.             When you spoke with Senator Enfinger,

 9   did you provide any sort of input or recommendations

10   about how the map should be drawn?

11   A.             Only as to how -- he had a draft, I

12   believe, and was talking about the changes he wanted

13   to make in various districts.         And my primary focus

14   was the first district because I was working for

15   Congressman Callahan.

16                  So he had come with some suggestions,

17   and we just talked about those.         They were not -- I

18   don't think I had any tremendously substantive

19   changes to recommend.       So I think it was pretty much

20   what he had drawn, we were comfortable with.

21   Q.             Did you provide any other sort of

22   feedback in drawing the 2001 congressional map

23   beyond what you just mentioned with District 1?

24   A.             I did not.

25   Q.             Do you know if it was a goal in the 2001


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 1   congressional map to make sure that District 7

 2   remained a majority black district?

 3   A.             I do not.

 4   Q.             Do you know if it was considered in 2001

 5   to draw two majority black districts?

 6   A.             I do not, no.

 7   Q.             Let's go back to the 1992 congressional

 8   map.    Because you said you did draw that one,

 9   correct?

10   A.             Yes, sir.

11   Q.             The 1992 congressional map created the

12   first majority black congressional district in

13   Alabama history; is that correct?

14   A.             I believe so, yes.

15   Q.             And you said you drafted that map?

16   A.             I did.

17   Q.             So you drafted District 7 as it stood in

18   1992?

19   A.             Yes, sir.

20   Q.             Who asked you to draw that map?

21   A.             I was working for Congressman Callahan

22   and some of the other members of the Alabama

23   delegation.

24   Q.             Did you work with Senator Larry Dixon in

25   drafting the map?


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 1   A.             Probably, yes.

 2                  I will point out that this was 30 years

 3   ago.    So if you ask me a specific question, it's

 4   probably going to be hard for me to answer.

 5   Q.             Understood.

 6                  Do you remember any other legislators

 7   that you worked with directly in drafting the 1992

 8   map?

 9   A.             I do not.     As you know, the legislature

10   did not ultimately pass a map.         So we went -- it was

11   a court action that imposed this map.

12   Q.             Were you asked to create a majority

13   black district in drawing the 1992 map?

14   A.             I guess -- I guess I was, yeah.

15   Q.             Who asked you to do that?

16   A.             I think the -- well, Congressman

17   Callahan and the delegation probably in concert with

18   the NRCC.

19   Q.             Do you know why you were asked to do

20   that?

21   A.             At the time, I believe they thought that

22   was the proper thing to do under the Voting Rights

23   Act.

24   Q.             Did you receive any instructions from

25   the court?


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 1   A.             No, sir.

 2   Q.             Did you draw District 7 with the intent

 3   to make it a majority black district?

 4   A.             I did.

 5   Q.             How did you make sure that District 7

 6   would have a majority black voting age population?

 7   A.             I just included areas of high

 8   concentration of African American voters.

 9   Q.             How did you do that?

10   A.             By assigning counties and precincts that

11   fit that definition.

12   Q.             Did you have a particular percentage of

13   black voters that you were shooting for?

14   A.             I did not.

15   Q.             How did you go about choosing District 7

16   to be the district that has the majority black

17   voting age population?

18   A.             I don't -- I mean, I think it was a

19   function of geography, I mean, where areas with

20   concentration of black voters were.

21   Q.             And how did you gather that information?

22   A.             Census data.

23   Q.             What specifically?

24   A.             Just the census data from the -- related

25   to population and race.


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 1   Q.             So when you were drawing it, you were

 2   able to pull up and see black voters, white voters

 3   in different areas?

 4   A.             Yes.

 5                  MR. WALKER:      Objection to form.

 6   Q.             How did you see that information when

 7   you were drawing the map in 1992?

 8   A.             I'm not sure I understand your question.

 9   Q.             Did you use a software to draw the map

10   in 1992?

11   A.             As I remember -- again, it was 30 years

12   ago -- I believe I used the computers at the Alabama

13   reapportionment office to draw the map.           So I don't

14   know what their software was, to be honest with you.

15   Q.             What specific racial data did you have

16   in front of you when you were drawing that map?

17   A.             I would have total pop, total African --

18   total black, and voting age data.

19   Q.             Was that broken down by county,

20   precinct, neighborhood, block?

21   A.             County, precinct, block, yes.          Yes, sir.

22   Q.             And I realize it was 30 years ago.             How

23   did you go about drawing District 7 in 1992?

24   A.             Again, it was 30 years ago.          I don't

25   remember the machinations that went into drawing the


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 1   map.

 2   Q.             Did you have in your mind a certain

 3   black voting age population that you were shooting

 4   for?

 5   A.             No.

 6   Q.             So you just drew general lines and you

 7   found that it came to a certain percentage of black

 8   voting age population, and you thought that was

 9   good?

10   A.             Obviously, I was -- I had in my mind

11   that we wanted it to be majority black district.

12   But in terms of above 50 percent, I didn't have a

13   specific number in mind.

14   Q.             Did you take into account any other

15   characteristics of the black voting age population

16   that you were looking at when you drew that map in

17   1992?

18   A.             Such as?

19   Q.             For instance, did you look at any

20   socioeconomic factors?

21   A.             I did not.

22   Q.             Did you look at attitudes?

23   A.             I did not.

24   Q.             Interests?

25   A.             (Witness shakes head).


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 1   Q.             Type of employment?

 2   A.             I did not.

 3   Q.             Income?

 4   A.             I did not.

 5   Q.             Educational level?

 6   A.             No.

 7   Q.             Voter turnout?

 8   A.             No.

 9   Q.             Election results to assess party

10   affiliation amongst the black voting age population?

11   A.             No, I don't believe so.

12   Q.             When you drew District 7 in 1992, did

13   you determine that to be a community of interest?

14   A.             Yeah.    Well, I think it included most of

15   the black belt.      I would say they had a community of

16   interest along -- yeah.       So yes.

17   Q.             And what was the basis for that

18   determination?

19   A.             Well, geography and like demographics.

20   Q.             And race?

21   A.             And race.

22   Q.             Was race the main factor you considered

23   in drawing District 7?

24   A.             It was a major factor.

25   Q.             Was there a more predominant factor than


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 1   race?

 2   A.             Other than geography and deviation.

 3   Those would be the top -- obviously, things had to

 4   be contiguous.

 5   Q.             If District 7 did not have a majority

 6   black population, would it have passed?

 7   A.             Passed what?

 8   Q.             Would it have been approved?

 9   A.             You're asking me to question what three

10   federal judges would approve?

11   Q.             You were asked to draw a map that had a

12   majority black district, correct?

13   A.             Yes.

14   Q.             If you had turned in a map that did not

15   have a majority black district, would you have done

16   what you were asked to do?

17   A.             You mean turned into Congressman

18   Callahan?

19   Q.             Correct.

20   A.             No.    I think our goal was to draw a

21   majority black district.

22   Q.             Why did you draw only one majority black

23   district?

24   A.             That was our -- that was our goal, to

25   draw a district.


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 1   Q.             Your goal was to draw only one district?

 2   A.             Well, I'm not sure at that -- I don't

 3   remember the numbers exactly.         I'm not sure -- I'm

 4   not sure whether it would have been possible to draw

 5   two or not.    I don't know that it would have.

 6   Q.             Did you consider drawing two majority

 7   black districts?

 8   A.             I did not.

 9   Q.             Did anyone suggest to you to draw that?

10   A.             They did not.

11   Q.             Did you review or comment on any other

12   maps that contained two majority black districts at

13   the time?

14   A.             I don't --

15                  MR. WALKER:      Objection to form.

16   A.             I don't remember seeing any majority two

17   district maps.

18   Q.             Did you consider race in drawing any of

19   the other districts in 1992?

20   A.             I did not.     I mean, other than -- I did

21   not, no.

22   Q.             Skipping ahead to the 2011 congressional

23   map.   You also drew that map, correct?

24   A.             Yes.    But may I go back just one?

25   Q.             Sure.


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 1   A.             Obviously, we drew this map -- I drew

 2   this map, and it was submitted in a lawsuit.               I had

 3   no idea what would happen to it from there.               So it's

 4   not like I -- you know, I didn't know whether the

 5   judges would change it or what would happen.

 6   Q.             That's a good point.        Did the judges

 7   change it after you submitted it?

 8   A.             I don't -- no, I don't believe they did.

 9                  Sorry.    Go ahead.

10   Q.             So you stated that you also drew the

11   2011 congressional map, correct?

12   A.             Yes, sir.

13   Q.             That one is a little bit more recent,

14   ten years ago.     Do you recall the general method

15   that you used in drawing that map?

16   A.             Yeah.    I mean, essentially it was

17   updating the 2001 map based on demographic changes

18   that had happened over the last ten years and

19   working with the -- all of the -- I was hired by all

20   of the members to update the map and submit a --

21   submit a map to the legislature for approval.

22   Q.             So correct me if I'm wrong.          But

23   generally when you're drawing these maps, it's more

24   of a redrawing than a drawing from scratch.               Is that

25   fair to say?


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 1   A.             That is fair to say.

 2   Q.             So the general process is that you will

 3   use the existing map from the prior census data and

 4   update it with the new census data, correct?

 5   A.             That's correct.       And obviously, whether

 6   it's a congressional map or any other maps, you have

 7   officeholders who have an interest in, for the most

 8   part, keeping the voters that they've had for the

 9   last ten years.     So, most of them would not go into

10   a redistricting process looking for wholesale

11   change.

12   Q.             So the 2021 map, for instance, can be

13   traced back to the 2011 map, the 2001 map, and the

14   1992 map in that order, correct?

15   A.             Yeah.    Preserving cores of existing

16   districts was a guideline for the 2021 map.

17   Q.             For instance, the 2001 map used the 1992

18   map as a starting point, true?

19   A.             I didn't draw that map.

20   Q.             Do you have any other understanding of

21   how that map was drawn?

22   A.             I mean, if you look at it, it looks like

23   it was continuing that map, yes.          But I didn't --

24   the democratic legislature drew that map.

25   Q.             Is it a fair assumption to say that they


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 1   probably used the 1992 map in drawing the 2001 map?

 2   A.              That's an -- a fair assumption, I guess.

 3   Q.              And the 2011 map then that you drew used

 4   the 2001 map as its starting point?

 5   A.              Yes, sir.

 6   Q.              And then the 2021 map that you drew used

 7   the 2011 map as its starting point?

 8   A.              Yes, sir.

 9   Q.              In drawing the 2011 congressional map,

10   did you speak to members of congress?

11   A.              I spoke to all of them, yes, sir.

12   Q.              All seven of the incumbents?

13   A.              Yes.

14   Q.              And what did you speak to them about?

15   A.              We're talking about 2011?

16   Q.              Correct.

17   A.              I spoke to them about the over and under

18   nature of their districts, whether they needed to

19   gain population or lose population.          And based on

20   that, where they would like to gain or where they

21   would like to -- where they would be -- you know,

22   like to lose.

23                   And I tried to work with adjacent

24   districts to make sure that if person X wanted to

25   give up this county, that the other person would be


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 1   amenable to taking it.       So I tried to negotiate a

 2   map that everybody was happy with.

 3   Q.             Did you consult the state's

 4   redistricting criteria in drawing that map?

 5   A.             I did.

 6   Q.             Did you review election returns in

 7   drawing that map?

 8   A.             They were part of it, yes.

 9   Q.             What data did you have on that?

10   A.             I don't remember if all their races were

11   in there.    But I had the latest last three or four

12   state-wide races that were available.

13   Q.             And how did you use that information?

14   A.             I didn't use it all that much.           It was a

15   common -- you know, a common question from a member

16   might be, you know, what did the governor get in my

17   district?    And if we make this change -- or what did

18   whomever ran for president in the race before that,

19   whoever that was.

20                  But I didn't use it so much in drawing

21   the map.    It was more of confirming to them that

22   their district was going to perform similarly to how

23   the previous district had performed electorally.

24   Q.             Did that data give you information on

25   party affiliation?


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 1   A.             I don't believe so.        I think it was just

 2   election returns.

 3   Q.             Was that aggregate election returns?            Or

 4   was that by individual counties or precincts?             Does

 5   that make sense?

 6   A.             Yeah.    It was precinct-based.        But then

 7   it was aggregate for counties and then for the

 8   districts.

 9   Q.             You can look at all of that?

10   A.             Yes.

11   Q.             Understood.

12                  Did you look at any racial polarization

13   data in drawing the 2011 map?

14   A.             I did not.

15   Q.             Did you look at any other voter behavior

16   data?

17   A.             I did not.

18   Q.             Was it a goal in drafting the 2011

19   congressional map to make sure that District 7

20   remained a majority black district?

21                      (Zoom interruption.)

22   A.             What is that?

23   Q.             It sounds like we might have a singer.

24                    MR. TURRILL:     Someone is off on mute on

25   the line there.


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 1   Q.             I think we're good now.

 2   A.             Can you ask -- I'm sorry.         Can you ask

 3   that again?

 4   Q.             No problem.

 5                  Was it a goal in drafting the 2011

 6   congressional map to make sure that District 7

 7   remained a majority black district?

 8   A.             Yeah.    Obviously, Congresswoman Sewell

 9   was one of my -- one of my clients for that map.

10   And she wanted to maintain her majority black

11   district, yes.

12   Q.             When you say that she was one of your

13   clients, what do you mean?

14   A.             She was one of the members of congress

15   who paid me to draw the map.

16   Q.             Did you have a contract with those

17   members of congress?

18   A.             Verbally.

19   Q.             You didn't have a written contract?

20   A.             No.

21   Q.             What was the verbal contract?

22   A.             That they would all put in $10,000 to

23   draw -- each to draw -- pay me to draw this map.

24   Q.             That each individual congressman or

25   woman would put in $10,000?


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 1   A.              Their campaigns, yes.

 2   Q.              Was that the extent of the verbal

 3   agreement?

 4   A.              It was.

 5   Q.              Was it a goal in drafting that 2011

 6   congressional map to make sure that District 7 kept

 7   a 60 percent black voting age population?

 8   A.              No.

 9   Q.              Was there any sort of specific black

10   voting age population percentage that you were

11   shooting for?

12   A.              No.

13   Q.              Were you successful in making sure that

14   District 7 remained a majority black district?

15   A.              We were.

16   Q.              How did you make sure of that?

17   A.              By whatever -- you know, whatever -- and

18   I don't even remember the various counties ten years

19   ago.   If you handed me a map, I could probably tell

20   you.

21                   But by what we added county and

22   precinct-wise to make sure it did not dramatically

23   alter the makeup of the district.

24   Q.              Explain that to me a little bit further.

25   So what changes were you making in 2011?


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 1   A.             Again, I don't even know how much -- I'm

 2   going to hazard a guess that District 7 was

 3   underpopulated in 2011.       I don't remember the exact

 4   numbers.    It was ten years ago.

 5                  But I'm going to guess that it was

 6   underpopulated.     And so then the discussion with

 7   Congresswoman Sewell would be, you know, where --

 8   what areas would we add to your district to get your

 9   district to ideal population.

10                  And, obviously, in looking at those

11   areas, we, you know, wanted to make sure that we

12   preserved the majority black district.

13   Q.             I know some of this was discussed in

14   your deposition eight years ago.          So I'll try not to

15   tread the same water too much.

16                  But explain to me just a little bit

17   about the process when you were drawing the 2011

18   congressional map.      So did you start with District

19   7?

20   A.             I probably did start with District 7.            I

21   don't really remember, to be honest with you.             I

22   mean, I -- you know, I was meeting -- I met with the

23   entire delegation to start.        And then we went from

24   there.

25                  But preserving Congresswoman Sewell's


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 1   majority black district was a priority for the

 2   delegation.

 3   Q.             And that was the priority for you, as

 4   well?

 5   A.             Yes.

 6   Q.             Do you remember generally what sort of

 7   changes you made to District 7 in 2011?

 8   A.             I really don't.       I mean, I apologize.

 9   But I did so many maps and plans in the last ten

10   years that I don't.

11   Q.             What other maps and plans have you done

12   in the last ten years?

13   A.             Well, we just did four in the last

14   couple of months.

15   Q.             Anything else?

16   A.             Those are the ones that are mostly stuck

17   in my brain.

18   Q.             Are there any others?

19   A.             No.

20                  MR. WALKER:      What was the question

21   again?

22                  MR. THOMPSON:      He said there were so

23   many maps that he had drawn in the last ten years.

24   And I asked him which ones, and he said just the

25   four that he just did.


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 1   A.              Well, "drawn" is -- we could find the

 2   exact number.     But I think in this last legislative

 3   session, there were something like 41 various maps

 4   and plans that were submitted to the legislature.

 5   So while I certainly didn't draw most of those, I

 6   did look at them.

 7                   So to ask me to go back ten years, it's

 8   hard to -- when you have some 41 pieces of 41 maps

 9   in your head, it's hard to expand back ten years.

10   Q.              So you reviewed all 41 maps that were

11   submitted?

12   A.              I didn't review them all, but I looked

13   at most of them.

14   Q.              What's the difference between looking at

15   them and reviewing them?

16   A.              Well, reviewing them would take more

17   time.   Looking at them would be, okay, this is a --

18   this is a house map or a senate map or whatever.              I

19   just looked at the cover sheet and maybe the overall

20   numbers, but didn't review -- didn't -- some of them

21   were never offered, obviously.         So if they weren't

22   offered, I didn't look at them more seriously than

23   that.

24   Q.              Did you review all of the maps that were

25   offered?


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 1   A.             I looked at --

 2                    MR. WALKER:     And you're talking about --

 3   Q.             We're talking about 2021 now.          Did you

 4   review all the maps that were offered in the

 5   legislature in 2021?

 6   A.             Yes, I tried to.       Some of -- some of

 7   that may have been a very short review because some

 8   of those maps were literally submitted 24 hours

 9   before they were offered either on the floor or at

10   committee.    So it's not like it was a long review.

11   Q.             One more question going back to the 2011

12   congressional map.      Did you consider race -- excuse

13   me.   A couple more questions, to be fair.

14                  Did you consider race in drawing any of

15   the other districts other than District 7 in 2011?

16                  MR. WALKER:      Congressional.

17   Q.             The congressional map in 2011.

18   A.             Not specifically.       I mean, I'm not sure

19   I know what "consider" means.         But, obviously, all

20   that information was available on each district.

21   But --

22   Q.             Did you review the racial data for each

23   district when you were drawing the 2011

24   congressional map?

25   A.             As a matter of course, yeah.          I mean,


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 1   it's all there.

 2   Q.             Explain that.

 3   A.             Well, when you finish -- when you draw a

 4   map, obviously, you've got seven districts.             And

 5   you're going to have -- if you look at the, you

 6   know, top data for each district, it's going to have

 7   race and voting age, black, so forth and so on for

 8   each district.     It's not like it just only comes up

 9   on the majority black district.         It would come up on

10   all of them, obviously.

11   Q.             Did you review that data for each

12   district?

13   A.             I looked at it.

14   Q.             What did that data tell you?

15   A.             Nothing specifically.

16   Q.             Did you do anything with that data?

17   A.             I did not.

18   Q.             Did you consider drawing two majority

19   black districts when you drew the 2011 congressional

20   map?

21   A.             I really did not.

22   Q.             Why not?

23   A.             Well, primarily because the people who

24   were paying me to draw these maps preferred the

25   districts similar to how they were.


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 1   Q.             Did the people that were paying you to

 2   draw the map prefer not to have a second majority

 3   black district?

 4   A.             I don't know about that.         But they

 5   preferred to have their districts as close to what

 6   they had under that map going forward.

 7   Q.             Did you discuss with anyone the

 8   possibility of creating a second majority black

 9   district?

10   A.             I don't believe so.

11   Q.             Were you aware of requests in the

12   legislature in 2011 to create a second majority

13   black district?

14   A.             Again, I don't have a -- I don't have a

15   complete recollection of ten years ago what maps

16   were offered or not offered on the -- I don't want

17   to guess on what was offered and what wasn't

18   offered.

19   Q.             Do you know if it would have been

20   possible to create a second majority black district

21   in 2011?

22                  MR. DAVIS:     Object to the form.

23                  MR. WALKER:      Objection.     Go ahead.

24   A.             I did not do it.       So I -- I don't have

25   an opinion on whether it was possible.


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 1   Q.              To be clear for the timeline, I'm moving

 2   ahead now to 2021 for the most recent maps that were

 3   drawn.

 4   A.              Yes, sir.

 5   Q.              And I'm going to refer now to the 2021

 6   congressional map.      When I refer to that, I mean the

 7   one that was enacted.       It was also referred to, I

 8   believe, as HB-1 and then ultimately Act 2021-555.

 9   Is that fair?

10   A.              Yes, sir.

11   Q.              And I'll refer to that either as the

12   2021 map or the 2021 congressional map.           Is that

13   okay?

14   A.              Yes, sir.

15   Q.              When were you first approached about

16   drawing the 2021 congressional map?

17   A.              That probably would have been the end --

18   sometime in September or October of 2020.

19   Q.              Of 2020 or 2021?

20   A.              2020.   About a year out, I would say.

21   Q.              Who approached you?

22   A.              Senator McClendon and Representative

23   Pringle on behalf of the republican leadership.

24   Q.              What were you asked to do?

25   A.              They asked me if I would be interested


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 1   in drawing all four maps that they -- the

 2   congressional, as well as the other maps that needed

 3   to be drawn in this session.

 4   Q.             And those four would be the

 5   congressional, the house and senate for the state

 6   legislature, and the board of education?

 7   A.             Yes, sir.

 8   Q.             Did you agree to draw all four?

 9   A.             I did.

10   Q.             When were you officially retained?

11   A.             Around that time, I would think.           Like

12   maybe October of 2020.

13   Q.             And who officially retained you?

14   A.             Well, I was working for the two chairs

15   of the -- the house chair, Representative Pringle,

16   and the senate chair, Senator McClendon.

17   Q.             Did you sign a contract?

18   A.             I did.

19   Q.             When did you sign that contract?

20   A.             Again, I don't have that in front of me.

21   But September or October of 2020, I would imagine.

22   Q.             Is the contract with you individually,

23   or is it with your company?

24   A.             It was with R. Hinaman, yes.

25   Q.             And who is the other party that you


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 1   contracted with?

 2   A.              Citizens for Fair -- Citizens for Fair

 3   Representation.     Or maybe Alabamians for Fair

 4   Representation.

 5   Q.              Do you recall which one it is?

 6   A.              Not off the top of my head.

 7   Q.              Who is Citizens for Fair Representation

 8   or Alabamians or Fair Representation?           Whichever the

 9   name is, who is that group?

10   A.              It's a 501(c)(4) which also paid me to

11   do the map drawing that I did in 2011.

12   Q.              And what's your understanding of why you

13   were contracted by this particular group?

14   A.              Meaning?

15   Q.              As opposed to the State of Alabama, the

16   legislature, anyone else.        Why this 501(c)(4)

17   organization?

18   A.              The leadership had set up that (c)(4)

19   for the purpose of drawing districts in 2020 -- 2011

20   and then continued it for 2021.

21   Q.              So this 501(c)(4) organization was

22   created for the purpose of drawing the redistricting

23   in the state of Alabama?

24   A.              In 2011, that's my understanding, yes.

25   Q.              Do you know if that organization does


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 1   anything else?

 2   A.             I do not.

 3   Q.             The contract that you signed around

 4   September, October of 2020, did you draft that

 5   contract?

 6   A.             I did.

 7   Q.             What does the contract call for you to

 8   do?

 9   A.             It calls for me to work with the two

10   chairs and the leadership of the house and the

11   senate to draw four maps, congressional, state

12   senate, state house, and state board of education.

13   And to the extent practical and possible, meet with

14   the officeholders for those four maps to get their

15   interest in changes and so forth.

16   Q.             In that last part, you said "to meet

17   with the officeholders"?

18   A.             Yes.

19   Q.             Is that basically the incumbents for

20   each of the various districts on each of those maps?

21   A.             Correct.

22   Q.             Do you have a copy of that contract?

23   A.             Not with me.      But yes, I do.

24   Q.             Is that something that you could produce

25   if you were requested in this case?


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 1   A.             Yes.

 2   Q.             What were the terms of your compensation

 3   in that contract?

 4   A.             Four payments spaced out over various

 5   months, four payments of $50,000 spaced out over the

 6   length of the contract.

 7                  I believe when we actually signed the

 8   contract back in September or October, we were

 9   hoping or planning to do a special session in July.

10   So we didn't at that time know that COVID was going

11   to delay the census numbers and so forth and so on.

12                  So when I started the process at the end

13   of 2020, the theory was we would, you know, probably

14   have a special session in June or July sometime to

15   pass these maps.

16   Q.             You said you started the process around

17   the end of 2020.      What do you --

18   A.             Well, when I signed the contract.

19   Q.             You also said that there was -- the

20   contract called for four payments of $50,000.             Is

21   that four separate payments of 50,000 each, for a

22   total of --

23   A.             Yes, sir.

24   Q.             -- 200,000?

25   A.             Yes, sir.


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 1   Q.             Have you been fully paid at this point?

 2   A.             I have.

 3   Q.             Was any part of your compensation

 4   contingent on anything?

 5   A.             No.    However, the -- just to be clear on

 6   the payment, because the time frame of the project

 7   changed -- I mean, when we initially signed the

 8   contract, the theory was, again, we would have the

 9   census data in March and we would pass a plan in

10   July.   Obviously, that didn't happen.

11                  So my timeline for when I was supposed

12   to get those four payments I modified so that they

13   didn't have to pay me before I had actually even had

14   census data.     So we changed the timeline.         But yes.

15   Q.             Were you able to do any work on the maps

16   before you got the census data?

17   A.             Yeah.    We -- especially the state-wide

18   ones such as congress and state board of education.

19   We had to -- we had the estimates, county estimates,

20   from the census bureau.       I guess it would have been

21   the 2019 numbers.

22                  So it was possible to look at them and

23   say, okay, this district is likely to be under, this

24   district is likely to be over, which on the

25   congressional level allowed me to start meeting with


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 1   members before we had the official census data which

 2   we didn't get until the end of August.

 3   Q.             So you didn't get the official census

 4   data until the end of August.         But you had

 5   unofficial estimates from the census before then?

 6   A.             Correct.

 7   Q.             And when did you receive those

 8   unofficial results?

 9   A.             I don't -- I don't know when the 2019

10   numbers were updated.       But I'm going to say around

11   the end of -- somewhere around the end of 2020.              But

12   I don't know that exactly.

13   Q.             Did you begin working on the

14   congressional map before you received the official

15   census data?

16   A.             Yes, sir.

17   Q.             When did you begin working on that map?

18   A.             In earnest probably in May of 2021.

19   Q.             What do you mean "in earnest"?

20   A.             Well, meeting with members and talking

21   substantively about potential changes.

22   Q.             Before we get into the specifics of

23   that, just on your compensation real quick, were you

24   paid or retained by anyone else?

25   A.             No.    I mean, I assume you mean relative


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 1   to redistricting.

 2   Q.             Certainly.     You've received other

 3   payments --

 4   A.             Yes.

 5   Q.             -- for other --

 6   A.             Consulting.

 7   Q.             Correct.

 8                  So you stated that you began drawing the

 9   2021 map in earnest in May of 2021.          Did you do

10   anything else in preparation for drawing the maps

11   before that date?

12   A.             No.    I mean, I had conversations with

13   members of the congressional delegation.            And as you

14   may -- may know, there was considerable

15   concerns/discussion about whether Alabama would have

16   seven members of congress or six.

17                  And until we really knew the answer to

18   that -- which I think we were told by the census

19   bureau in April, sometime in April what the answer

20   to that question was -- there really wasn't much --

21   I didn't -- my position with the congressmen was it

22   would not make sense to work on a map until we knew

23   how many districts we were going to have.

24                  Because, obviously, working on a

25   six-person map where somebody would be paired with


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 1   somebody was not going to be a lot of fun.            And

 2   there was no need to do that if we didn't ever have

 3   to.

 4   Q.             Certainly.     So the census bureau

 5   informed --

 6   A.             All the states, I think, in April of how

 7   many -- how many members of congress they would

 8   have.    And then that allowed me to set up meetings

 9   and work off of the estimates of 2019 to talk about

10   whether your district was over or under and so

11   forth.

12   Q.             And you began those meetings around May

13   of --

14   A.             I went to DC with the goal to meet with

15   everybody in May, yes, sir.

16   Q.             So you said you went to DC.          So I assume

17   that you're referring to meetings with the

18   congressional members.

19   A.             Yes.

20   Q.             Did you meet with any other -- for

21   instance, did you meet with anybody in the Alabama

22   state legislature in the spring of 2021?

23   A.             Well, I met with the two co-chairs to

24   talk about my plan to how to -- you know, how to

25   move forward on the congressional, that we would


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 1   wait until we knew how many districts the state

 2   would have.    And then I would go to Washington and

 3   meet with the members and start formulating a plan

 4   from there to hopefully reach some consensus on a

 5   map.

 6   Q.             Before you received word from the census

 7   bureau that there were going to be seven districts

 8   in Alabama again, did you do anything else in

 9   furtherance of drawing the 2021 congressional map?

10   A.             I did not.

11   Q.             When did you actually begin redrawing

12   the 2021 congressional map?

13   A.             After my May round of meetings in

14   Washington.

15   Q.             You say after then.        Would that have

16   been in May?     Or June, July?

17   A.             I think the end of May, beginning --

18   again, this was all based on estimates.           We did not

19   have the real census data.        So I just -- I probably

20   roughed out a map sometime in May or June based off

21   of the estimates, knowing full well they were not

22   going to be completely accurate.

23   Q.             From the time that you started drawing

24   the 2021 congressional map until it was completed,

25   about how much time did you spend in terms of hours


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 1   on drawing that map?

 2   A.             I have no idea.       I guess I would make a

 3   bad lawyer.

 4   Q.             Well, I don't want you to guess.

 5                  When was the map completed for the 2021

 6   congressional?

 7   A.             Complete.     When was I done with what I

 8   was doing with it?

 9   Q.             Correct.

10   A.             Probably the Friday before the week we

11   went into session.      So whatever that -- October 23rd

12   or -- I'm making up that date.         Whatever the Friday

13   before we went into session was.

14   Q.             And you're referring to the special

15   session that was called in the fall of 2021?

16   A.             Correct.

17   Q.             Going back to how much time it took you

18   in terms of hours.      Would you say that you spent

19   more than 100 hours drawing the congressional map in

20   2021?

21   A.             Well, if you're including meetings and

22   discussions about it, yeah, probably.

23   Q.             Would you say you spent more than 150

24   hours?

25   A.             I don't know.      I just -- I don't really


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 1   have a -- I didn't think of it in terms of hours.

 2   My contract didn't -- my contract was just you were

 3   going to draw these four maps.         And whether it took

 4   123 hours or 217 was irrelevant to what I was doing.

 5   Q.             Right.    I'm just trying to get an idea

 6   about how long it took you.        I know there were

 7   months involved.

 8                  But how much time you were actually

 9   spending on this in that time frame, would you say

10   it took you more than 200 hours?

11   A.             I have no way of even guessing that.            I

12   really -- I apologize, but I don't.

13   Q.             Were you doing other things work-wise

14   between May 2021 and -- when was the special

15   session?    Was it in October?

16   A.             October of 2021, yes.

17   Q.             Between May 2021 and October 2021, were

18   you doing anything else work-wise other than drawing

19   these four maps?

20   A.             Not very much because it was an

21   off-year, obviously.       I had clients that I did

22   things for, obviously, in 2020, working up to the

23   November 2020 election.       But -- and I still had an

24   ongoing relationship with some of -- a couple of my

25   clients.    But there wasn't a lot of work that needed


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 1   to be done in the off-year.

 2   Q.              Were you working full 40-hour weeks

 3   during that entire time?

 4   A.              By and large, yes.

 5   Q.              Did you take any trips or personal

 6   vacation time during that time period?

 7   A.              Well, it was during COVID.        So I didn't

 8   travel a whole lot.        But it was a crazy time, as you

 9   all remember.

10   Q.              Did you take any time off?

11   A.              Sure.

12   Q.              About how long did you take off?

13   A.              I don't know.     A couple of weeks.

14   Q.              And in that -- you had mentioned that

15   you weren't able to begin redrawing the

16   congressional map before you received the census

17   estimates in April of 2021.        Does that apply to all

18   --

19   A.              Before I received how many districts we

20   had in April of 2021.

21   Q.              Correct.    Does that --

22   A.              I think we had the census estimates

23   before that.     I'm saying we just didn't know how

24   many districts there were.

25   Q.              Fair enough.     Thank you for the


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 1   clarification.

 2                  Does that apply to all four of the maps

 3   that you were drawing?

 4   A.             No.    That's obviously the -- the only

 5   one that the census determined how many members

 6   there would be would be -- was congress.

 7   Q.             Because you said you had unofficial

 8   census data on, I guess, population prior to that?

 9   A.             By county, yes.

10   Q.             And did you use that unofficial data for

11   the other maps?

12   A.             I used it -- I used it to start working

13   with the state school board members.

14                  It was less effective at the senate and

15   house levels, virtually useless at the house level

16   because it was mostly county data at the beginning.

17   And so most house districts are not made up of full

18   counties, obviously.       So it was less valuable in

19   those maps and more valuable in the statewide maps.

20   Q.             When did you begin drawing the state

21   house and senate maps in 2021?

22   A.             I did not start on a house map until we

23   actually had all of our census data at the end of

24   August.   I had roughed out a few of the rural senate

25   districts based on some of the estimates.            But it


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 1   wasn't particularly effective.

 2                  So I would -- I would really say I

 3   didn't seriously start drawing those maps until

 4   August of 2021.

 5   Q.             And what about the board of education

 6   map?

 7   A.             The board of education I was doing

 8   simultaneously to congress because that was

 9   obviously a statewide map.        And the county numbers

10   were more usable in that type of map than they were

11   in a 105-member state house map.

12   Q.             So you began drawing the board of

13   education map around --

14   A.             The same times as congress.

15   Q.             Which was around May of 2021?

16   A.             Correct.     I think I started meeting with

17   those members in May, as well.

18   Q.             We've been going about an hour.           Do you

19   want to take a break?

20   A.             Sure.

21                  THE VIDEOGRAPHER:       We're off the record.

22   The time is 10:17 a.m.

23                      (Recess was taken.)

24                  THE VIDEOGRAPHER:       We are back on the

25   record.   The time is now 10:35 a.m.


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 1   Q.             Mr. Hinaman, when we left off, we were

 2   talking about the preparation that you did starting

 3   to get into the beginnings of drawing the 2021 map.

 4                  Prior to May 2021, did you anything in

 5   furtherance of drawing the 2021 congressional map?

 6   A.             Other than reviewing the 2019 census

 7   estimates by county, no.

 8   Q.             And what did you do when you were

 9   reviewing the --

10   A.             I was trying to get a feel for what

11   districts would be underpopulated and what districts

12   would be overpopulated based on those estimates.

13                  And while the estimates in the end

14   didn't turn out to be obviously particularly close

15   to the actual numbers, in order -- they were -- they

16   were close in that they did predict the three

17   districts that would be under and the four districts

18   that would be over.

19                  So it was helpful to pay attention to

20   that when I started to do my round of meetings with

21   the members of congress.

22   Q.             Did you do anything else prior to May

23   2021 in furtherance of drawing the 2021

24   congressional map?

25   A.             No.    I mean, obviously, I -- at some


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 1   point in that time frame, the reapportionment

 2   committee met and passed their guidelines.

 3   Obviously, I reviewed those and how they would

 4   impact the drawing of the maps.         But that was --

 5   that was about the May time frame, as well.             It may

 6   have been early May rather than later May.

 7   Q.             You met with members of congress in DC

 8   in May of 2021, correct?

 9   A.             Yes.

10   Q.             Was that the first thing that you did

11   after the census data came out in 2021?

12   A.             Well, the data --

13   Q.             Let me take a step back there.

14                  You said that prior to May 2021, the

15   only thing that you had done was review some of the

16   unofficial census data to get a feel for

17   underpopulation, overpopulation?

18   A.             Yes.

19   Q.             Then the census bureau announced around

20   April 2021 that there will be seven congressional

21   districts again in Alabama?

22   A.             Correct.

23   Q.             Was the next step that you did flying to

24   DC to meet with the congressional members?

25   A.             Yes.    And that was, again, after


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 1   guidelines had been passed in early May.

 2                  The only other thing in there, obviously

 3   I had talked -- before we knew seven to six, I had

 4   talked to, obviously, all of the offices, the

 5   congressional offices, about what my -- what our

 6   proposed timeline was going to be based on the fact

 7   that the census data was delayed, and that hopefully

 8   we would be able to set up a round of meetings in

 9   May and then we would get our data in August or

10   whatever, and then we would fine tune it from there.

11   Q.             So those were more of administrative

12   coordination discussions?

13   A.             Yes, sir.

14   Q.             You flew to DC, you said, in May of 2021

15   to meet with the congressional members.           Did you

16   meet with each -- all seven congressional members?

17   A.             I met with five in person, one by Zoom.

18   And one of the members declined to meet because they

19   were more interested in running for a different

20   office, I guess.

21   Q.             Which member was that that declined to

22   meet?

23   A.             Mo Brooks.     I met with his chief of

24   staff, but I did not meet with Congressman Brooks

25   directly.


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 1   Q.             You met with each of the other

 2   congressional members?

 3   A.             Five in person and one by Zoom.

 4   Q.             Who was the one you met with by Zoom?

 5   A.             Congresswoman Sewell.        She was back in

 6   Alabama on a personal matter.         So I met with her by

 7   Zoom.

 8   Q.             Did you meet personally with Congressman

 9   Sewell by Zoom?

10   A.             Yes.

11   Q.             And when was that?

12   A.             During the May trip.        Is that what

13   you're asking me?

14   Q.             Correct.     Because you went to DC to meet

15   with some of them.

16   A.             Yes.    And she was not in DC because of a

17   personal matter.      So we did a Zoom call.

18   Q.             You were in DC when you had the

19   Zoom call?

20   A.             And she was in Birmingham, I believe.

21   Q.             Was it just one call that you had with

22   Congressman Sewell?

23   A.             During that trip, just one call.

24   Q.             Have you had other meetings with

25   Congressman Sewell?


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 1   A.             I've had other Zoom meetings with her.

 2   Microsoft Teams, technically.         But yes, Zoom

 3   meetings.

 4   Q.             Have you had any in-person meetings with

 5   Congressman Sewell?

 6   A.             No, I don't think I did this time.            I

 7   mean, as -- in-person meetings were rather

 8   difficult.    It was actually May when I went to --

 9   the house office buildings were actually closed and

10   didn't allow visitors.       So meeting anybody in person

11   was a bit challenging during that time.

12                  I would have met with her in person on

13   that trip had she been in town.         But she was not.

14   But the other members that I met with were all

15   off-campus, so to speak, because we couldn't go to

16   -- I couldn't go to their offices.

17   Q.             As far as Congressman Brooks goes, you

18   said you met with somebody from his staff?

19   A.             I met with his chief of staff, yes.

20   Q.             And what did you discuss with these

21   representatives when you met with them in May of

22   2021?

23   A.             I discussed the over and under nature of

24   their district.     And if their district was

25   underpopulated based on the estimates, I said, you


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 1   know, "Where would you envision picking up

 2   population?"     If you were over populated, "What

 3   areas of your district would you envision

 4   potentially losing?"

 5   Q.             Did you discuss anything other than

 6   population changes with them?

 7   A.             Population changes and potential

 8   timelines and when we might get the real census

 9   data.

10   Q.             Anything else that you discussed with

11   them?

12   A.             That was about it.

13   Q.             What did you do next after meeting with

14   the representatives in May of 2021?

15   A.             I took -- took back that information and

16   looked at it in terms of a map, and then waited for

17   the real census data to come to see where we really

18   were.

19   Q.             You said you took back that information.

20   What sort of information did you get from these

21   meetings?

22   A.             When somebody said if I need to lose

23   10,000, I would like to lose them in county X or

24   place Y or whatever.

25   Q.             And so you said you took that


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 1   information.     And then what did you do with it?

 2   A.              Tried to rough it out in an estimated

 3   map, but again knowing that it was going to change

 4   because the estimates were not going to be

 5   completely accurate.

 6                   And, again, I didn't want to -- if there

 7   was a conflict somewhere between some -- two members

 8   wanted county X, I didn't really want to litigate

 9   that until we had real numbers because it may become

10   irrelevant when it turns out that their district was

11   10,000 off of what the estimate said.

12                   So I tried not to get into any

13   negotiations at that point.

14   Q.              Were there some disputes in the

15   recommendations and requests that you received?

16   A.              Minorly, yeah.

17   Q.              Were there specific counties that more

18   than one representative wanted?

19   A.              Yeah.   I mean, for example, the 1st

20   District was going to be over.         The 1st District was

21   going to be overpopulated, and it was going to have

22   to lose some.     And the 1st District congressman

23   wanted to probably lose some to the 2nd in Monroe,

24   but the 2nd District congressman wanted to gain some

25   from the 1st in Escambia, just things like that.


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 1   They were not major.

 2                  But, again, it really wasn't worth the

 3   point of negotiating it fully until we knew the real

 4   numbers.    Because as it turned out, it only ended up

 5   being 739 people, and it wasn't particularly

 6   important which county it was in the scheme of

 7   717,000 voters or citizens in a district.

 8   Q.             You said you then took that information

 9   from those meetings with the representatives and

10   roughed out a map.      What does that mean?

11   A.             It means I took the -- we had the

12   estimates on Maptitude at the state reapportionment

13   office.    And I just roughed without -- I mean, I

14   didn't get anywhere close to zero deviation because

15   there was no point in it.

16                  I just generally roughed out based on

17   what we had discussed in DC, knowing that it was all

18   going to change when we got the real numbers.             But

19   just explored some of the potential.

20   Q.             And to be clear, for somebody that

21   doesn't draw maps, what does "roughed out" mean?

22   A.             Meaning assigned various counties to

23   districts just in an effort to get things closer to

24   the ideal population.

25   Q.             Kind of playing with the numbers, just


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 1   kind of seeing what works as a preliminary

 2   standpoint, I guess?

 3   A.             Yes.    And just to be clear, that was all

 4   on total population.       Because I certainly didn't

 5   have the ability or trust the internals of any of

 6   those -- I mean, I wouldn't have trusted like BVAP

 7   or anything else to the extent it wouldn't have made

 8   any sense to look at it at that point.

 9   Q.             Did you have any data on the black

10   voting age population at that --

11   A.             I don't know what the estimates had.

12   But I didn't even look at it because I knew it

13   wasn't going to be significant to what we were

14   doing.

15   Q.             Did you do anything else before you

16   received the official census data in August of 2021?

17   A.             No.

18   Q.             Did you review any other materials in

19   that time frame before August 2021?

20   A.             Obviously, I reviewed the guidelines and

21   had discussions with the two chairs of how we will

22   proceed once we get the data in terms of all the

23   maps.

24   Q.             What were those discussions like?

25   A.             Just mostly timing and how we would --


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 1   how we would go forward.        And hopefully we could get

 2   some consensus on the state school board members and

 3   some consensus with the congressional members.

 4                  And, obviously, the house map I couldn't

 5   do anything with until we got the real numbers.              The

 6   senate map I could do next to nothing with.             I mean,

 7   I could look at a few of the more rural districts

 8   because they were whole counties.          But once you got

 9   into major metropolitan areas, I couldn't come up

10   with too many suggestions for that then.

11   Q.             Other than Pringle and McClendon, did

12   you meet with any other members of the Alabama

13   legislature?

14   A.             I don't believe so at that time.

15   Q.             And "that time" being before August

16   2021, correct?

17   A.             Correct.

18   Q.             Did you review any election returns in

19   that time frame?

20   A.             I did not.

21   Q.             Did you review any voter registration

22   info in that time frame?

23   A.             I did not.

24   Q.             Did you review any voter primary

25   participation data in that time frame?


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 1   A.              No, sir.

 2   Q.              And then in August 2021, you received

 3   the official census data, correct?

 4   A.              Correct.

 5   Q.              What did you do once you received that

 6   data?

 7   A.              Well, the State received it.

 8   Q.              And then ultimately it was passed on to

 9   you, correct?

10   A.              Well, it was -- I used the state

11   computer.    So their -- that data was then given to

12   Maptitude.     This is my understanding.        I did not do

13   any of this.

14                   That data was given to Maptitude, and

15   Maptitude turned it into their workable -- put it

16   into their program and sent it back to the State.

17   And the State loaded it into their computers, which

18   all took another week.       And then I was able to

19   manipulate it on -- use it on a computer at that

20   point.

21   Q.              So walk me through that.        So Maptitude

22   is a software on a computer, correct?

23   A.              Yes.

24   Q.              A map-drawing software?

25   A.              Correct.


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 1   Q.             Is it the same software that you had

 2   used previously in drawing maps?

 3   A.             I used it in 2011, yes, sir.

 4   Q.             Did you ever use it before then?

 5                  THE WITNESS:      I used it in 2011.       The

 6   State used ESRI.

 7   A.             Excuse me?

 8   Q.             Did you use it before 2011?

 9   A.             I don't think so.

10   Q.             And you were clarifying with Mr. Walker

11   that you used in 2011 --

12   A.             Yeah.    In 2011, I had a computer, and I

13   had Maptitude on it.       The State used -- the State of

14   Alabama used a different software, I think, called

15   ESRI.

16                    THE REPORTER:     Called what?

17   A.             ESRI.

18   Q.             Can you spell that?

19   A.             I don't know.

20                  MR. WALKER:      E-S-R-I, all capital

21   letters.

22   Q.             And what is ESRI?

23   A.             It's just a -- it's similar to Maptitude

24   software for using the census data.

25   Q.             So in 2011, you drew the map using your


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 1   own computer and your own software?

 2   A.              Correct.

 3   Q.              Was that then imported into ESRI for the

 4   State?

 5   A.              Yes, sir.

 6   Q.              The file types can be imported from one

 7   to the other?

 8   A.              Yes, sir.

 9   Q.              Then in 2021, you did not use your own

10   computer and software, correct?

11   A.              That's correct.

12   Q.              You used the State's computers and

13   software?

14   A.              Entirely.

15   Q.              Where was that physically?

16   A.              In the reapportionment office at the

17   state house, Room 317.

18   Q.              So any time that you wanted to actually

19   work on redrawing the map, you had to --

20   A.              Physically be there.

21   Q.              How often --

22   A.              Sorry.     I didn't mean to finish your

23   sentences.

24   Q.              That's fine.     And we're doing a pretty

25   decent job.     But let's try to remember to let each


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 1   other finish so that the court reporter can type

 2   everything down.

 3                  How often -- starting in August 2021,

 4   how often would you go to the -- what did you say it

 5   was?   The reapportionment office?

 6   A.             Reapportionment office.

 7   Q.             How often would you go to the

 8   reapportionment office after August 2021?

 9   A.             Once the -- once the material was loaded

10   into the computer, which was probably the last week

11   of August maybe, I was there once or twice a week

12   for the next week or so.        And then after that, I was

13   there four or five days a week until we were through

14   the special session.       I basically lived in

15   Montgomery.    For all intents and purposes, I lived

16   in Montgomery for a couple of months.

17   Q.             From, say, the beginning of September

18   through the end of October?

19   A.             Yeah.    Certainly Labor Day until the end

20   of October.

21   Q.             Would you work on weekends, as well?

22   A.             Rarely.     I mean, once we got very close

23   to the session, yes.       But not -- not normally.

24   Q.             Of the four maps you were -- you were

25   working on all four maps in that time frame, right,


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 1   starting in August 2021 through October 2021?

 2   A.             Yes.

 3   Q.             And all four maps, you were doing the

 4   same process using the State's computers and using

 5   Maptitude, correct?

 6   A.             Correct.

 7   Q.             Were there any of those maps that took a

 8   significantly larger portion of your time to draw?

 9   A.             Well, obviously, including meetings with

10   members.    105 house members are significantly more

11   meetings than, you know, seven for congress and

12   eight for school board.

13                  So, obviously, the house map probably

14   took a lot longer just in terms of meeting with 105

15   different -- I didn't meet with everybody.            But the

16   vast majority of 105 people -- and sometimes more

17   than once -- took a lot longer than meeting with

18   seven congressmen, for example.

19   Q.             In addition to meeting, I assume that

20   drawing 105 districts probably takes a lot more of

21   your time to do than just drawing seven.            Is that

22   fair?

23   A.             That's fair.

24   Q.             If you had to put very rough percentages

25   on the amount of time you spent on the congressional


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 1   map versus the other ones, about how much of your

 2   time would you say you spent?

 3   A.              Now you're -- now you're making me a

 4   lawyer again.     And I'm not good at this.

 5                   I really -- I don't really know how to

 6   do that.    I mean, you would be correct that the

 7   majority -- I mean, I put more time into the house

 8   map than I put into the state school board and the

 9   congressional.     But I really don't have a way to

10   quantify that.

11   Q.              Did you put more time into the senate

12   map, as well?

13   A.              Yeah.    Obviously, it's 35 members versus

14   seven or eight.     It just takes longer to do the

15   meetings and follow-ups and so forth.

16   Q.              And the state school board --

17   A.              Is eight members.

18   Q.              Eight members.     Did that take you about

19   the same amount of time to draw as the --

20   A.              Yeah.

21   Q.              Sorry.    Let me make sure that I can

22   finish.

23                   Did drawing the state school board map

24   take you about the same amount of time as it did for

25   drawing the congressional map, given that they have


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 1   about the same number of districts?

 2   A.              Yes.

 3   Q.              Going back to the software, this

 4   Maptitude software, you said that it took about a

 5   week for the census information to be uploaded; is

 6   that correct?

 7   A.              Yeah, that's what I said.

 8   Q.              What does that mean?

 9   A.              Again, this was not part of my

10   responsibility.        But the State got the data, as I

11   understood it, and gave it to Maptitude.            Maptitude

12   translated it into their software and sent it back

13   to the State to be loaded on the State computer.

14                   But, again, this is all my secondhand

15   knowledge of what was going on.         I was not doing

16   this.

17   Q.              From your perspective, once you arrived

18   around the end of August looking at Maptitude and

19   the software, you were able to see what information

20   has been uploaded, correct?

21   A.              Well, once it's -- yeah.        Once it's

22   uploaded, yes.

23   Q.              What sort of information is -- was

24   available to you on the Maptitude software regarding

25   the districts?


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 1   A.             Once it's all loaded in, I have, you

 2   know, total population and voting age population and

 3   race down to the block level.

 4   Q.             Is there any other information that's

 5   available to you in Maptitude?

 6   A.             I don't believe so.

 7   Q.             Did you, yourself, upload any additional

 8   information into Maptitude?

 9   A.             I did not.

10   Q.             Did you review any other data in

11   preparing the maps?

12   A.             I did not.

13   Q.             Did you meet with anyone between August

14   2021 and the time that you submitted the maps before

15   the special session in furtherance of drawing the

16   2021 congressional map?

17   A.             Well, I met with virtually all of the

18   officeholders.

19   Q.             You met with each of the seven

20   congressional representatives again?

21   A.             Oh, yeah.     I had Zoom calls with -- with

22   them.   And then -- are you talking just

23   congressional now, or all of it?

24   Q.             Focusing on the 2021 congressional map.

25   A.             Yes.


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 1   Q.             Who did you meet with to discuss the

 2   drawing of the map between August 2021 and when you

 3   submitted the map in the week before the special

 4   session?

 5   A.             Once we had the real data, I went back

 6   and had Zoom calls with all of the members of

 7   congress or their -- or their chief of staff to talk

 8   about what the differences were from the estimates

 9   versus the actual census data and to reiterate, you

10   know, what we discussed in May, what was still

11   operable and what maybe needed to be slightly

12   revised based on what our thoughts were.

13                  Then after those round of Zoom calls, I

14   went back and drew a proposed map.          Which I then did

15   another round of calls, Zoom calls with, to look at

16   the final -- semifinal, final version, I guess.

17   Q.             In those meetings, did you discuss

18   anything with the representatives other than changes

19   that needed to be made for population deviation?

20   A.             No.

21   Q.             How many meetings would you say you had

22   with each of the representatives in that time frame?

23   A.             It varied.     For example, Mo Brooks would

24   be zero because he again was not interested to

25   participate.     Others took, you know, three, four,


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 1   five phone calls.      Some were one or two.

 2                  In the final end, Representative Palmer

 3   decided not to do the final call.          So I didn't have

 4   a final call with him.       But everybody else, I had at

 5   least two, if not more.

 6   Q.             Were all of the meetings with the

 7   representatives from August 2021 through the special

 8   session by Zoom?

 9   A.             Yes.

10   Q.             When you had those meetings, would you

11   share your screen to be able to show what the map

12   looks like?

13   A.             Exactly, yes.

14   Q.             Did you discuss with each of the

15   representatives the map as a whole or just their

16   specific districts?

17   A.             Their specific districts and an adjacent

18   district if there was some change there.

19   Q.             You stated for the 2011 congressional

20   map that you were actually hired by the seven

21   congressional representatives, correct?

22   A.             Correct.

23   Q.             That was not the case for 2021, correct?

24   A.             That's correct.

25   Q.             Why not?


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 1   A.             That was not my -- the leadership

 2   decided that they would, you know, hire me through

 3   the 501(c)(4), which -- which is how they hired me

 4   for legislative.      I did the legislative maps in

 5   2021, and I guess they preferred that model over the

 6   other one.    I don't know.      That was their choice,

 7   not mine.

 8   Q.             Did you receive any other instructions

 9   or requests from the congressional representatives

10   other than changes to make to account for population

11   deviation?

12   A.             No.

13   Q.             Did you meet with any members of the

14   Alabama state legislature to discuss the 2021

15   congressional maps?

16   A.             Just -- just the two co-chairs, two

17   chairs.

18   Q.             And that's --

19   A.             Senator McClendon and Representative

20   Pringle.

21   Q.             What did you discuss with Senator

22   McClendon and Representative Pringle?

23   A.             I would just update them on our progress

24   and discussions with various members.           And to the

25   extent that there were conflicts like the one I


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 1   described between the 1st and the 2nd, I just

 2   updated on that in case they were to receive a call

 3   from somebody, they would know what was happening.

 4   Q.             In these meetings with Senator McClendon

 5   and Representative Pringle, were you pretty much

 6   just providing information to them?

 7   A.             Yeah, pretty much.

 8   Q.             Did you receive any feedback or

 9   particular requests from them about how to draw the

10   map?

11   A.             No.

12   Q.             Beyond anything that you were told from

13   the congressional -- U.S. congressional

14   representatives, were you given any instructions or

15   requests about how to draw the 2021 congressional

16   map from anyone?

17   A.             No.

18   Q.             And how many times did you meet with

19   Representative Pringle and Senator McClendon in

20   preparation for drawing the 2021 congressional maps?

21   A.             I don't -- I mean, this was during the

22   course in time when they were also in town doing

23   meetings with their colleagues.         So maybe I updated

24   them every other week.       It was rather -- I mean, it

25   wasn't a formally structured we meet every Tuesday


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 1   at 10:00 o'clock.      It was just when they were both

 2   there or singularly there, I would just give them a

 3   quick update.

 4   Q.              Were these updates by phone or email or

 5   in person?

 6   A.              Usually in person.

 7   Q.              Were there ever communications by email

 8   with them?

 9   A.              No.

10   Q.              Did you attend any of the public

11   hearings in preparation for the 2021 congressional

12   maps?

13   A.              I didn't.    They were happening

14   simultaneously with me being in Montgomery.             And I

15   would occasionally walk in the room while they were

16   happening to talk to somebody else or whatever.              But

17   I didn't officially attend them.

18   Q.              There were a few that you walked into

19   the room while they were going, you said?

20   A.              Well, they were being done in an

21   adjacent room, and I occasionally walked in.             And I

22   would also occasionally -- either the co-chairs or

23   Dorman Walker or somebody would come back and update

24   me as to something somebody said if they thought it

25   was significant to my drawing.


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 1   Q.             Do you recall what any of those sort of

 2   comments would have been?

 3   A.             Yeah.    For example -- and this was

 4   already in process, so it wasn't a tremendous shock.

 5   But there were comments, for example, in the

 6   Montgomery meeting that they didn't want to be split

 7   into three districts as they were in 2001, that they

 8   would prefer Montgomery not -- probably they

 9   preferred it not to be split at all.           But if it were

10   going to be split, to certainly not three ways and

11   have it be two, which was a feature of a map I was

12   already working on.       But things like that.

13   Q.             Do you remember any other specific

14   feedback that you received from the public hearings?

15   A.             Just areas like the Shoals area wanted

16   to be kept as intact as possible.          And people in

17   Madison and Morgan wanted to be -- they thought

18   there was obviously a lot of community of interest

19   between those areas in north Alabama.           People in

20   Baldwin and Mobile wanted to be kept together.

21   There was a lot of community of interest between

22   those counties.       Things like that.

23   Q.             When you refer to "the Shoals area,"

24   you're referring to Muscle Shoals?

25   A.             Yes.


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 1   Q.              Any other specific feedback that you

 2   recall receiving from the public hearings?

 3   A.              Not on congressional.       There was a lot

 4   of feedback on state maps that we also talked about.

 5   Q.              And did you ever personally sit in on

 6   any of these hearings or hear anything that was

 7   being said personally?

 8   A.              I did for ten-minute snippets

 9   occasionally when I was waiting to talk to somebody

10   in that room.

11   Q.              Did you gather anything from the time

12   that you spent in the hearing personally?

13   A.              Nothing other than observations that I

14   relayed to you a minute ago.

15   Q.              You mentioned that Montgomery County,

16   the public hearings provided feedback that they

17   didn't want to be split.        Do you remember why that

18   was?

19   A.              I think -- I think both in Montgomery

20   County and most any county when you have split

21   counties or split precincts, there's confusion as to

22   who somebody's -- who their representative may be.

23                   And it was a -- it was obviously a

24   guideline of the committees on all these maps to try

25   to split less precincts and less counties.


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 1   Q.             Do you know when Montgomery County was

 2   originally split?

 3   A.             Originally split?

 4   Q.             Correct.

 5   A.             No.    I mean -- no, I don't.

 6   Q.             The first map you drew was in 1992.            Was

 7   Montgomery County already split prior to that?

 8   A.             I have no idea.       I'm sorry.     I don't

 9   even remember the map I drew, whether it was split,

10   to be honest with you.

11   Q.             Did any of the information that you

12   received from the public hearings impact the way you

13   drew the 2021 congressional map?

14   A.             No, other than things like I said, not

15   splitting Montgomery three ways, putting as much of

16   the Shoals area together, keeping Mobile and Baldwin

17   together, keeping Madison and Morgan together.

18   Q.             Was that something that you specifically

19   made changes to your map to accommodate?

20   A.             No.    Most of those features were already

21   happening.    It just -- I kept it in mind.          For

22   example, when -- we eventually had to split

23   Lauderdale County between 5 and 4.          And when we were

24   doing that, I was trying to keep Florence and Muscle

25   Shoals together as much as possible when we were


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 1   doing that split.      So yes, it was in my mind when we

 2   were, for example, doing that split.

 3   Q.             Other than the accommodations for the

 4   Lauderdale, Muscle Shoals area, did any of the

 5   public feedback that you received from the public

 6   hearings tangibly impact a change that you made on

 7   the map?

 8   A.             Not so much a change.        But it did -- it

 9   did confirm that our theory of putting -- not

10   splitting Montgomery three ways was a worthy goal.

11   And I worked to get Congressmen Rogers to agree to

12   come out of Montgomery County because he was

13   partially in Montgomery County.

14   Q.             Since we're talking about it, this may

15   help a bit.

16

17                 (Plaintiff's Exhibit 5 was

18                 marked for identification.)

19

20   Q.             I'm handing you Exhibit 5.         I don't want

21   this to be a memory test for you.          So this is a copy

22   of the 2021 --

23   A.             I've had enough -- I've had enough of

24   those already.

25   Q.             This is a copy of the 2021 congressional


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 1   map.   Do you recognize this?

 2   A.             I do.

 3   Q.             Does this appear to be a true and

 4   correct of the 2021 congressional map?

 5   A.             It does.

 6   Q.             We were talking about Montgomery County

 7   here not wanting to be split.

 8   A.             Three ways, yes.

 9

10                 (Plaintiff's Exhibit 6 was

11                 marked for identification.)

12

13   Q.             I'm also going to hand you what's being

14   marked as Plaintiff's Exhibit 6 for your reference.

15   This is a copy of the 2011 congressional map.

16                  So looking at Montgomery County, it

17   looks like in -- well, first off, Plaintiff's

18   Exhibit 6, does that appear to be a true and correct

19   copy of the 2011 congressional map, to your

20   knowledge?

21   A.             It does.

22   Q.             We were -- and you used this 2011

23   congressional map as the starting point in drafting

24   the 2021 congressional map, correct?

25   A.             I used the cores of the existing


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 1   districts as a starting point, yes.

 2   Q.             Is that different from using this map as

 3   the starting point?

 4   A.             I don't know.      I don't think so.

 5   Q.             When you began drawing the 2021

 6   congressional map, you didn't start from scratch,

 7   right?

 8   A.             No.    Correct.

 9   Q.             You started using the 2011 congressional

10   map?

11   A.             Correct.

12   Q.             Looking at Montgomery County, so that

13   was split into three districts in 2011; is that

14   right?

15   A.             That's correct.

16   Q.             Do you know why that was split into

17   three districts at the time?

18   A.             Not specifically, other than, obviously,

19   it had been -- Congressman Mike Rogers in the 3rd

20   District had had an office in Montgomery, that part

21   of Montgomery County, and had represented it for a

22   while and probably didn't -- didn't want to lose

23   that base of support and financial support and so

24   forth.

25   Q.             In the 2011 congressional map, District


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 1   7 reaches into a portion in the middle of Montgomery

 2   County.   Do you know why it does that?

 3   A.             To gain population for that district.

 4   Q.             Was District 7 reaching into a portion

 5   of Montgomery County in the prior 2001 congressional

 6   map?

 7   A.             I don't know.

 8   Q.             Do you remember if Montgomery County --

 9   do you remember if District 7 reached into a portion

10   of Montgomery County in the 1992 congressional map

11   that you drew?

12   A.             I do not remember, no.        I'm sure

13   somebody has a map and could tell me.           But I don't

14   know.

15   Q.             So it looks like from the 2011

16   congressional map to the 2021 congressional map, you

17   were able to take District 3 out of Montgomery so

18   that it's not split three ways anymore and is only

19   split two ways; is that correct?

20   A.             That's correct.

21   Q.             Is there a reason why it still needed to

22   be split into two different districts?

23   A.             Yeah.    I mean, obviously, the 7th

24   District was underpopulated.         So if you took it all

25   the way out of Montgomery, then you would have to


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 1   add a number of different counties to make up that

 2   population.

 3   Q.             Well, it looks like District 7 also

 4   includes only a portion of Tuscaloosa County and

 5   Jefferson County, correct?

 6   A.             That's correct.

 7   Q.             So could you not have taken more of

 8   either Tuscaloosa County or Jefferson County and

 9   then been able to leave Montgomery County as being

10   solely in one district?

11   A.             Well, yeah, it would have been possible

12   certainly in Jefferson.       I don't know about

13   Tuscaloosa.    I don't think actually -- I think there

14   are many more people in the 7th District portion of

15   Montgomery than there are in the 4th District

16   portion of Tuscaloosa.       But yes, certainly in

17   Jefferson that would have been possible.

18                  But as you know, they -- these all have

19   to fit back together at the end.          So what might have

20   been a perfect map for somebody in Montgomery may

21   not have created a perfect situation for whatever

22   member represented Jefferson or wherever.

23   Q.             Did you consider moving -- did you

24   consider making Montgomery County solely District 2?

25   A.             I did not.


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 1   Q.             Why not?

 2   A.             Because, again, I didn't think it --

 3   while that may look like geographically not a very

 4   large area, it has a considerable number of voters

 5   in it.   And it would have been hard to take that out

 6   of 7 and make up the population somewhere else.

 7                  About the only place, as you pointed

 8   out, to do that might have been Jefferson.            But,

 9   again, we have two representatives in Jefferson

10   County right now.      And it would have been hard to

11   eliminate one from that process.

12   Q.             Is there anything in particular about

13   this specific portion of Montgomery County that's in

14   District 7 that makes it a community of interest or

15   something that ties it into District 7 versus

16   District 2?

17   A.             Not necessarily.       I mean, obviously,

18   geographically it's next to -- it's adjacent to

19   Lowndes County.

20   Q.             Did you look at racial data in including

21   that portion of Montgomery County in District 7?

22   A.             I didn't.     When we started doing -- I

23   didn't initially.      When we started filling in this

24   -- all these discussions we've had up until now have

25   all been based on total pop.         I didn't look at race


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 1   at all on the computer when we were adding folks to

 2   these districts or subtracting folks from these

 3   districts.

 4                  So at this point, I've basically just

 5   been looking at total pop and where do you get the

 6   total pop to get the districts back to ideal

 7   population.    So at that point, there was no

 8   discussion of race.       It was all a discussion of

 9   total pop.

10   Q.             You say "at this point."         Where are we

11   talking in the timeline?

12   A.             Up until -- up until we finished the

13   map.

14   Q.             Finishing the map being the week before

15   the special session?

16   A.             Correct.

17   Q.             So is it your testimony that you did not

18   look at race at all in 2021 before submitting the

19   maps to the special session?

20   A.             No, I did not look at it up until the

21   week before we submitted the maps, when at that

22   point we did turn on race and look at the racial

23   breakdowns in the various maps.

24   Q.             Why did you look at the racial breakdown

25   that week before the special session?


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 1   A.             Well, to -- obviously, we wanted to see

 2   what the, you know, outcomes of our changes were.

 3   Q.             What do you mean?

 4   A.             We wanted to see what -- the changes we

 5   had made to get the population balanced among all

 6   these districts, if it changed any of the, you know,

 7   racial makeup of the districts.

 8   Q.             Why did you want to know that?

 9   A.             Well, one of our guidelines is to comply

10   with the Voting Rights Act.

11   Q.             And you say "we wanted."         Who is "we"?

12   A.             The two co-chairs, myself, and legal

13   counsel.

14   Q.             "Legal counsel" being Mr. Dorman --

15   A.             Yes.

16   Q.             -- Walker?

17   A.             Yes.

18   Q.             And prior to that week before the

19   special session, it's your testimony that you did

20   not look at any of the racial data at all for any

21   of the districts in drawing the 2021 congressional

22   map?

23   A.             That's correct.

24   Q.             What data did you look at?

25   A.             Just -- just total pop and geography.


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 1   Q.              Anything else?

 2   A.              That's it.

 3   Q.              Other than modifying the existing

 4   district lines to account for population changes,

 5   did you make any other changes from the 2011

 6   congressional map?

 7   A.              I'm not sure I follow that.

 8   Q.              You made changes to the 2011

 9   congressional map for the 2021 map based on changes

10   in population, correct?

11   A.              Correct.

12   Q.              Did you make any changes based on any

13   other factors?

14   A.              Are we talking -- we're talking the 2021

15   map?

16   Q.              Correct.    So in drawing the 2021 map,

17   you made certain changes from the prior map based on

18   changes in population, correct?

19   A.              Correct.

20   Q.              Did you make any changes based on any

21   other factors?

22   A.              No.   I didn't make any changes.

23   Obviously, where members lived was a consideration.

24   I certainly would be mindful -- when I was moving a

25   precinct in Jefferson County, for example, I


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 1   couldn't move Congresswoman Sewell out of her

 2   district, for example.        But I didn't make any

 3   changes based on that.

 4   Q.              Other than population data and race data

 5   starting the week before the map was submitted, did

 6   you review any other data about the constituents or

 7   the districts when drawing the 2021 map?

 8   A.              I did not.

 9   Q.              If any changes were made to the 2021

10   map, would you have been the one to physically make

11   those changes on the computer?

12   A.              Yes.

13   Q.              Was there anyone else who physically sat

14   on the computer and made any changes for the 2021

15   map?

16   A.              I don't believe so.       I mean, Donna

17   Loftin, who heads the reapportionment office,

18   certainly was capable of doing that.           But I don't

19   believe she ever -- she's not really authorized to

20   change a map, I guess, without me asking her to.

21   Q.              Do you know if she made any changes?

22   A.              I don't believe she did, no.

23   Q.              Did anyone else assist you in drawing

24   the map?

25   A.              Nobody assisted me in drawing the map.


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 1   Q.              When did you have a -- when did you

 2   first have an initial draft map completed?

 3   A.              Using the real data?       I mean, not an

 4   estimate.

 5   Q.              Did you have an initial draft made from

 6   the estimates?

 7   A.              I had a -- I roughed -- again, it wasn't

 8   -- it wasn't something that would have -- it wasn't

 9   to zero deviation.       It was just roughed-out

10   counties.

11                   So yes, when I came back from my May

12   meetings, I roughed out a map using the estimates on

13   Maptitude just to get a feel for what areas needed

14   to be added and subtracted from various districts.

15                   But, again, it was -- it was not -- it

16   was not to deviation and it was knowing that the

17   estimates were going to be off by thousands, if not

18   tens of thousands, which they turned out to be.

19   Q.              When was that draft completed?

20   A.              The end of May.

21   Q.              Did you save a copy of that draft?

22   A.              No.

23   Q.              After that, when was the next draft

24   using official data completed?

25   A.              After my round of calls in September.


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 1   So probably mid -- mid to late September would have

 2   been the next draft.       And then I did a round of

 3   calls to go over those maps and make any last

 4   changes before the last week.

 5   Q.              A round of calls being the calls that

 6   you discussed with the U.S. congress

 7   representatives?

 8   A.              Yes.

 9   Q.              Did you make any further changes to the

10   draft based on any feedback you received from those

11   calls?

12   A.              Very minorly.      Congresswoman Sewell, I

13   had split a precinct in Montgomery County that she

14   did not want split.        So I put it back together and

15   split in a different -- an adjacent precinct.              But

16   very, very minorly.

17   Q.              What precinct was that?

18   A.              It was the Acadome precinct.         I had

19   split the university into two different districts,

20   and she, I think wanted it all in her district.              So

21   I put that back together.

22   Q.              Do you know why she wanted that all in

23   her district?

24   A.              I don't.    I mean, other than that was

25   one of her principles in this redistricting process.


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 1   She felt strongly about picking up facilities and

 2   universities and things rather than just random

 3   citizens.

 4   Q.              And what precinct did you take out from

 5   District 7 in exchange?

 6   A.              Well, it was a split at an adjacent

 7   precinct.    Whitfield, I think, was the name of it.

 8   Q.              How do you choose that precinct?

 9   A.              It just was adjacent to it.

10   Q.              That was the only factor?

11   A.              That was the only factor.

12   Q.              So you had the draft completed, you

13   said, mid September?

14   A.              Yeah.    And just to give a more complete

15   answer, I also had to do a -- change the split a

16   little bit in Lauderdale based on conversations with

17   Congressman Adderholt.        I had conversations with

18   Representative -- Congressman Moore's

19   representative, Bill Harris, about he would have

20   preferred a change in Monroe rather than the way I

21   did it in Escambia.

22                   So they were each -- not every district.

23   But a number of districts had these little minor

24   things that we talked through at that point.

25   Q.              Beyond any minor changes -- and I assume


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 1   this is more kind of a precinct-by-precinct type

 2   change that you're referring to there, correct?

 3   A.              Yes, sir.

 4   Q.              Beyond that, were there any changes that

 5   you made based on those calls that you would

 6   consider to be significant changes?

 7   A.              No.

 8   Q.              So once you had the draft completed in

 9   mid September and then had the calls with the

10   various representatives to go over that, then you

11   made whatever minor changes you could based on that

12   feedback.

13                   When did you have the next draft

14   completed?

15   A.              Going into the last -- the next to last

16   week of October.      And in some of these -- as you

17   well know, with congressional schedules, it's not

18   like I had seven congressmen lined up to talk to me

19   at 9:00 o'clock on a Monday morning.           This took over

20   a course of weeks.       I would, you know, schedule, and

21   move and change for voting schedules and all the

22   wonderful things that go on with dealing with

23   congressmen.

24   Q.              And in that same time frame, you were

25   also drawing three other maps?


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 1   A.              Correct.

 2   Q.              And meeting with all of the

 3   representatives and senators and all of that?

 4   A.              Yes, sir.

 5   Q.              Was there any other drafts that you had

 6   other than the first one that you made using the

 7   unofficial data in the summer of 2021, the next

 8   draft that you made using the official data in mid

 9   September 2021, and then the draft that you had

10   based on the congressional representatives' feedback

11   that was completed the week before the special

12   session in October of 2021?         Were there any other

13   drafts that you made of the 2021 congressional map?

14   A.              No.

15   Q.              Between those last two drafts that we

16   discussed, between September 2021 and the special

17   session, did you meet with anyone else to discuss

18   the redrawing of the 2021 map, congressional map,

19   other than the seven representatives and Senator

20   McClendon and Representative Pringle?

21   A.              And legal counsel.

22   Q.              Anyone else?

23   A.              No.

24   Q.              At that time, did you consider

25   Mr. Walker to be your attorney?


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 1   A.              I considered him to be the

 2   reapportionment committee's attorney.

 3   Q.              Did you consider him to represent you

 4   personally?

 5   A.              I don't know how to answer that.           I

 6   didn't -- I didn't feel I needed representation at

 7   that point personally.

 8   Q.              Did you have any sort of retention

 9   agreement with Mr. Walker or his office?

10   A.              No.

11   Q.              Once you had the draft completed of the

12   2021 congressional map the week before the special

13   session, who did you provide it to?

14   A.              Well, obviously, all of the members saw

15   their districts.      But they didn't really see the

16   rest of the map.      The members of congress saw their

17   district, but they didn't really -- and adjacent

18   districts.     But they didn't really see the rest of

19   the map.

20                   I think at that last week, I went

21   through that map with Representative Pringle and

22   Senator McClendon and Dorman Walker.           Obviously,

23   Donna Loftin, who runs the office, was in the

24   background during most of this.

25   Q.              What sort of feedback did you receive


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 1   when you met with Senator McClendon and

 2   Representative Pringle about the draft map?

 3                   MR. WALKER:     I'm going to object to

 4   attorney-client privilege to the extent that I was

 5   present in the room and we were having an

 6   attorney-client communication.          If you had any

 7   communications with them that I was not present, you

 8   may answer the question.

 9   A.              There were -- they just looked at the

10   map.   There was nothing substantive in terms of a

11   response.

12   Q.              And are you going to refuse to answer

13   any questions that I were to ask you that would

14   involve any discussions that you had where

15   Mr. Walker was present?

16                   MR. WALKER:     I would instruct him not to

17   answer those questions if other conditions

18   indicating it was an attorney-client privilege were

19   present.

20                   Let me -- let me clarify that for you.

21   If I believed we had a conversation that was an

22   attorney-client privilege, I would -- I would

23   instruct him not to answer the question.            I don't

24   think that all the conversations I had with him were

25   covered by the privilege.


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 1                   MR. THOMPSON:      When you say you don't

 2   think that all of the conversations you had with

 3   him, do you mean nonsubstantive conversations like

 4   lunch and dinner?

 5                   MR. WALKER:     Certainly that would be

 6   included.    What I'm saying is there -- I can think

 7   of times when he and I were speaking, although I may

 8   not know exactly what we were talking about, when

 9   there were other people in the room who were not

10   within the privilege.       And we may have been talking

11   about the map.      I just don't know.

12                   But there were certain times when I

13   reviewed with him specifically the map.            And I would

14   contend that that's covered by the attorney-client

15   privilege.

16                   MR. THOMPSON:      Understood.     And you

17   would instruct him not to answer on those.

18                    MR. WALKER:     Yeah.

19   Q.              And would you follow that instruction?

20   A.              Yes.

21   Q.              So walk me through the timeline, then,

22   once you provided the draft to Senator McClendon and

23   Representative Pringle.        What happened with the map

24   at that point?

25   A.              I mean, once it was finalized and they


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 1   made no changes to it, it was submitted to be drawn

 2   up into a bill and prepared to be presented at the

 3   -- be sent out to the members of the reapportionment

 4   committee the following Monday and then voted on in

 5   committee on Tuesday.

 6   Q.              Were there any changes made to the map

 7   by the reapportionment committee?

 8   A.              No.

 9   Q.              Were there any changes made to the map

10   after it was submitted to the legislature?

11   A.              No.

12   Q.              So the version of the map that you

13   completed the week before the special session is

14   identical to the version of the map that was

15   ultimately enacted that we've marked as Exhibit 5,

16   Plaintiff's Exhibit 5, correct?

17   A.              Correct.

18   Q.              Did you save any drafts of the 2021

19   congressional map?

20   A.              No, sir.    The way Maptitude works is it

21   just -- every time you make a change, it saves -- it

22   saves the map at that point.         So previous iterations

23   don't -- don't really exist.

24   Q.              Did you print out any copies of any

25   drafts?


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 1   A.              No.

 2   Q.              Do you have any notes that you took or

 3   used while drafting the 2021 congressional map?

 4   A.              No.   I mean, I'm sure I had a scrap of

 5   paper somewhere that said Congressman Moore would

 6   rather split Escambia and Congressman Carl would

 7   rather split Monroe.       But they were -- all these

 8   things were so -- there were not very many of them.

 9   There weren't too may.        I didn't need notes to

10   remember that.

11   Q.              Do you have any of those notes saved?

12   A.              No.

13   Q.              If you needed to modify the maps now, do

14   you have any estimate of about how long that would

15   take you to do?

16   A.              Modify in what way?

17   Q.              For instance, are you familiar with what

18   this lawsuit is about?

19   A.              Well, it's three different lawsuits, if

20   I understand it correctly.

21   Q.              What is your understanding of the three

22   different lawsuits?

23   A.              I think two of the -- well, two of the

24   lawsuits I think would have preferred two majority

25   black districts.      And the Singleton lawsuit would


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 1   have preferred sort of a whole county map with

 2   two -- I would call them influence districts.

 3                    THE REPORTER:      What districts?

 4   A.              Influence districts

 5   Q.              Would that be the same as -- I've heard

 6   "opportunity district."        Would "influence district"

 7   and "opportunity district" be about the same?

 8   A.              Yes, sir.

 9   Q.              And what's your understanding of what an

10   influence district or opportunity district is?

11   A.              It would be a district that would be

12   less than a majority of BVAP, but still have a

13   substantial population of minorities that could

14   potentially impact the election of a candidate of

15   their choice.

16   Q.              And when we say "minorities" here

17   specifically, are we referring to the black voting

18   age population?

19   A.              Primarily here in Alabama, you would be

20   referring to the black voting age population.

21   Q.              So if in this case the court were to

22   find that the maps do not comply with the Voting

23   Rights Act or the 14th Amendment and they needed to

24   be modified, do you expect that you would be the one

25   that would be asked to make those modifications?


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 1   A.              I don't have a crystal ball.         I can't

 2   predict the future.

 3   Q.              Is that something that's covered in your

 4   contract?

 5   A.              It is not.

 6   Q.              If you were asked to modify the map to

 7   make changes to comply with the Voting Rights Act or

 8   the 14th Amendment, in that situation, do you have

 9   any estimate about how long it would take you to do

10   that?

11   A.              No.   I mean, asked by whom?

12   Q.              The Alabama state legislature, the

13   courts, Mr. Walker, any of us.

14   A.              No.   I mean, I -- conceptually, I guess

15   that would depend on what the court deemed changes

16   were.

17   Q.              Is that something that you think you

18   could complete within a month?

19   A.              I would hope so.      I don't know.

20   Q.              Is it something you think you could

21   complete within a week?

22   A.              You're asking me a hypothetical about

23   something that hasn't happened, and I don't have a

24   clue what the changes would be.

25   Q.              When you met with Congressman Sewell,


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 1   did you receive any specific instructions from her

 2   about how to draw District 7?

 3   A.              No, not specifically.        Again, it was

 4   more of -- our initial meetings were more of here is

 5   what the estimates show, here is -- you're

 6   obviously -- the district is going to be

 7   underpopulated.      Let's talk about areas where you

 8   may -- may pick up population to get closer to the

 9   ideal.

10                   As I said earlier, she was interested in

11   facilities and universities and some companies and

12   military, like Maxwell, and so forth.           So she was

13   interested in things above and beyond just picking

14   up additional voters or citizens.          So we talked

15   about that briefly.

16                   And then we just went through the most

17   likely areas where she could pick up additional

18   population.     And the most likely in my mind, again,

19   to present to her as options were counties that were

20   split.

21                   For example, Clarke County was -- under

22   this map, the 2011 map, was split between 7 and 1.

23   We know 1 is going to be over.          We knew -- at the

24   beginning, we didn't know how much.           But we knew 1

25   would be over, and we knew 7 would be under.


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 1                   So a logical thing, in my mind anyway,

 2   would be let's put Clarke County back together.               And

 3   whatever population that is, let's put that into 7.

 4                   And also we talked about some of the

 5   changes that would happen that would cascade to her

 6   from north Alabama.       As we knew, District 5 would be

 7   over.    The only place District 5 can go to is to

 8   District 4 because it's the only district adjacent

 9   to it.    And that would then put District 4 over.

10   And one of the options was for her to pick up some

11   more of District 4 in Tuscaloosa.          So we talked

12   about that.

13                   And then we talked about potential

14   changes in Jefferson, another area where she could

15   pick up additional population.

16   Q.              You mentioned that she wanted

17   universities in her district.         What were the names

18   of the universities she wanted?

19   A.              She wanted to make sure that whatever

20   changes we made in Tuscaloosa, we kept the

21   University of Alabama in her district.            She was

22   interested in picking up Maxwell Air Force Base in

23   Montgomery, if that was a possibility.

24                   As I discussed earlier, I had split a

25   precinct that had a university in Montgomery.               And


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 1   she wanted that in her district not split.             So we

 2   talked about things like that.

 3   Q.              Do you remember the name of that

 4   university in Montgomery?

 5   A.              Yeah, I do.     I'm blanking on it at the

 6   moment.    Alabama -- is it State?

 7                   MR. WALKER:     Alabama State, ASU.

 8   A.              ASU.   ASU.    Sorry.

 9   Q.              Other than those things that you just

10   discussed, did you receive any other instructions or

11   feedback from Congressman Sewell about how to draw

12   District 7?

13   A.              No, not at that time.        We did -- in the

14   next round of those talks after we had real numbers,

15   we did talk about some of the changes in Jefferson.

16                   In this -- in the 2011 map, some of the

17   precincts of Homewood -- I think there were three or

18   four Homewood precincts.        Some were in her district,

19   and some were in 6.       She thought that maybe it might

20   make sense for all of them to be in one district.

21   She would be happy if they were hers, which I did.

22                   So we talked about a few things like

23   that in the next round of discussions.

24   Q.              Did you discuss anything else with her

25   about how to draw her map?


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 1   A.              No.

 2   Q.              Did you discuss race at all with

 3   Congressman Sewell?

 4   A.              No.

 5   Q.              Did she give you any instructions or

 6   requests about a certain black voting age population

 7   percentage that she wanted in District 7?

 8   A.              She did not, other than I think there

 9   was -- we both assumed, and I think she would

10   confirm, that she wanted a majority -- a majority

11   black district for her district.

12                   And she also, I should add -- there was

13   one other thing.      When we initially asked every

14   member for their home addresses so we made sure we

15   had them inside their own districts, she actually

16   sent in two addresses, knowing that only one of them

17   was her official home address.

18                   One of them was also her home -- her

19   mother's home or whatever in Dallas County.             And she

20   wanted -- would prefer that both of those addresses

21   be inside her district.        So that was one request she

22   made.

23   Q.              Was that an accommodation you had to

24   change the map to --

25   A.              No.   They were -- it was already


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 1   happening.     They both were -- they both under this

 2   map were in her district, and they both under this

 3   map were in her district.

 4   Q.              Going back to your prior statement, you

 5   said that you didn't discuss race with Congressman

 6   Sewell; is that correct?

 7   A.              Not at that point.

 8   Q.              Did you at some point?

 9   A.              In the last week, she did ask what was

10   the BVAP of my -- her district.

11   Q.              And what did you tell her?

12   A.              I told her it was 54.22.

13   Q.              And what did she say?

14   A.              She didn't -- I mean, she was

15   comfortable with that, I guess.          She didn't comment

16   further.     She didn't ask me to make any changes, I

17   guess, if that's what you're asking me.

18   Q.              You said before then that you both

19   assumed that she wanted a majority black population.

20   What are you basing that off of?

21   A.              I don't even know if it's an assumption.

22   I think she -- I think she did say that, that she

23   would prefer to continue to have a majority black

24   district.

25   Q.              You think she said that, or you know she


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 1   said that?

 2   A.              I think she -- yeah, I think -- I think

 3   she said that.

 4   Q.              But you don't know for certain?

 5   A.              I'm pretty confident she said that, yes.

 6   Q.              Are you certain that she said that?

 7   A.              I'm pretty confident she said that.

 8   Q.              Just to be clear, pretty confident, but

 9   not 100 percent certain, fair?

10   A.              Sure.

11   Q.              Did she say anything about any sort of

12   percentage of black voting age population that she

13   wanted in District 7?

14   A.              No.

15   Q.              Did you discuss race with any of the

16   other representatives?

17   A.              I did not.

18   Q.              So Congressman Sewell was the only

19   Congressman you discussed race with?

20   A.              Well, she's the only one who asked at

21   the end of the process what her black -- black

22   voting age population was.

23   Q.              Other than the U.S. congressional

24   representatives and Senator McClendon and

25   Representative Pringle, did you speak with any other


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 1   Alabama legislators or their staff about the 2021

 2   congressional maps?

 3   A.              No.   Maybe -- maybe right before we went

 4   to the floor, I think I probably had a conversation

 5   with the pro tem and speaker just briefly to say

 6   that the members of congress were reasonably in

 7   agreement on this map.        But it was just sort of a

 8   pro forma discussion, not about the details of the

 9   map.

10   Q.              Did you speak with anyone else?

11   A.              No.

12   Q.              Did you correspond with anyone by email

13   regarding the redistricting process?

14   A.              No.

15   Q.              Did you make any recommendations to the

16   committee, the reapportionment committee, about how

17   the map should be drawn beyond just providing them a

18   copy of the map?

19   A.              No.

20   Q.              Did the reapportionment committee make

21   any requests or recommendations to you about how the

22   map should be drawn or changed?

23   A.              None other than the guidelines they

24   passed.

25   Q.              Did you receive any requests or


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 1   instructions about how to draw the 2021

 2   congressional map from anyone else that we haven't

 3   discussed yet?

 4   A.              No.

 5   Q.              Did you receive any feedback from anyone

 6   else that we haven't discussed yet about the way

 7   that the 2021 congressional map was drawn?

 8   A.              No.   I'm assuming you're including

 9   chiefs of staff as a subset of a congressman.

10   Q.              Certainly.     No one other than the

11   congressmen or their chiefs of staff or anyone else

12   that we've discussed?

13   A.              Right.

14                   MR. THOMPSON:      Dorman, I think we've

15   been going a little over an hour.          We're approaching

16   that lunch time.      We could go a little bit longer,

17   or we could go ahead and break now.           What do you

18   prefer?

19                    MR. WALKER:     I'm happy with whatever

20   y'all want to do.

21                   MR. THOMPSON:      Are you hungry, sir?

22                   THE WITNESS:     Not overly.      But I'm happy

23   to --

24                   MR. WALKER:     I usually go to lunch at

25   11:30.    So I'm happy to take a lunch break.


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 1                   MR. THOMPSON:      Let's -- let's take a

 2   lunch break, then.

 3                    MR. WALKER:     All right.

 4                   THE VIDEOGRAPHER:       We're off the record.

 5   The time is 11:42 a.m.

 6                   (Lunch break was taken.)

 7                   THE VIDEOGRAPHER:       We are back on the

 8   record.     The time is 12:57 p.m.

 9   Q.              Mr. Hinaman, before we broke for lunch,

10   we had discussed some of the conversations that you

11   had with the seven U.S. congressmen.           Do you recall

12   that?

13   A.              Yes.

14   Q.              And we went into some specifics about

15   your discussions with Congressman Sewell.            Or

16   Congresswoman Sewell.       Excuse me.     I would like to

17   discuss some of the specifics with the other

18   representatives.       So I just kind of want to go down

19   the line.

20                   So starting with Representative Carl in

21   District 1, can you tell me what specifics you

22   recall from your discussions with him?

23   A.              Yes.   But just to be clear, are we --

24   you just want -- over the whole time frame, just

25   capsulize it?     Or are you talking about a specific


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 1   time frame?

 2   Q.              At any point in the discussions you had

 3   with them in drawing the 2021 congressional map.

 4   A.              Okay.    So essentially from May to

 5   October?

 6   Q.              Correct.

 7   A.              Okay.    Yeah.    So we talked about Clarke

 8   County which was split, of course, between 7 and

 9   District 1.     And we talked that the 1st District

10   would likely be over or was over after we got the

11   real numbers, and that one of the solutions to that

12   would be putting Clarke County back together and be

13   putting it in 7.

14                   And then whatever else the overage was,

15   which turned out to be 739 people, that we would

16   take those out of either -- initially we said Monroe

17   or Escambia.     And as it turned out, we fine tuned it

18   to Escambia.     And that's where we made that change.

19                   And those are basically the discussions

20   with the 1st District congressman.

21   Q.              Did he have any objections to putting

22   all of Clarke County in District 7?

23   A.              He did not.

24   Q.              All right.       Tell me what specifics you

25   recall from your discussions with Congressman Moore


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 1   in District 2.

 2   A.              Well, we talked again about making

 3   Montgomery County only split between 7 and 2 and

 4   getting the 3rd District out of Montgomery County,

 5   which was good because 2 was under anyway.             So they

 6   needed to pick up some people.

 7                   Initially I said, well, depending on

 8   what the numbers are, we might need to split off a

 9   little bit of Elmore to balance out 3 if we're not

10   splitting Montgomery.       But as it turned out, we

11   didn't have to do that.        We did -- we did make some

12   changes to 3 in Coosa and Chilton, but we made no

13   further changes in the 2nd.

14                   We talked a little bit about the

15   Escambia and Monroe thing.         Again, he would have

16   preferred not to have picked up another county.              But

17   unfortunately, that was not in the cards by 739

18   people.     So he needed to -- he did end up picking up

19   Escambia.

20                   And we talked about just geographically

21   making the 7th District a little more compact in

22   Montgomery from where the 2011 lines were versus to

23   what they are now in the 2021 plan.

24                   And at the end of it -- I mean, we had

25   some discussions about Maxwell going into the 7th,


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 1   which surprisingly he wasn't too excited about

 2   initially, but at the end was comfortable with I

 3   think primarily because there was some talk of

 4   another BRAC, base closing commission.

 5                   And Congressman Moore probably thought

 6   it would be helpful to have Terri representing part

 7   -- that part of Maxwell that she would have, and he

 8   represents another part of Maxwell, the annex, in

 9   his district.     So two congresspeople fighting that

10   was maybe better than one.

11   Q.              Where is Maxwell?

12   A.              Maxwell is in the northern little part

13   of Montgomery County here that was -- in 2011 was in

14   the 2nd, but is now in the 7th.

15   Q.              With Congressman Sewell, especially in

16   the area you were just discussing there, it had

17   gotten as granular was this college or whatnot.              Did

18   you have discussions to that detail with either of

19   the two representatives in District 1 or 2?

20   A.              No, other than the Maxwell, Maxwell

21   annex thing we just talked about with Congressman

22   Moore.    He wanted to make sure he still had one of

23   them.    And he has the annex one, which is further

24   west in Montgomery, but not the actual base itself.

25   Q.              Do you know why he wanted that in his


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 1   district?

 2   A.              Again, so they had two voices on base

 3   closing issues rather than one.

 4   Q.              Do you recall anything else specifically

 5   from your discussions with Congressman Moore?

 6   A.              No.

 7   Q.              How about Congressman Rogers in District

 8   3?

 9   A.              Well, we talked briefly.        There was a

10   little piece of Cherokee County that was split off

11   in the last redistricting, which was really somewhat

12   needless.    So we talked about putting that back

13   together.

14                   We talked about again him getting out of

15   Montgomery County so that it would only be split two

16   ways instead of three.        And then we talked about

17   what that might mean in terms of where he would pick

18   up.

19                   Coosa had been in the 3rd in some

20   earlier maps, meaning 2001 or sometime back in the

21   past.    So he was fine picking up Coosa County from

22   6.    And then for population -- obviously, population

23   reasons, he needed a little more than that.             So we

24   took, I think, like 12,000 people from Chilton and

25   put it into 3 to get his population to where it


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 1   needed to be.

 2   Q.              Anything else you recall?

 3   A.              No.

 4   Q.              What about Congressman Adderholt in

 5   District 4?

 6   A.              Yeah, I talked to him numerous times.

 7   Part of it is, obviously, he was going to pick up a

 8   lot of folks from the 5th district.           And there was

 9   initial discussion on which end of the 5th, should

10   we take them from Jackson County or should we take

11   them from Lauderdale, and how was the best way to do

12   that.

13                   And we had a couple of different

14   discussions about that, and finally decided that

15   putting the Shoals -- Muscle Shoals area back

16   together as much as possible in Lauderdale was the

17   preferable way to do that.         And that's what we

18   talked about.

19                   And then, obviously, that required him

20   to lose some of Tuscaloosa, a few precincts in

21   Tuscaloosa, to make up for -- to get the population

22   to equal out.

23                   And also he had a little chunk of Blount

24   County, as well, from 6.        And we talked about making

25   Blount whole again and not splitting it between two


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 1   congressional districts.

 2   Q.              Did you have any discussions with him

 3   about which specific areas of Tuscaloosa to include

 4   or not include?

 5   A.              A little bit.      I mean, we talked about

 6   the precincts, the next most likely geographical

 7   precincts to add into 7.        We talked about them.        It

 8   was sort of obvious geographically where he had to

 9   go next.     So there wasn't much discussion about it.

10   Q.              How did you choose the precincts you

11   chose other than geography?

12   A.              Well, that's -- population and geography

13   were the only two ways to choose them.

14   Q.              Do you recall anything else, specifics

15   about your conversations with Congressman Adderholt?

16   A.              No.   And then at the end -- as I said, I

17   had splint a precinct in Lauderdale to get to zero

18   deviation in District 5, and he referred a different

19   precinct split.       So I changed it to the one he

20   preferred.     So that was -- that was one of the final

21   changes at the end that we made.

22   Q.              Moving on to Congressman Brooks in

23   District 5.     What do you recall from those

24   conversations?

25   A.              Well, there weren't any because


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 1   Congressman Brooks decided not to meet -- this is my

 2   presumption -- because he was running for the senate

 3   and had less interest in how this was going to come

 4   out.

 5                   I did meet the first time with his chief

 6   of staff just to talk about keeping Morgan and

 7   Madison together.       But that was -- that was about

 8   it.

 9   Q.              What was the discussion there about

10   keeping Morgan and Madison together?

11   A.              The community of interest.         And a number

12   of people that, obviously, live in northern Morgan

13   work in Huntsville, in Madison County, and so forth,

14   and thought it was a good combination to keep them

15   whole and together.

16   Q.              Other than that first meeting -- and I

17   guess that would have been back in May --

18   A.              May.

19   Q.              -- of 2021 with the chief of staff for

20   Congressman Brooks, did you meet with anybody else

21   on behalf of Congressman Brooks or his office?

22   A.              No.    I called his chief of staff back

23   once we had, you know, roughed out a -- gotten the

24   math from the real data.        And he -- he didn't call

25   me back.    I called him a couple of times.          And I


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 1   assumed that meant he was less interested in how

 2   this was going to go.

 3   Q.              And then finally, what about Congressman

 4   Palmer in District 6?       What do you recall about

 5   those conversations?

 6   A.              Well, I talked to him about again

 7   putting Blount back together and giving that all to

 8   him.   I talked to him -- in the meantime, he had --

 9   he had initially, I thought, lived in Jefferson

10   County.    And then he had moved to Shelby.

11                   So I talked a little bit about making

12   sure I had the right home address for him.             Because

13   I initially thought he still lived in Jefferson, but

14   he didn't.     So we did have the right address in

15   Shelby.    So that was fine.

16                   I talked about he may loose Coosa to the

17   3rd and a little part of Chilton.          He was

18   comfortable with that.        And I talked to him about

19   some of the changes in Jefferson in the 7th District

20   where geographically I was trying to make the 7th

21   District's footprint in Jefferson more compact by

22   adding western Jefferson and shortening the district

23   on the top.     And I wanted him to be aware of that.

24                   But as I said earlier, we had initial

25   meetings and even a follow-up call.           But when the


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 1   final map was done, meaning that last week of

 2   October, he -- he allowed as how he didn't really

 3   want to -- his chief of staff told me that the

 4   congressman did not really want to talk about it,

 5   that he was convinced we were going to go to court,

 6   and he didn't really see a need to discuss it.

 7   Q.              Who was that that told you that?

 8   A.              Congressman Palmer's chief of staff.

 9   Q.              And when was that discussion?

10   A.              That was in mid October.

11   Q.              And why did he say that he was convinced

12   that this was going to go to court?

13   A.              I don't know.      He was -- the chief of

14   staff said that -- the chief of staff said that he

15   had been told, I think, by the NRCC that this map

16   was going to go to court, and that Congressman

17   Palmer had decided to not discuss it further.

18   Q.              Did you ask him why he thought it was

19   going to court?

20   A.              No.   I accepted his answer.

21   Q.              Did you have any idea about why this

22   would go to court based on that discussion?

23   A.              No.

24   Q.              And you didn't care to ask?

25   A.              It was his opinion.       I didn't think it


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 1   was relevant to what I was doing.

 2   Q.              Jefferson County, the way it's split in

 3   the 2021 congressional map, is not exactly a

 4   straight line.      How did you decide which areas of

 5   Jefferson County would move from District 6 to

 6   District 7?

 7   A.              I was looking geographically to widen

 8   the face of the protrusion into Jefferson -- if you

 9   want to call it that, into Jefferson County.             I was

10   looking to not split precincts.          Those are all,

11   except for one that's split for deviation -- well,

12   two, technically.      One Congressman Sewell --

13   Congresswoman Sewell lives in and another one.

14                   But I was trying not to split precincts.

15   I was picking whole precincts.          And I was trying to

16   make the district more compact, meaning widen it as

17   it goes into Jefferson County and eliminate some of

18   the longer, further-away ones at the northern part

19   of the county.

20   Q.              So how does that process work when

21   you're choosing which precincts to pick up?             Are you

22   just kind of choosing at random geographically as

23   you move up and seeing what works?           Or are there

24   other factors at play that you're considering?

25   A.              No, that's exactly it, seeing what works


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 1   numerically and making something, in my mind, look

 2   more compact geographically.

 3   Q.              Are there any other factors or data that

 4   you're considering when you're choosing which

 5   precincts to include?

 6   A.              No.   I mean, other than -- we had that

 7   discussion about Homewood where she allowed that --

 8   we had split a couple of Homewood precincts, some on

 9   one side of her line in 7 and some on the other side

10   in 6, and thought it might be good to group them all

11   together.

12   Q.              You mentioned that there were two

13   precincts that were split for deviation purposes,

14   one of which Congressman Sewell lives in you said.

15   What were those two precincts?

16   A.              The names?

17   Q.              Do you recall?

18   A.              I do not.

19   Q.              This isn't a memory test.         I just --

20   A.              I do not.

21   Q.              Okay.

22   A.              And the reason it's not one -- I was

23   trying to make the split just solely in one

24   precinct.    But unfortunately the census blocks

25   didn't cooperate very much.         And when I got to where


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 1   I got to geographically in the one -- the precinct

 2   she lived in, I was hoping I could pick up the right

 3   number of populations.

 4                   But unfortunately I hit a situation

 5   where there was like a 550 block next to it, and

 6   that was too many.       So that was not going to work.

 7   So I had to split another precinct to get to zero

 8   deviation.

 9   Q.              Do you recall anything else specifically

10   from your discussions with Congressman Palmer or his

11   chief of staff in furtherance of drawing the 2021

12   congressional map?

13   A.              No.

14   Q.              And I think we discussed this earlier.

15   But in any of those discussions with any of those

16   congressmen, Congressmen Carl, Moore, Rogers,

17   Adderholt, Brooks, Palmer, did race ever come up in

18   your discussions with any of them or their staff?

19   A.              No.

20                   I mean, I'll amend that slightly.           I do

21   think in the final when I went through with

22   everybody, I think maybe Congressman Moore's

23   district director, Bill Harris, who I was talking

24   to, may have asked, "Can you tell me what the BVAP

25   of the 2nd District is now?"         I think I probably


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 1   gave him that number.

 2   Q.              And when was that?

 3   A.              In the last -- that last week when we

 4   turned race on.

 5   Q.              You gave him the --

 6   A.              He asked --

 7   Q.              -- black voting age population?

 8   A.              Yeah.    He asked what the BVAP for that

 9   district was, and I gave him that number.

10   Q.              Was there any further discussion about

11   it?

12   A.              No.

13

14                  (Plaintiff's Exhibit 7 was

15                  marked for identification.)

16

17   Q.              I'm handing you what's been marked as

18   Plaintiff's Exhibit 7.        This is a copy of the

19   reapportionment committee redistricting guidelines

20   that was produced in this lawsuit.           The Bates number

21   at the bottom is RC 043723, and it's dated May 5th

22   2021.

23                   Do you see that?

24   A.              I do.

25   Q.              Do you recognize this document?


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 1   A.              I do.

 2   Q.              What is this document?

 3   A.              These are the guidelines that were

 4   approved by the reapportionment committee for

 5   drawing the four maps.

 6   Q.              Were you provided a copy of these

 7   redistricting guidelines before you drafted the 2021

 8   congressional map?

 9   A.              I was.

10   Q.              Who provided it to you?

11   A.              The two co-chairs, probably with Dorman

12   Walker, as well.        I'm not sure who handed it to me.

13   Q.              And when was that?

14   A.              It would have been around the time it

15   was passed, May 5th.

16   Q.              What --

17   A.              Which very importantly happens to be my

18   birthday.

19   Q.              That is an important note.         Thank you

20   for letting me know.        Happy belated birthday.

21   A.              Thank you.

22   Q.              What were you told when you were

23   provided these guidelines?

24   A.              I was told these were the guidelines for

25   drawing the four maps that you've been contracted to


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 1   draw, and to follow them to the best of my

 2   abilities.

 3   Q.              Anything else that you recall?

 4   A.              No.

 5   Q.              And did you, in fact, follow these

 6   guidelines in drawing the 2021 congressional map?

 7   A.              I did.

 8   Q.              Let's take a look at the criteria that's

 9   listed here.     So starting on Page 1, you see Line 10

10   there.    It says Section II, Criteria for

11   Redistricting.

12   A.              Yes, sir.

13   Q.              I want to talk through these with you.

14   So Sections II a and b both state that the

15   congressional district should equalize total

16   population and have minimal population deviation.

17                   Do you see that?

18   A.              I do.

19   Q.              What does minimal population deviation

20   mean to you?

21   A.              I took that to mean for the

22   congressional districts, that that was -- they

23   should be zero for six of the districts and plus one

24   for the remaining district because the population

25   was not divisible by seven.         So six were to zero


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 1   deviation, and one should be plus one.

 2   Q.              Which district did you choose to be the

 3   plus one deviation?

 4   A.              I knew you would ask me that.          I don't

 5   -- I would have to look.        I think it was the 6th

 6   maybe.     I would have to look at a map.         I don't have

 7   numbers.     I'm sorry.

 8   Q.              Was it District 7?

 9   A.              No, I don't think so.        I think it was 2

10   or 6, but I can't remember which.

11   Q.              And what did you do to make sure that

12   your map complied with that zero deviation for six

13   of the districts and plus or minus one for the

14   other?

15   A.              I moved -- I split seven precincts down

16   to the census block level to get to zero deviation

17   for six of the districts and plus one for the

18   seventh one.

19   Q.              Did anyone tell you that zero percent

20   deviation was required or that there was a certain

21   cutoff that you had to reach to satisfy this

22   criteria?

23                   MR. WALKER:     Objection to form.       You can

24   answer.

25   A.              I was told that it was literally zero


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 1   deviation, meaning zero -- not percent, but zero

 2   people except for the one that had to be plus one.

 3   Q.              Is that plus one person?

 4   A.              Yes.

 5   Q.              Understood.

 6   A.              Sorry.    Plus one person.

 7   Q.              And who told you --

 8   A.              Dorman Walker, legal counsel.

 9   Q.              Section II c looks like it's about

10   legislative and board of education districts.              So I

11   don't think that would apply to the congressional

12   map.   Is that correct?

13   A.              Correct.

14   Q.              Section II d says that the plan must

15   comply with the one person, one vote principle of

16   the Equal Protection Clause of the 14th Amendment of

17   the United States Constitution.

18                   Do you understand what the one person,

19   one vote principle is?

20   A.              I think I do.

21   Q.              What's your understanding?

22   A.              Again, that's so no -- so people have

23   equal representation, the representatives in those,

24   in the congressional case, should be representing

25   the same number of people.


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 1   Q.              So that goes back to the population

 2   deviation?

 3   A.              Correct.

 4   Q.              And where does that understanding come

 5   from?

 6   A.              Where does my understanding come from?

 7   I'm sure if I had any questions about it, I asked

 8   legal counsel.

 9   Q.              So other than what you just discussed

10   doing for Sections II a and b in adjusting for the

11   population, did you do anything else to make sure

12   that your plan complies with the one person, one

13   vote principle?

14   A.              No.

15   Q.              Section II e looks like it just states

16   that a plan that does not comply with the population

17   requirements above will not be approved.

18                   Is there anything additional you needed

19   to consider here for this section e beyond what

20   we've already discussed?

21   A.              I don't believe so.

22   Q.              Section II f states, "Districts shall be

23   drawn in compliance with the Voting Rights Act of

24   1965 as amended.      A redistricting plan shall have

25   neither the purpose nor the effect of diluting


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 1   minority voting strength, and shall comply with

 2   Section 2 of the Voting Rights Act and the United

 3   States Constitution."

 4                   Are you familiar with the Voting Rights

 5   Act of 1965?

 6   A.              I'm not a lawyer, but I'm familiar with

 7   it.

 8   Q.              What is your understanding?

 9   A.              Well, that the -- a plan should not have

10   the intent or purpose of discriminating against any

11   minority population.

12   Q.              Where does that understanding come from?

13   A.              Just conversations with legal counsel

14   and others during the process.

15   Q.              Are you familiar with Section 2 of the

16   Voting Rights Act?

17   A.              Again, I'm not a lawyer.        But vaguely.

18   Q.              Have you ever read Section 2 of the

19   Voting Rights Act?

20   A.              I'm not sure I have.

21   Q.              What is your understanding of what

22   Section 2 requires?

23   A.              Where there -- I guess my understanding

24   of it, a layman's understanding of it, would be

25   where there's a sufficient and compact enough


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 1   population of -- minority population to create a

 2   district, a congressional district in this case,

 3   that a district should be drawn if it's compact and

 4   sort of meets the Gingles, I guess, requirements,

 5   compact, contiguous population.

 6   Q.              Where there would be a majority black

 7   district?

 8   A.              Right, and would have the opportunity to

 9   elect a candidate of their choice.

10   Q.              And does that understanding come from

11   the same sources, conversations with counsel?

12   A.              Yes, sir.

13   Q.              What did you do to make sure that your

14   plan complies with Section 2 of the Voting Rights

15   Act?

16   A.              Again, once it was done and we turned on

17   race, we talked about it.        No one asked me to make

18   any other changes.       And I talked to legal counsel

19   and, I guess, concluded that it satisfies Section 2

20   of the Voting Rights Act.

21   Q.              Anything else?

22   A.              No.

23   Q.              Did you personally make a determination

24   that your plan does not have the purpose or effect

25   of diluting minority voting strength?


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 1   A.              I'm -- I'm not a lawyer, so I don't know

 2   that I can make that -- I don't know that it's my

 3   job to make that distinction.         But I don't believe

 4   it discriminated against anyone.

 5   Q.              Did you do anything to make that

 6   determination yourself?

 7   A.              Other than talk to legal counsel, no.

 8   Q.              Other than potentially legal counsel,

 9   did you have discussions with anyone else about

10   whether your plan complied with Section II of the

11   Voting Rights Act?

12   A.              No.

13   Q.              In making the determination, whether

14   that's through conversation with legal counsel or

15   not, about whether your plan complies with this

16   policy, did that require you to review the racial

17   makeup of the districts?

18   A.              Well, yeah.     I mean, race -- at that

19   point, we had turned race on.         So the BVAPs and

20   numbers were available.

21   Q.              And you say they were available.           So

22   then you had to review them, as well, to make sure

23   that everything was in compliance with this policy?

24   A.              Well, we -- the numbers were then

25   revealed or available, and we discussed the various


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 1   numbers related to the map.

 2   Q.              Did you have anyone other than

 3   Mr. Walker or someone with his firm analyze your map

 4   at any point to confirm that it complies with

 5   Section 2 of the Voting Rights Act?

 6   A.              I did not.

 7   Q.              Do you know if anyone reviewed the map

 8   to determine whether it complies with Section 2 of

 9   the Voting Rights Act, other than potentially

10   Mr. Walker and his firm?

11   A.              I do not, no.

12   Q.              And other than what we've discussed

13   already, did you do anything else to make sure that

14   your plan complies with Section 2 of the Voting

15   Rights Act?

16   A.              I did not.

17   Q.              Moving on to the next criteria, Section

18   II g.   This one is a little longer.

19                   It states, "No district will be drawn in

20   a manner that subordinates race-neutral districting

21   criteria to considerations of race, color, or

22   membership in a language-minority group, except that

23   race, color, or membership in a language-minority

24   group may predominate over race-neutral districting

25   criteria to comply with Section 2 of the Voting


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 1   Rights Act, provided there is a strong basis in

 2   evidence in support of such a race-based choice.              A

 3   strong basis in evidence exists when there is good

 4   reason to believe that race must be used in order to

 5   satisfy the Voting Rights Act."

 6                   Do you see that?

 7   A.              I do.

 8   Q.              What is your understanding of what that

 9   section requires?

10   A.              My understanding of what that section

11   requires is that's why -- when we made all of our

12   changes to the districts by adding or subtracting

13   population, that's why race was not on.            We did it

14   based on total population.         And then at the end of

15   the process, we did turn race on to look at various

16   districts.

17                   And because we were doing a number of

18   these maps at the same time, there were a couple of

19   instances in the other maps where we did look at

20   race to add to a district.         But that did not come

21   into play in congressional.

22   Q.              What, if anything, did you do to make

23   sure that specific congressional districts complied

24   with this policy?

25   A.              I made sure that when I added -- I used


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 1   traditional redistricting principles of total pop

 2   and geography considerations to add and subtract to

 3   these districts, and that that was not based on

 4   race.

 5   Q.              Flip the page to Page 2.        The next

 6   section is Section 2 h, and it states that districts

 7   must be composed of contiguous and reasonably

 8   compact geography.

 9                   What is your understanding of what this

10   section requires?

11   A.              Yeah, obviously contiguous counties

12   and/or precincts had to be adjacent, to be hooked

13   together, to form a district.         You couldn't have

14   part of Madison County tied to Mobile or something

15   crazy like that.

16                   And to the extent possible, I was trying

17   to, when changing things inside a county as

18   Jefferson, I was trying to make -- or Montgomery,

19   for that matter, tried to make districts more

20   geographically compact so they were not as spread

21   out.

22   Q.              Beyond what you just mentioned with

23   Montgomery -- sorry.       Was that Jefferson County?

24   A.              And Montgomery, too.

25   Q.              And Montgomery County.        Beyond that,


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 1   what did you do to make sure that your plan complies

 2   with this policy?

 3   A.              That's about it.

 4   Q.              Moving on to the next section, Section

 5   II i.    It lists several requirements of the Alabama

 6   Constitution.     I'm not going to read all of them

 7   here.

 8                   Did you consider these factors in

 9   drawing your map?

10   A.              I did.

11   Q.              It appears, just by looking at them,

12   that most of them do not apply to the congressional

13   map.     Rather, they talk about Alabama senate and

14   Alabama house.      Is that right?

15   A.              Correct.

16   Q.              How did you consider these factors here

17   under Section II i in drawing the congressional map?

18   A.              Well, I don't know how far down this

19   list -- I don't know how far down this list you're

20   counting.

21   Q.              It looks likes II i.       It's from Line 3

22   down to Line 20 on Page 2 of Exhibit 7.

23   A.              As you say, most of them don't really

24   apply.     They are all -- all districts will be

25   single-member districts, they're contiguous.             That's


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 1   already basically been covered in other things we've

 2   discussed.

 3   Q.              Anything else that you had to take into

 4   account to comply with this policy?

 5   A.              I don't think so.

 6   Q.              Section II j starting at Line 21 there.

 7   Section II j lists six redistricting policies.              Do

 8   you see that?

 9   A.              Uh-huh.

10   Q.              Sorry.    Can you answer verbally?

11   A.              Yes.   Sorry.

12   Q.              That's fine.

13                   Did you consider these redistricting

14   policies when drawing your map?

15   A.              I did.

16   Q.              How?

17   A.              Well, I wanted to make sure that no --

18   to the extent possible that no incumbents were put

19   together, which they were not, in the congressional

20   map.   While continuity by water was allowed, I was

21   trying to not use that.         Which I don't think we did.

22                   I don't know how far down your --

23   Q.              I can walk through them with you.           That

24   might make more sense.

25                   First off, did anyone explain to you


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 1   what these policies mean?

 2   A.              No.   I'm sure if I had a question, I

 3   would have asked legal counsel.          But I don't

 4   remember asking.

 5   Q.              Similarly, did anyone explain to you how

 6   to apply these policies in drawing the map?

 7   A.              No.

 8   Q.              What is your understanding of the

 9   priority amongst these various policies?

10   A.              I think the only two that are paramount

11   to the rest of them would be one person, one vote

12   and the Voting Rights Act.

13                   The rest of them are somewhat -- can

14   occasionally be in conflict.         And it depends on the

15   various situations where one might trump the other

16   or vice versa.

17                   You may have two incumbents that live

18   very close to one another.         Maybe they need to be

19   split apart.     That may make the districts not quite

20   as compact as you would like.         But one of those --

21   you know, you couldn't put the two incumbents

22   together.    So sometimes they are in conflict, and

23   you have to resolve that.

24   Q.              Other than the two you just mentioned,

25   one person, one vote and the Voting Rights Act, did


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 1   you place any greater importance on one of these

 2   policies over the other?

 3   A.              No.

 4   Q.              Let's walk through these.         So the first

 5   policy under Section J starting on Line 25 there

 6   states, "Contests between incumbents will be avoided

 7   whenever possible."

 8                   What's your understanding of what this

 9   requires?

10   A.              That when -- certainly when possible, I

11   would not put incumbents in the same district.

12   Q.              What did you do to make sure that you

13   complied with that?

14   A.              Retrieved -- made sure that we retrieved

15   all of the home addresses and looked to where they

16   were and made sure two of them were not in the same

17   district.

18   Q.              You might have answered this earlier.

19   But did you have to make any modifications to your

20   map to comply with this?

21   A.              Not the congressional map.

22   Q.              This factor applies equally to both

23   parties, correct?

24   A.              Certainly, yes.

25   Q.              So you applied it equally to all


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 1   incumbents, both the republicans and to the

 2   democrat, correct?

 3   A.              Correct.

 4   Q.              The second policy there, Section II

 5   j(ii) starting on Line 26, states -- I don't know

 6   why I'm having trouble pronouncing the word.

 7   "Contiguity by water is allowed, but point-to-point

 8   contiguity and long-lasso contiguity is not."

 9                   What is your understanding of what that

10   policy requires?

11   A.              I'm not sure I even know what long-lasso

12   contiguity is, to be honest with you.

13                   But point-to-point, occasionally you can

14   have a precinct or a census block that connects to

15   the next one just by one point in space.            And that's

16   not -- under their guidelines, not allowable in

17   terms of connecting them together.

18                   Again, on the congressional map, it

19   didn't come into play very much because I tried not

20   to split -- I only split seven precincts and tried

21   not to have situations where census blocks were --

22   weren't any -- weren't close to any of those options

23   there.

24   Q.              Did you have to do anything else to make

25   sure your plan complied with this policy?


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 1   A.              No.

 2   Q.              Did you have to make any modifications

 3   to your map to comply with this policy?

 4   A.              I did not.

 5   Q.              The third one -- the third policy, which

 6   is Section II j(iii,) states, "Districts shall

 7   respect communities of interest, neighborhoods, and

 8   political subdivisions to the extent practicable and

 9   in compliance with paragraphs a through i."

10                   What is your understanding of what this

11   policy requires?

12   A.              It requires -- like I said earlier, in

13   areas; for example, Mobile and Baldwin which wanted

14   to stay together or Madison and Morgan that had

15   specific communities of interest, it was to keep

16   areas together that have similar -- and, obviously,

17   there are lots of different communities of interest.

18   So I tried to keep areas, to the extent possible,

19   together.

20                   Obviously, this comes into conflict with

21   county lines, precinct lines, other things.             So it's

22   not always -- and everybody has -- a number of

23   people have different views of what communities of

24   interest are.     So it's certainly not always possible

25   to keep all of them together.


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 1   Q.              What is your definition of a community

 2   of interest?

 3   A.              My definition of community of interest,

 4   it can be geographic, it can be economic, where

 5   people work, it can be racial, it could be

 6   geography, it could be people on the bay, for

 7   example, for Mobile and Baldwin counties.            A host

 8   of -- a host of communities of interest.

 9   Q.              What do you consider to be communities

10   of interest in Alabama?

11   A.              All those things I just listed.

12   Q.              Is there any sort of particular

13   communities of interest that are well established or

14   a list of any of these?        Or is this just something

15   that is subjectively known but doesn't really exist

16   in writing anywhere?

17   A.              I don't know of a definitive list of all

18   the communities of interest in Alabama.

19   Q.              Are there any specific communities of

20   interest that come to mind for you right now?

21   A.              No, other than the ones I listed.           I

22   mean, precincts can be -- counties are, I guess,

23   communities of interest sometimes.           I mean, it's --

24   there are a whole host of things.

25   Q.              It sounds like communities of interest


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 1   can be somewhat fluid.        Is that fair to say?

 2   A.              It is fair to say.

 3   Q.              One area, say, where we're sitting right

 4   now in Montgomery, could be part of three, four,

 5   five, six different communities of interest

 6   depending on what factors you're looking at?

 7   A.              Yeah, whether they're economic or racial

 8   or social or everybody roots for the same football

 9   team, I suppose.

10   Q.              Do they?

11   A.              No.

12   Q.              I see.     I see.   That would be a

13   community of interest perhaps.

14                   Are you familiar with the black belt?

15   You mentioned that earlier.

16   A.              I am.

17   Q.              What is the black belt?

18   A.              It's a group of mostly rural counties

19   that have a -- for the most part have a majority

20   black population.

21   Q.              Do you know what counties are in the

22   black belt?

23   A.              I'm not sure I can list every one.           But

24   yeah, in general, I do.

25   Q.              What counties would you say are in the


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 1   black belt?

 2   A.              I would say Sumpter, Greene, Choctaw,

 3   Marengo, Hale, Perry, Dallas, Wilcox, Lowndes, I

 4   guess Macon and Bullock.        Some would say Montgomery.

 5   Q.              Do you consider the black belt to be a

 6   community of interest?

 7   A.              I do.

 8   Q.              So in drawing your map, what did you do

 9   to make sure that your plan complies with this

10   policy, that it respected communities of interest?

11   A.              Again, I mean, because there are so many

12   different communities of interest, they're not -- I

13   mean, no plan is going to respect all of them.              So

14   there are trade-offs.

15                   There are also -- you know, the entire

16   black belt I imagine if you made into a

17   congressional district would accomplish -- would hit

18   up against other one person, one vote issues and

19   other issues in here, as well.          So they are

20   sometimes in conflict.        So you can't -- you can't

21   satisfy all communities of interest.

22   Q.              Did you have to make any specific

23   modifications to your map to make sure that you were

24   respecting communities of interest?

25   A.              No.   Although, again, I tried to keep,


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 1   for example, the Muscle Shoals area together in

 2   the -- in the 4th District when we split Lauderdale.

 3   Not that it was at issue, but the people in Mobile

 4   and Baldwin very much wanted to be together because

 5   they share the bay.       But that didn't require a

 6   change.     It just is a . . .

 7   Q.              Other than the modification for the

 8   Muscle Shoals community, are there any other

 9   specific modifications that you felt like you made

10   in drawing the 2021 map?

11   A.              No, not specifically.

12   Q.              Does your map split any communities of

13   interest?

14   A.              Oh, I'm sure it does.        I mean, all maps

15   split some communities of interest.

16   Q.              And part of that is because of what we

17   just discussed, that communities of interest can

18   mean lots of different things?

19   A.              To different people, I'm sure.

20   Q.              Looking at the bottom of Section II

21   j(iii,) that third policy, it gives a definition.

22   It says, "The term communities of interest" --

23   excuse me.

24                   It says, "A community of interest is

25   defined as an area with recognized similarities of


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 1   interests, including but not limited to ethnic,

 2   racial, economic, tribal, social, geographic, or

 3   historical identities.        The term communities of

 4   interest may in certain circumstances include

 5   political subdivisions such as counties, voting

 6   precincts, municipalities, tribal lands and

 7   reservations, or school districts."

 8                   Did you review any ethnic, racial,

 9   tribal, or other similar data to identify

10   communities of interest?

11   A.              I did not.

12   Q.              Moving to the next policy, the fourth

13   policy, Section II j(iv.)        It states, "The

14   legislature shall try to minimize the number of

15   counties in each district."

16                   I think that's pretty self-explanatory.

17   But what is your understanding of what that policy

18   requires?

19   A.              Yeah, that's sort of a compactness

20   thing.    I was trying to keep the fewest number of

21   counties necessary to -- and it's not always --

22   there are other -- the next one down says

23   "preserving cores of existing districts."

24                   I mean, some of these things come into

25   conflict.    But to where possible, I tried to deal in


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 1   whole counties, keeping counties whole, and the

 2   minimum number to reach the ideal population.

 3   Q.              Did you have to make any specific

 4   modifications to your map to comply with that

 5   policy?

 6   A.              No.   Although it does come into effect

 7   when people were talking about adding -- where you

 8   split a -- for example, the Escambia County split,

 9   you know, where does that go.

10                   I was trying to keep districts so that

11   not all of the splits were in the same district and

12   the number of counties in a particular district

13   didn't grow a lot.       Because for a congressional

14   office, that takes on local governments and more

15   work.     So I tried to be mindful of that when looking

16   at it.

17   Q.              Other than trying to be mindful of that,

18   did you have to make any specific changes?

19   A.              No.

20   Q.              You referenced it just now.         The next

21   policy, the fifth policy, Section II j(v) states,

22   "The legislature shall try to preserve the cores of

23   existing districts."

24                   What is your understanding of what that

25   policy requires?


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 1   A.              That's basically the cores of the -- of

 2   existing districts or the counties that make up the

 3   majority of those districts, to keep them together

 4   in the same district.

 5                   Obviously, incumbents have a preference

 6   to not have to add folks they haven't represented

 7   when they can continue to keep the folks they have

 8   been representing.

 9   Q.              What, in your mind, is the core of an

10   existing district?

11   A.              The core of an existing district is

12   basically -- I view it as geography.           It's the

13   county -- the key counties that make up the current

14   district, current as in 2001.

15   Q.              Where --

16   A.              Or 2011 I mean.

17   Q.              Where does that understanding come from?

18   A.              I don't know.      That understanding comes

19   from what the cores of a district are.

20   Q.              Your understanding of what a core of a

21   district is comes from --

22   A.              I mean, that's what the definition of

23   those words are to me anyway.

24   Q.              Did you have some sort of metric to use

25   when determining what the core of an existing


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 1   district is?

 2   A.              I did not.

 3   Q.              Does maintaining the core of districts

 4   require considerations of racial data?

 5   A.              I don't think it does, no.

 6

 7                  (Plaintiff's Exhibit 8 was

 8                  marked for identification.)

 9

10   Q.              I'm handing you what's been marked as

11   Plaintiff's Exhibit 8.        This is a document that was

12   produced in this lawsuit.        The Bates number in the

13   corner is RC 00056.       It's a seven-page document.

14   Each page has one of the seven congressional

15   districts from the 2021 congressional map.

16                   Do you see that?

17   A.              I do.

18   Q.              Have you seen this document before?

19   A.              I have not.

20   Q.              And you can take a look through it if

21   you don't believe me.        But these are the seven --

22   these are maps of each of the seven congressional

23   districts in the 2021 map that you drew; is that

24   correct?

25   A.              Yes, sir.


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 1   Q.              Looking at page one here, District 1,

 2   show me on here where the core of District 1 is.

 3   A.              Well, the core of District 1 to me would

 4   be Mobile and Baldwin counties.

 5   Q.              Flipping over to -- and why do you

 6   consider those two --

 7   A.              Well, that's --

 8   Q.              -- to be the core?

 9   A.              Those are the two predominant counties.

10   They have the vast majority of the population in the

11   district.

12   Q.              Flipping the page to District 2.           What

13   do you consider to be the core of District 2?

14   A.              The core of District 2 is a little more

15   complicated than that, I guess.          You have the Wire

16   -- you have Dothan, which is Houston County, you

17   have the Wiregrass region, you have Montgomery, and

18   then you have Autauga and Elmore on top -- of top of

19   them.

20   Q.              And why do you consider those counties

21   to be the core of this district?

22   A.              Again, that's where the majority of the

23   population is.      And they've been for the most part

24   consistently inside the 2nd District for a

25   considerable period of time.


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 1   Q.              Moving the page to District 3, the same

 2   question.     What do you consider to be the core of

 3   District 3?

 4   A.              The core of District 3 would be Calhoun

 5   and St. Clair.      And then obviously more down, Lee

 6   and Russell, which are very fast-growing counties,

 7   especially Lee County.        That would be the core of

 8   the district to me.

 9   Q.              And why do you say that?

10   A.              Again, it's the vast majority of the

11   population.     It's also -- those areas have been

12   pretty much continuously in the 3rd District.

13   Q.              Turning the page to District 4, same

14   question.     What do you consider to be the core of

15   District 4?

16   A.              The core of District 4 would be sort of

17   the Winston, Walker, Cullman area, and then northern

18   Tuscaloosa which was only added ten years ago but

19   certainly plays a key role in the district now.              And

20   then sort of Marshall, Etowah, again large

21   population, have been in the district a considerable

22   amount of time.

23   Q.              Is your answer for why those are the

24   core based on population again?

25   A.              Population, yeah.


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 1   Q.              Flipping the page to District 5, same

 2   question.    What's the core there?

 3   A.              The core would be Madison and Morgan and

 4   Limestone, which is now rapidly growing, as well.

 5   Again, population, and they've been in that district

 6   for a considerable period of time.

 7   Q.              Any other reasons?

 8   A.              No.

 9   Q.              Turning the page to District 6, same

10   question.

11   A.              District 6, obviously Shelby and then

12   Jefferson because of population would be, in my

13   mind, the core of that district.

14   Q.              Any other reasons?

15   A.              No.   It's population primarily.

16   Q.              Finally flipping the page to District 7.

17   What would you consider to be the core of District

18   7?

19   A.              I would say the core of District 7 is

20   the black belt counties that we talked about earlier

21   from Choctaw through to Lowndes, and then also the

22   portions of Tuscaloosa and Jefferson.

23   Q.              What are the reasons for considering

24   those to be the core?

25   A.              Again, population and that they've been


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 1   in that district for a long period of time.

 2   Q.              And going through each of these counties

 3   that you consider to be the core of each district,

 4   is that a determination that you made?            Or is that

 5   something that you were told by someone else?

 6   A.              That's a determination I made.

 7   Q.              Have you discussed what you consider to

 8   be the core of each of these districts with anyone

 9   else?

10   A.              I may have discussed it with legal

11   counsel.     But I don't have a specific recollection

12   of the discussion.

13   Q.              Has anyone ever told you before what the

14   core of each district is?

15   A.              No.

16   Q.              Looking back at the policy that we were

17   referencing here about preserving the cores of each

18   of the districts, what did you do to make sure that

19   your plan preserved the core of each of these

20   districts?

21   A.              I kept the areas we referenced by

22   district inside that district.

23   Q.              Did you have to make any specific

24   modifications to comply with this?

25   A.              No.


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 1   Q.              Where did this policy rank in comparison

 2   to the other policies?

 3   A.              It was equal to all except one person,

 4   one vote and the Voting Rights Act.

 5   Q.              We're almost through the criteria here.

 6   The last policy, Section II j(vi) states, "In

 7   establishing legislative districts, the

 8   reapportionment committee shall give due

 9   consideration to all the criteria herein.            However,

10   priority is to be given to the compelling state

11   interests requiring equality of population among

12   districts and compliance with the Voting Rights Act

13   of 1965, as amended, should the requirements of

14   those criteria conflict with any other criteria."

15                   That sounds to be pretty much what you

16   just said to me, correct?

17   A.              Correct.

18   Q.              To your knowledge, was there any

19   conflict between the five policies we just discussed

20   and the requirements regarding equality of

21   population?

22   A.              No.   I mean, obviously, there can be

23   conflicts between one person, one vote and

24   communities of interest and one person, one vote and

25   how many counties are in a district.           But not on


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 1   that level, I guess.       You would have to ask me that

 2   one again.

 3   Q.              And did you run into any of those

 4   conflicts?     Did you have to make any modifications

 5   based on any sort of conflict like that in drawing

 6   the map?

 7   A.              Well, I mean, I didn't run into them.

 8   But, I mean, I kept those in mind when we were doing

 9   our initial additions or subtractions to the plan.

10   Q.              Same question.      To your knowledge, was

11   there any conflict between those five policies we

12   just discussed and the requirements under the Voting

13   Rights Act of 1965?

14   A.              No.   As I stated, when I added

15   population to the 7th district, for example, I was

16   not looking at race.       So there was no conflict with

17   any of it to the Voting Rights Act.

18                    THE REPORTER:      There was no conflict

19   what?

20   A.              With any of those to the Voting Rights

21   Act.

22   Q.              I don't think it's another policy.           But

23   looking down here at the bottom, g, the last section

24   under the criteria.       Section g states that the six

25   policies we just discussed in paragraphs j(i)


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 1   through (vi) are not listed in order of precedence,

 2   and in each instance where they conflict, the

 3   legislature shall at its discrimination determine

 4   which takes priority.

 5                   Were you given any instruction on which

 6   policy should take priority over the others?

 7   A.              No, other than section 6 that says

 8   clearly one person, one vote and the Voting Rights

 9   Act.   But other than that, no.

10   Q.              Is there anything else in Exhibit 8,

11   which is the reapportionment committee redistricting

12   guidelines, that you considered other than the

13   criteria we just discussed in Section II?

14   A.              No.

15   Q.              In looking back at these criteria in

16   Exhibit 8, Section II, were these the main factors

17   that you considered when drawing the 2021

18   congressional map?

19   A.              They were.

20   Q.              Did you consider any other factors when

21   drawing the 2021 congressional map?

22   A.              I did not.

23   Q.              Are you aware of any racial polarization

24   analysis that was done on any of the districts on

25   the 2021 congressional map?


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 1   A.              I'm not.

 2   Q.              What is your understanding of what a

 3   racial polarization analysis entails?

 4   A.              I think it -- I've never done one, and

 5   I'm not an expert.       But my understanding -- a

 6   layman's understanding of it, it is an analysis of

 7   performance of how a district would perform in terms

 8   of electing a candidate of choice for a minority

 9   candidate.

10   Q.              Do you know why a racial polarization

11   analysis was not conducted?

12   A.              I do -- that was -- I do not.

13   Q.              Did you ever suggest one?

14   A.              I did not.

15   Q.              Why not?

16   A.              It wasn't under my purview.

17   Q.              What do you mean?

18   A.              It wasn't part of my -- I was asked to

19   draw four maps and submit them to the legislature.

20   Q.              Did anyone ever talk to you about a

21   racial polarization analysis?

22   A.              Counsel.    We talked -- we've talked

23   about --

24                   MR. WALKER:     Objection to form.

25   Q.              Without going into any discussion that


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 1   you had with Mr. Walker, did anyone else ever talk

 2   to you about any racial polarization analysis being

 3   done for the 2021 congressional map?

 4   A.              No.

 5                   MR. THOMPSON:      For the record, Counsel,

 6   I have a copy here of the joint stipulated facts

 7   that were agreed to by counsel and filed this past

 8   Friday.    I only have one copy.

 9                   MR. WALKER:     Do you want me to get a

10   copy made, copies made?

11                   MR. THOMPSON:      We can.    I just have a

12   question about one of these.         So if it works, I can

13   just read it into the record and show the witness.

14                   MR. WALKER:     That's fine.

15   Q.              Paragraph 62 of -- for your knowledge,

16   sir, this is a document titled Joint Stipulated

17   Facts for Preliminary Injunction Proceedings.              And

18   this was a document of stipulated facts that the

19   parties in the three lawsuits here have agreed to.

20   Does that make sense?

21   A.              Yes.

22                   MR. DAVIS:     Actually, there are

23   differences.     What one set of counsel agreed to with

24   us may not be exactly what another set of counsel

25   agreed to with us.       So you might want to clarify for


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 1   the record in which case those stipulations are.

 2                   MR. THOMPSON:      This is the Milligan

 3   plaintiffs versus Merrill stipulations.

 4   Q.              All right.     Paragraph 62 in this -- and

 5   I'll read it to you, and then I can show it to you.

 6                   It states, "In recent litigation,

 7   Secretary Merrill stated that CD 7," which is

 8   Congressional District 7, "appears to be racially

 9   gerrymandered, with a finger sticking up from the

10   black belt for the sole purpose of grabbing the

11   black population of Jefferson County.           Defendant

12   does not believe that the law would permit Alabama

13   to draw that district today if the finger into

14   Jefferson County was for the predominant purpose of

15   drawing African American voters into the district."

16   And that's from Secretary of State Merrill's

17   pretrial brief in Chestnut v. Merrill.

18                   And I'll show that to you.         Just let me

19   know when you've had a chance to look at it.

20   A.              Okay.

21   Q.              Do you agree with Secretary Merrill that

22   District 7 appears to be racially gerrymandered?

23                   MR. DAVIS:     Object to the form.

24                   MR. WALKER:     Object to the form.

25                   MR. DAVIS:     Which District 7?       What


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 1   year?

 2                   MR. THOMPSON:      I believe this was in

 3   reference to the 2011 --

 4                    MR. WALKER:     Right.

 5                    MR. THOMPSON:      -- congressional map.

 6   Correct?

 7                   MR. DAVIS:     I just want to make sure

 8   it's clear if, in fact, you're asking him about the

 9   2011 district, that y'all are on the same page.

10                   MR. THOMPSON:      Thank you.

11   Q.              So do you agree with Secretary Merrill

12   that District 7 in the 2011 Alabama congressional

13   map appears to be racially gerrymandered?

14   A.              Well, again, I'm not a lawyer nor an

15   expert.    But I think it's clear there is a racial

16   component to the finger that goes into Jefferson

17   County.

18   Q.              And why do you say that?

19   A.              Well, I think because of shape and size

20   and what have you.       And, again, I haven't done -- I

21   haven't looked at it specifically.           But I imagine,

22   obviously, the majority of the folks inside that

23   finger, for lack of a better word, are probably

24   African American and the majority of folks on the

25   outside probably aren't.


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 1   Q.              And you drew the original District 7

 2   back in 1992, we discussed, right?

 3   A.              Correct.

 4   Q.              So you drew that original, for lack of

 5   better terms, finger that extends into District 6?

 6   A.              Yeah.    And I'm not sure it looked

 7   exactly like that.       But yes, I did.

 8   Q.              And why did you draw that long finger

 9   extension into District 6?

10   A.              Well, it partially probably had to do

11   with where the incumbent lived at that point.              But

12   also to create a majority black district.

13   Q.              Moving ahead to the 2021 congressional

14   map.     Were you asked to do anything to District 7 so

15   that it does not appear to be racially

16   gerrymandered?

17   A.              I wasn't asked to do anything.          But when

18   I was looking at adding population to District 7, I

19   was hoping -- my goal was to make it more compact

20   and geographically comprehensible in terms of, for

21   example, Jefferson County.         So that's why I was

22   adding west Jefferson County and gaining population

23   there.

24   Q.              Did you do anything specifically in

25   drawing the 2021 congressional map to modify it so


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 1   that District 7 does not appear to be racially

 2   gerrymandered?

 3   A.              I don't know how to answer that other

 4   than I tried to make it more geographically compact

 5   in shape.

 6   Q.              Other than that, did you make --

 7   A.              And not -- and not split precincts.

 8   Which I think a number of precincts were split in

 9   this version.

10   Q.              Other than trying to make it

11   geographically compact and not splitting precincts,

12   did you make any other changes for that purpose?

13   A.              No.

14                   MR. WALKER:     Just so the record is

15   clear, the witness' reference to "this version" was

16   to the 2011 version.

17   A.              When I said they were split.         Is that

18   what you're talking -- yeah.

19                   MR. THOMPSON:      Thank you.

20   Q.              And I'm referring to when you were

21   drawing the 2021 map now.        So thank you for the

22   clarification.

23                   Did you specifically make any changes in

24   drawing the 2021 map to ensure that District 7 does

25   not appear to be racially gerrymandered?


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 1   A.              No, other than -- other than making the

 2   district more compact and more geographically

 3   contiguous.

 4   Q.              Anything else?

 5   A.              And not split precincts.

 6   Q.              Anything beyond that?

 7   A.              No.

 8   Q.              Do you know if District 7 would still be

 9   majority black without that finger sticking up into

10   Jefferson County?

11   A.              I do not.

12   Q.              Have you looked at that?

13   A.              No.   But, of course, it's not really a

14   finger anymore.       It was basically the southwestern

15   part of the county.

16   Q.              In drawing the 2021 congressional map,

17   were you asked to consider anything about race when

18   drawing District 7?

19   A.              No.

20   Q.              Did you consider anything about race

21   when drawing District 7?

22   A.              No.

23   Q.              And you say "No."       That was before the

24   week before you submitted this to the special

25   session, correct?


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 1   A.              Correct.    But even once we turned race

 2   on, nobody asked me to make any changes to District

 3   7 or any other district.

 4   Q.              And did you make any changes to District

 5   7 at that point?

 6   A.              No.

 7   Q.              Did you look at the racial makeup of

 8   certain neighborhoods that week before the special

 9   session?

10   A.              I did not.

11   Q.              Did you take into account any of the

12   other characteristics of the black voting age

13   population when drawing District 7?

14   A.              Help me with that one.

15   Q.              Similar to what I asked before.          Did you

16   take into account different socioeconomic factors

17   within the black voting age population?

18   A.              No, sir, I did not.

19   Q.              Attitudes?

20   A.              No, sir.

21   Q.              Interests?

22   A.              No.

23   Q.              Type of employment?

24   A.              No.

25   Q.              Income?


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 1   A.              No.

 2   Q.              Educational level?

 3   A.              No.

 4   Q.              Favorite football team?

 5   A.              No.

 6   Q.              Voter turnout?

 7   A.              No, sir.

 8   Q.              Election results to assess party

 9   affiliation?

10   A.              No.

11   Q.              Were you asked to consider anything

12   about race when drawing any of the other districts?

13   A.              I was not.

14   Q.              Did you consider anything about race

15   when drawing Districts 1 through 6?

16   A.              I did not.

17   Q.              Did you consider whether it would be

18   possible to create a second black majority district

19   when drawing the 2021 congressional map?

20   A.              I did.

21   Q.              When did you make that -- when did you

22   consider that?

23                   MR. WALKER:     I'm going to asset the

24   attorney-client privilege.

25                    THE REPORTER:      I'm sorry?


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 1                    MR. WALKER:     I'm asserting the

 2   attorney-client privilege in response to that

 3   question.

 4                   MR. THOMPSON:      To the question of when?

 5                   MR. WALKER:     He can answer when.

 6   Q.              When did you consider whether making a

 7   -- excuse me.     Let me ask the question again.

 8                   When did you consider whether it would

 9   be possible to create a second majority black

10   district?

11   A.              After we got the final census results.

12   So early September.

13   Q.              Did anyone ask you to consider that?

14                   MR. WALKER:     Objection.

15                   MR. THOMPSON:      Was that an instruction

16   not to answer, or just an objection?

17                   MR. WALKER:     I think he can tell you

18   that I asked him to consider that.

19   Q.              I'll go ahead and let you --

20   A.              Dorman Walker asked me to take -- to

21   look at it, yes.

22   Q.              Did you attempt to draw such a plan?

23                   MR. WALKER:     Objection.     I instruct the

24   witness not to answer.        It's privileged.

25   Q.              Beyond your discussion with Mr. Walker,


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 1   did you discuss with anyone else the possibility of

 2   creating a second majority black district?

 3   A.              I did not.

 4   Q.              Do you agree that it would be possible

 5   to create a second majority black district in

 6   Alabama?

 7                   MR. DAVIS:     Object to the form.

 8                   MR. WALKER:     Same objection.

 9                   THE WITNESS:     Does that mean I'm not

10   supposed to answer?

11                   MR. WALKER:     It's an objection to the

12   form of the question.

13   A.              I think it would be possible.          It's a

14   question of whether -- how many counties and

15   precincts you feel comfortable splitting to do so

16   and how -- what the shape and size and scope of it

17   would be.

18   Q.              Would it be possible to create a second

19   majority black district and still comply with the

20   reapportionment committee redistricting guidelines?

21   A.              I would not think so.

22   Q.              Why not?

23   A.              Well, I can't say every -- some of the

24   plans that were submitted that did that either

25   paired incumbents or disallowed cores of districts


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 1   or made an inordinate number of splits or had 20

 2   counties in a congressional district or some other

 3   thing that was not positive in our guidelines.

 4   Q.              You said some of the other plans that

 5   were submitted.        I know we referenced this way back

 6   earlier there morning --

 7   A.              Yes.

 8   Q.              -- that there were, you said,

 9   approximately 41 plans that were offered at some

10   point in the special --

11   A.              Not congressional.       All the -- all the

12   whole.     That was all.    That was legislative, that

13   was everything.

14   Q.              Understood.     This may help.

15

16                  (Plaintiff's Exhibit 9 was

17                  marked for identification.)

18

19   Q.              I'm marking Plaintiff's Exhibit 9.           This

20   is another document that was produced in this

21   lawsuit.     It's Bates number RC 000007.         And I will

22   represent to you that the file name for this

23   document is Congressional Plans Introduced in 2021

24   Special Session.

25                   Have you seen this document before?


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 1   A.              I don't think I have.

 2   Q.              Does this appear to be a list of the

 3   congressional plans that were introduced in the 2021

 4   special session?

 5   A.              It does.

 6   Q.              Did you review any of these maps?

 7   A.              I looked at most all of them, yes.

 8   Q.              Earlier today you made a distinction

 9   between looking at and reviewing.

10   A.              Well, because a couple of these plans I

11   know were put into the system very, very late in the

12   process.    So my quote, unquote review of them may

13   have been ten minutes.

14   Q.              Which plans were those?

15   A.              Well, Senator Coleman's plan.          Senator

16   Hatcher's plan, I think, came in very late.             A

17   couple of these others which are full plans,

18   obviously, but they were more amendments.            Like

19   Waggoner and Barfoot were done on the last day.              So

20   I looked at them, but I didn't have very long to

21   look at them.

22   Q.              Did you have an opportunity to review

23   the Holmes congressional plan?

24   A.              Yeah.    Again, that was basically a

25   change for Congressman Moore when we were discussing


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 1   the whole Escambia versus Monroe thing.            So it

 2   was -- it was not really a whole -- it was a whole

 3   plan.   But the changes were very specific to

 4   Congressman Moore.       So yes, I'm familiar with it.

 5   Q.              Did you have an opportunity to review

 6   the Faulkner congressional plan two?

 7   A.              I did.    Those were changes that were

 8   primarily in Jefferson County.          Again, the vast

 9   majority of the plan was the same this as the

10   Pringle plan.     So I was familiar with those changes.

11   Q.              You may or may not know the answer to

12   this.   There's only one Faulkner plan listed here,

13   but it's numbered two.        Do you know if there was a

14   Faulkner plan one?

15   A.              I don't know.      I don't know.

16   Q.              It seems to be like the school prank

17   where you number the pigs one, two, and four.

18   A.              One would guess there would be a one.

19   But I don't -- I don't know that.

20                   MR. WALKER:     I think that's the best

21   extraneous comment in a deposition I've ever heard.

22   Q.              Understood.

23                   Then did you review the Singleton

24   congressional plans?       And there's three of those

25   here.


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 1   A.              The first one, the whole county plan, I

 2   did because that was a plan that was submitted to

 3   public hearings along the way and had been in the

 4   office for quite a while.        So yes, I did.      I did

 5   have more time to look at that one, yes.

 6   Q.              And that's plan one, the --

 7   A.              Plan one, yeah, SB-10.        Yes, sir.

 8   Q.              I'm sorry.     Go ahead.

 9   A.              Yes, plan one, SB-10.

10   Q.              And are you aware that that one was

11   submitted by the League of Women Voters?

12   A.              Yes, sir.

13   Q.              And there is also two other plans, plan

14   two and plan three.       Did you have an opportunity to

15   review those?

16   A.              Much more quickly.       I mean, they were

17   offshoots of the initial plan that just changed

18   deviation for the most part.

19   Q.              I want to walk through those, the Holmes

20   plan, the Faulkner plan, and the Singleton plan.

21                   Starting with the Holmes plan, why did

22   you review that one?

23   A.              I reviewed that because that was put in

24   essentially for Congressman Moore because he did not

25   want to pick up another county.          And instead of


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 1   splitting Escambia between 1 and 2, he wanted to

 2   split Monroe between 1 and 7 so that District 7

 3   would pick up an additional county and he would not,

 4   and then make the corresponding change in Montgomery

 5   to offset the 739 people that were needed to get 1

 6   to zero deviation.       To my knowledge, those were the

 7   only changes.

 8   Q.              You had had conversations with

 9   Congressman Moore when you were creating your map,

10   correct?

11   A.              Correct.

12   Q.              Were these changes in the Moore --

13   excuse me.

14                   Were these changes in the Holmes plan

15   changes that you did not want to or did not for some

16   reason make in the 2021 map that you drew?

17   A.              That's correct.

18   Q.              And why did you not make those changes?

19   A.              Because I didn't think it was fair to

20   put the majority of split counties into the 7th

21   District.

22   Q.              Why not?

23   A.              I just didn't think any one district

24   should have to have four split counties when other

25   districts only had one.


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 1   Q.              Was that the only reason you didn't make

 2   those changes?

 3   A.              Primarily.     I didn't think it was a good

 4   -- first of all, it's 739 people.          It's not really

 5   -- you couldn't make a case that Congressman Moore

 6   was going to lose re-election over gaining 739

 7   republicans in Escambia County.

 8                   So I was not concerned about what it did

 9   to his district.      I was concerned about the fairness

10   issue of putting all of the splits in one

11   congressional district.

12   Q.              Were there any other reasons why you

13   didn't incorporate those changes in the Holmes plan

14   into your map?

15   A.              That was -- that was the primary reason.

16   Q.              Were you asked by anybody to review the

17   Holmes congressional plan?

18   A.              Well, when it was offered on the

19   floor -- I'm not sure where it was offered.             The

20   house floor maybe.       This doesn't say on here.

21                   But whatever chair where that was being

22   offered asked me to, I'm sure, tell him what I knew

23   about the Holmes plan.

24   Q.              What did you tell him?

25                   MR. WALKER:     You can tell him.


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 1                   THE WITNESS:     I thought you didn't want

 2   me to --

 3                   MR. WALKER:     You can tell him.

 4   A.              I told him that I didn't -- I didn't

 5   think that was a good change to our map because,

 6   again, it put all of -- not all.          But put another

 7   split into the 7th District.         Which I didn't think

 8   it was equitable to put most of the splits in one

 9   congressional district.

10   Q.              Did you tell him anything else?

11   A.              That's basically it.

12   Q.              Did you provide any evaluations or

13   recommendations regarding that map?

14   A.              Other than voting it down, no.          I

15   suggested they not vote for it.

16   Q.              Moving to the Faulkner congressional

17   plan two.

18   A.              Yes.

19   Q.              Why did you review that map?

20   A.              That was the change where I had put

21   Homewood back together that made a few people in

22   Jefferson County, I guess, unhappy.

23                   So representative Faulkner, who is from

24   Jefferson County, had a map that took the three

25   Homewood precincts out of District 7 and put them


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 1   into District 6, and took four precincts in the

 2   Center Point area, which is the northern end of

 3   District 7, and put those back into District 7.              So

 4   I reviewed those changes.

 5   Q.              Similar to before, were you asked by

 6   anybody to review that plan?

 7   A.              I was.    And whatever -- again, I think

 8   these were offered in the house.          So I think it

 9   probably would have been Representative Pringle that

10   asked me for a quick analysis of what the plan

11   changes were.

12   Q.              And what did you tell him?

13   A.              I told him that it moved the Homewood

14   area into District 6, and it took those four

15   precincts at the northern end of district -- who

16   were in District 7 and added them back into District

17   7.

18                   And I allowed as how I didn't think that

19   was really a good thing to do because it eliminated

20   some of my geographical compactness of what I was

21   trying to do when we were adding in western

22   Jefferson and not extending the quote, unquote

23   finger further north into Jefferson County.

24   Q.              To your knowledge, did any of the

25   changes from your plan to the Faulkner plan have to


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 1   do with any racial factors?

 2   A.              I don't know -- I mean, I don't know

 3   about the motivations of who drew the Faulkner plan.

 4   Q.              Are you aware of any racial

 5   considerations that were taken in account in drawing

 6   the Faulkner plan?

 7   A.              I'm not.

 8                   MR. WALKER:     Objection to form.       You may

 9   answer.

10   Q.              What about the Singleton plan?          Why did

11   you review that plan?

12   A.              Well, that was one that -- the initial

13   Singleton plan was one that was offered at a number

14   of public -- virtually every public hearing, I

15   believe.    It had been in existence for quite a

16   while.

17                   So I looked at it for what it -- you

18   know, for what it was doing.         And I had a little

19   more time to look at it, actually, than some of

20   these other ones that came in at the last minute.

21   Q.              Do you know what feedback there was from

22   the public hearings on the Singleton plan?

23   A.              Not specifically.       I really don't.

24   Q.              Did you ever hear of any public feedback

25   on the Singleton plan?


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 1   A.              Not that comes to mind, no.

 2   Q.              Were you asked by anybody to review the

 3   Singleton plan?

 4   A.              Again, I was when it was offered in the

 5   house or senate -- I guess it was offered on the

 6   senate floor maybe first.        Whichever chair of

 7   wherever it was offered, I was asked to comment on

 8   it.

 9   Q.              And what did you tell that chairperson?

10   A.              Well, the initial Singleton plan was not

11   a zero deviation plan.        So it really didn't meet our

12   guidelines.     I also think it paired a couple of

13   incumbents, if I'm remembering the plan correctly,

14   in the 3rd District.       I think it put in -- put maybe

15   Shelby County in the 3rd.        So it would have paired

16   Gary Palmer and Mike Rogers.         And it wasn't to zero

17   deviation.     Also, it didn't have a majority black

18   district in it.

19   Q.              Was that an issue to you, that there's

20   not a majority black district?

21   A.              Yeah.    Well, it -- it was an observation

22   that it did not have a majority black district.

23   Q.              Does that matter for any particular

24   reason to you?

25   A.              Well, it matters -- again, I'm not a


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 1   lawyer.    But I suppose there would be some question

 2   to how well it comported with Section 2 of the

 3   Voting Rights Act.       But, again, that wasn't my major

 4   concern with it.

 5   Q.              There were two subsequent Singleton

 6   plans, plan two and three.

 7   A.              Yeah.

 8   Q.              Both of which you stated -- and it

 9   describes here in Exhibit 9 as having adjustments

10   for population deviation.

11                   Were there any other changes in

12   Singleton plan two and three other than changes to

13   deviation, to your knowledge?

14   A.              Not to my knowledge.       And, again, I

15   looked at -- I didn't look at these plans

16   extensively.     But to my knowledge, it was just a

17   change in deviation.

18   Q.              Were those other observations that you

19   made to Singleton plan one regarding incumbents

20   being paired up against each other, a lack of a

21   black majority district, any other observations you

22   made, were any of those addressed with Singleton

23   plan two or three?

24   A.              Not that I'm aware of.

25   Q.              Were you asked by anybody to review


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 1   Singleton plan two and three?

 2   A.              Again, in whatever body they were

 3   offered in, the chair would have asked me about

 4   them, yes.

 5   Q.              Do you recall what recommendations or

 6   observations you provided?

 7   A.              Basically the same ones.        The narrow

 8   deviation, again while a more narrow deviation, was

 9   not to zero deviation.        And I think it still paired

10   the incumbents.       And as I remember, the BVAPs on the

11   districts were very similar between -- among the

12   three.    So I don't think it changed any of those

13   things.

14   Q.              You also mentioned that you looked at

15   briefly the Coleman plan, Hatcher plan, Waggoner

16   plan, and Barfoot --

17   A.              Yeah.

18   Q.              -- plan.

19   A.              Yes, sir.

20   Q.              Did you make any observations from your

21   looking at or review of those?

22   A.              No.   Well, the Barfoot plan was sort of

23   just the senate version of the Holmes plan making

24   the change for Representative Moore.

25                   The Wagner plan was basically Faulkner


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 1   and Barfoot put together or Barfoot and Holmes put

 2   together.    It also made the Moore change, but made

 3   the Faulkner change in Jefferson County.            So they

 4   were just sort of different versions or compilations

 5   of those two things.

 6   Q.              I'm going to stop you right there

 7   because I think there's -- it looks like there's two

 8   Waggoner plans here.       Which one are you referring

 9   to, three or one?

10   A.              Three was the combination.         One -- one

11   was essentially the Faulkner version of the plan,

12   only in a -- drawn up by a senator or offered by a

13   senator.

14   Q.              And I interrupted you there.         I think

15   the only other plan we haven't discussed yet is the

16   Hatcher plan.

17   A.              Right.    And, again, that came in, if I

18   remember correctly, the night before it was offered

19   on the floor.     So I really looked at it for

20   literally ten minutes before whoever -- wherever it

21   was offered.     I guess on the senate side.         So I

22   didn't do a very deep analysis of the Hatcher plan.

23   Q.              For each of these plans that you said

24   you just looked at briefly, the Coleman plan, the

25   Waggoner plans, the Barfoot plan, and the Hatcher


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 1   plan, is it a similar response as you had to the

 2   other ones, that you were asked to look at those by

 3   whoever was presenting them on the floor?

 4   A.              Whoever was managing the time, the time

 5   on the floor.

 6   Q.              And as to each of those, do you recall

 7   what your feedback was?

 8   A.              Yeah.    I mean, obviously, the Waggoner

 9   plan was the same as the Faulkner plan.            So I didn't

10   think it was a good change.         And the Barfoot plan

11   was essentially the same as the Holmes plan.             So I

12   didn't think that was a good change.           And the

13   Waggoner three was just a compilation of the two of

14   them added together, which didn't do anything to

15   move the bar.

16   Q.              What about the Coleman plan?

17   A.              The Coleman plan, again, I didn't look

18   -- didn't have a chance to look at very much.              I

19   believe it paired two incumbents in 1, in District

20   1, Carl and Moore.       And it certainly didn't respect

21   the cores of districts because I think it had

22   District -- District 7 went from Mobile to

23   Tuscaloosa maybe.

24                   Anyway, again, I didn't spend a lot of

25   time on either of those, looking at either of those


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 1   plans.

 2   Q.              What about the Hatcher plan?

 3   A.              The Hatcher plan I think was obviously a

 4   two black district plan.

 5                    THE REPORTER:      Two?

 6   A.              Two black district plan.        I do think it

 7   -- I think it paired incumbents, but maybe I'm

 8   wrong.     Again, geographically it was not very

 9   compact.     I think it went from Mobile to Russell

10   essentially on one of the black districts.

11                   So I didn't think it -- I didn't think

12   it followed our guidelines very well in terms of

13   compactness.

14   Q.              Other than compactness --

15   A.              And splits.     I think it also had like 13

16   county splits, where the Pringle plan had six.              I

17   think it split a lot more precincts.

18   Q.              Other than compactness and splitting

19   precincts, was there any other reason that you felt

20   that the Hatcher plan did not comply with the

21   guidelines?

22   A.              Those were the main issues.

23   Q.              Were there any other issues?

24   A.              I don't think so.

25   Q.              And with the Singleton plan, were there


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 1   any reasons why you felt that the Singleton plan did

 2   not comply with the redistricting guidelines?

 3   A.              Yeah.    Well, the initial Singleton plan

 4   was not to zero deviation.         It did pair incumbents

 5   again in the 6th -- in the 3rd District, it had two

 6   incumbents together, Moore and -- not Moore.             Palmer

 7   and Mike Rogers.

 8   Q.              Any other reasons?

 9   A.              And, again, it didn't have a majority

10   black district.

11   Q.              Speaking of that, when you drew your

12   map -- which on this table, I would assume that's

13   the Pringle congressional plan.          Correct?

14   A.              Yes, sir.

15   Q.              When you drew the 2021 congressional

16   map -- remind me.       Did you start with drawing

17   District 7?

18   A.              No.   Actually, I started -- I started

19   with District 5 because I knew it had to spill into

20   4.   And I had to do that before I could do much else

21   there.

22   Q.              What order did you go in for drawing the

23   districts after that?

24   A.              I basically moved down -- moved down the

25   state.    I did 5 to 4.     And then the changes that 4


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 1   -- putting Cherokee back together in 3, putting

 2   Blount back together in 6, corresponding changes in

 3   Tuscaloosa in 7.      I basically worked down the map

 4   from there.

 5   Q.              And you stated that you did not look at

 6   the racial data in drawing the 2021 map until the

 7   week before the special session, correct?

 8   A.              Correct.

 9   Q.              When you did review the racial data, if

10   it had shown that District 7 was below 50 percent

11   black voting age population, what would you have

12   done?

13   A.              I would have talked to legal counsel

14   about what steps to take at that point.

15   Q.              Do you believe that you would have

16   needed to make modifications to make the black

17   voting age population percentage higher than 50

18   percent?

19                   MR. WALKER:     Object to the form, calls

20   for speculation.

21   Q.              You can answer.

22   A.              I'm sorry.     Say that again.

23                    MR. THOMPSON:      Can I have the question

24   read back?

25                         (Record read.)


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 1   A.              I think if it had come back under 50

 2   percent, in consultation with legal counsel, I

 3   assume we would have, under the guidelines, looked

 4   for a basis and evidence to see if one existed to

 5   add African Americans to the district.

 6   Q.              Did you draw any other maps other than

 7   -- let me take a step back.

 8                   Did you draw any other congressional

 9   maps other than the HB-1 Pringle congressional plan

10   that was ultimately enacted?

11   A.              This cycle -- I don't know what time

12   frame we're talking about.

13   Q.              I'll try again.      Sorry.

14                   In drawing the 2021 congressional maps,

15   through that process you drew the map that was

16   ultimately enacted, correct?

17   A.              Yes, sir.

18   Q.              Did you draw any other maps in that

19   cycle --

20                    MR. WALKER:     I'm going to --

21   Q.              -- for the congressional plan?

22                   MR. WALKER:     -- object to the extent

23   that -- and you may not be intending to.            You're

24   asking him whether he tried to draw a two majority

25   black district --


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 1   Q.              I'm just asking if you drew any other

 2   maps at all.

 3                   MR. WALKER:     And my instruction to you

 4   is if you did anything at the instruction of me

 5   alone, then that would not be part of your answer.

 6   A.              Other than that, no.

 7   Q.              I've gone a little over an hour there,

 8   but I wanted to finish up.         I think I'm done with my

 9   questions for now.       So I think we'll take a break

10   and then allow some other folks to ask you some

11   questions.     Is that fair?

12   A.              That's fair.

13                   THE VIDEOGRAPHER:       We are off the

14   record.    The time is 2:28 p.m.

15                       (Recess was taken.)

16                   THE VIDEOGRAPHER:       We are back on the

17   record.    The time is now 2:47 p.m.

18                   MR. THOMPSON:      At this time, I'm going

19   to pass the questions to Mr. Blacksher.

20   EXAMINATION BY MR. BLACKSHER:

21   Q.              Good afternoon, Mr. Hinaman.

22   A.              Good afternoon.

23   Q.              So it was Dorman Walker who told you you

24   were required to achieve zero population deviation;

25   is that right?


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 1                   MR. WALKER:     Object to the form.

 2   Q.              You know, I'm having -- I've had trouble

 3   hearing you throughout.        So I'm going to have to ask

 4   you to speak up a little louder.

 5                   What was your last response?

 6                   MR. WALKER:     Are you talking to me, Jim?

 7                   MR. BLACKSHER:      The witness didn't

 8   respond?    That was you?

 9                   MR. WALKER:     That was I who said "Object

10   to the form."     He doesn't make objections.

11                    MR. BLACKSHER:      Oh, you said objection?

12                    MR. WALKER:     Yes.

13   Q.              Okay.    I'm going back to what you said

14   in your examination, your direct examination, I

15   guess we call it, where you said you were advised

16   that you needed to use zero deviation in your plan.

17   Is that right?

18   A.              That's correct.      Under two criteria for

19   redistricting, B, "Congressional districts shall

20   have minimal population deviation."

21                   I was told by counsel that that was zero

22   for six districts and plus one for one district.

23   Q.              And when you say "by counsel," you mean

24   -- well, I didn't ask you.         Were you advised by

25   lawyers other than Dorman Walker?


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 1   A.              No.

 2   Q.              So it was Dorman who told you that

 3   minimal deviation means zero deviation?

 4   A.              That's correct.

 5   Q.              Okay.    So you also drew the plan in

 6   1992.   And did you read the opinion of the court in

 7   West v. Hunt, the 1992 opinion that adopted your

 8   plan?

 9   A.              I'm sure I did in 1992 or '93.          But I

10   sure don't remember it today.

11   Q.              You don't recall -- well, let me ask you

12   this:   Did counsel tell you or remind you that in

13   that decision, the three-judge court said that

14   because it was a court-approved plan, a

15   court-ordered plan, it felt constrained to have

16   perfect or zero deviation.         But that if the

17   legislature had drawn the plan itself, it would have

18   had greater leeway with respect to deviation?

19                    MR. WALKER:     Objection.

20   Q.              Do you recall reading that?

21                   MR. WALKER:     Jim, you've asked that

22   question several ways.        And one -- it could be

23   interpreted in one way to be whether or not I gave

24   him advice on that.       If that's what you're asking, I

25   object to that.


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 1   Q.              Okay.    So if you read the West v. Hunt

 2   opinion -- let me ask this question -- do you recall

 3   the court saying that it felt compelled, because it

 4   was a court-ordered plan, to use zero deviation?

 5   A.              I do not.     As I said, I probably read it

 6   30 years ago.     I certainly don't remember what it

 7   said today.

 8   Q.              Were you advised to use zero deviation

 9   by anybody -- any lawyers in Washington, say,

10   connected with the republican party, the RNC or --

11   what was that other organization that you used

12   letters for?     NRRC or something?

13   A.              No.   In terms of the -- are you talking

14   about the 2021 plan?

15   Q.              The 2021 plan, yes.

16   A.              No, I did not speak to anybody at the

17   NRCC or the RNC or anybody in Washington other than

18   members of congress and their staffs.

19   Q.              Okay.    NRCC, what does that stand for?

20   A.              National Republican Congressional

21   Committee.

22   Q.              Okay.    But they didn't give you any

23   instructions or any advice about zero deviation?

24   A.              No, sir.

25   Q.              What about the members of congress in


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 1   the Alabama delegation?        Did they give you any

 2   instructions to use zero deviation?

 3   A.              No, sir.

 4                   MR. BLACKSHER:       Eli, did I print out a

 5   copy of the passage from State of Alabama versus

 6   U.S. Department of Commerce that you can show him?

 7                   MR. HARE:     Let me see here.

 8                   MR. BLACKSHER:       It's got a highlighted

 9   section in it.

10                   MR. HARE:     Yes.

11                   MR. BLACKSHER:       Okay.   Can you mark that

12   as -- what did you say, PX 10?

13                   MR. HARE:     Right.    It's PX 10.

14

15                  (Plaintiff's Exhibit 10 was

16                  marked for identification.)

17

18                   MR. BLACKSHER:       And show that to

19   Mr. Hinaman

20   Q.              That, Randy, is the document that was

21   filed by the State of Alabama, as you can see, in

22   Montgomery's federal court against the census bureau

23   and styled 21-211.

24                   And would you please read the

25   highlighted part in Paragraph 116 of the State's


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 1   complaint?

 2   A.              The part --

 3   Q.              Read it into the record.

 4   A.              I must admit highlighting in it in blue

 5   makes it rather hard to read.         But nevertheless.

 6                   "Even at the higher census geography of

 7   Alabama's congressional districts, the November 2020

 8   demonstration data indicated that the differential

 9   privacy algorithm skewed the data enough to create

10   population deviation on a level that courts have

11   found in other contexts to violate the supreme

12   court's equal population jurisprudence."

13   Q.              Thank you.

14                   And under that language is a table that

15   shows what the State thought were errors caused by

16   differential privacy in the demonstration.             And they

17   were congressional districts.

18                   Did counsel tell you that the State of

19   Alabama thought that the zero deviation requirement

20   was using flawed data, in their opinion?

21                   MR. WALKER:     Objection to form.       And I

22   instruct the witness not to answer.

23   Q.              Okay.    Are you going to follow counsel's

24   advice not to answer my question, Mr. Hinaman?

25   A.              I am.


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 1   Q.              So aside from what counsel told you,

 2   were you aware that the State of Alabama took the

 3   position in federal court that the -- that the 2020

 4   census, because of differential privacy, would not

 5   be reliable enough to use for zero -- for separating

 6   people at that level?

 7   A.              I was not.

 8                   MR. BLACKSHER:      Eli, if you can find

 9   that passage from the public hearing at Northeast

10   Alabama Community College.

11                   MR. HARE:     I've got it right here.

12                   MR. BLACKSHER:      And mark that as Exhibit

13   11, please.

14

15                  (Plaintiff's Exhibit 11 was

16                  marked for identification.)

17

18                   MR. BLACKSHER:      And show that to Randy,

19   to Mr. Hinaman.

20   Q.              As you can see, this is a transcript of

21   the reapportionment committee's hearing on September

22   1 at Northeast Alabama Community College.            And I've

23   printed out Page 12 and highlighted it.

24                   Would you read the highlighted statement

25   of one Toni McGriff who lives in Dutton?            Would you


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 1   read into that into the record, please?

 2                   MR. WALKER:     You haven't highlighted the

 3   whole statement.      You've highlighted Lines 5 through

 4   16.   Is that what you want him to read?

 5                   MR. BLACKSHER:      Yes, the highlighted

 6   lines, please.

 7   A.              "Most of Jackson County, particularly

 8   all of Jackson County -- practically all of Jackson

 9   County is in Congressional District 5.            But there is

10   a tiny little sliver of southern Jackson County

11   that's in 4.     And I understand about trying to get

12   everything equalized in terms of population.             But

13   the very few people who live there very frequently

14   think they're in District 5 and do not know who to

15   vote for.    And I would ask that you consider that

16   when you are redistricting so that you don't have

17   that tiny little sliver out of that county.             It is

18   in a section called Macedonia.          Senator Livingston

19   would know where I'm talking about, I'm sure."

20   Q.              Thank you.

21                   So did anyone on the reapportionment

22   committee, the chairs or counsel, show you or tell

23   you about that testimony?

24                   MR. WALKER:     Objection as to what he may

25   have been told my counsel.         Otherwise, he may answer


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 1   the question.

 2   A.              I was not familiar with that testimony.

 3   But I did, of course, put Jackson County back

 4   together.

 5   Q.              You sure did.      And who paid the price

 6   for that?     Lauderdale County?

 7   A.              Well, you're comparing 17 people to

 8   43,000 or something.       I'm not sure that's a fair

 9   comparison.     But yes.

10   Q.              Was it 17 people in Jackson County?

11   A.              I'm making up that number.         You're

12   comparing a few people to many tens of thousands.

13   But nevertheless.

14   Q.              In most of the cases on the 2021 plan,

15   the enacted plan, for example, down in Escambia

16   County where you had to put the eastern slice of

17   Escambia into 2?

18   A.              Yeah, 739 people.

19   Q.              739 people.     Do you think that they're

20   going to share the sentiment of Mr. Toni McGriff in

21   Jackson County?

22   A.              They may very well.

23   Q.              And what I'm saying, what I'm trying to

24   point out, can't we agree that most of these tiny

25   splits to achieve zero population result in people


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 1   being basically separated from their home county and

 2   put in a district where they really don't have much

 3   influence at all over the member of congress, right?

 4   A.              In the Escambia County case, I would

 5   agree with that.        Although looking at the map, there

 6   aren't many examples of that.         Because most of the

 7   other splits in the enacted map are much larger

 8   segments of folks.

 9   Q.              Okay.    Now, you said that you began

10   working on the congressional plan in May at some

11   point; is that correct, when you found out that

12   Alabama would have seven seats in congress

13   apportioned to it?

14   A.              Yes, once we found out seven.          And also

15   the guidelines were passed on May 5th.            I started

16   work thereafter.

17   Q.              And you were using estimated census data

18   to sort of rough out what that plan might look like;

19   is that correct?

20   A.              That's correct.

21   Q.              And those estimated census data were

22   only available for whole counties, right?

23   A.              I believe that's the case, yes.

24   Q.              So you were having to work with whole

25   counties.    And when the final census data came out,


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 1   you simply had to adjust with the correct 2020

 2   legacy data; is that correct?

 3   A.              That's correct.      Although while the

 4   estimates captured the flavor of the changes that

 5   happened over the last ten years, meaning four

 6   districts were over and three districts were under

 7   and the estimates properly identified those

 8   districts, they didn't really capture the magnitude

 9   of it.

10                   Because I think the estimates had the

11   7th District being 30,000 and some odd number under

12   when it ended up being 54, and it had the 5th

13   District being something like 23,000 over when it

14   was really 43.

15                   So while it captured the over/under

16   nature of the districts, it didn't -- it didn't do a

17   particularly good job of capturing the ultimate

18   numbers.

19   Q.              Did you attempt drawing a whole county

20   plan at that point in May of 2021?

21   A.              No.   I just -- no.

22   Q.              Why not?

23   A.              Well, I don't even consider it a plan.

24   I mean, I was just lumping together -- and I do

25   think I was able to split.         I just don't think the


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 1   answers were very accurate on what Maptitude had for

 2   estimates.

 3                   So I didn't -- I didn't -- I lumped some

 4   counties together and I split some larger counties

 5   based on precincts, knowing that those numbers were

 6   not going to be very accurate, and then waited until

 7   we got the real numbers.

 8   Q.              Okay.    And when you got the real

 9   numbers, did you attempt to draw a whole county

10   plan?

11   A.              I did not.

12   Q.              And why did you not attempt to do that?

13   A.              No one asked me to do that.         And, again,

14   my understanding of our guidelines would be that

15   that would not have followed the proper deviation.

16   Q.              Take a look at our whole county --

17                    MR. BLACKSHER:      Can you mark a copy -- I

18   don't think it's been passed around yet -- just so

19   we can be talking from something, the same thing?

20                   MR. HARE:     This will be Plaintiff's

21   Exhibit 12.

22

23                  (Plaintiff's Exhibit 12 was

24                  marked for identification.)

25


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 1   Q.              So think along with me, Mr. Hinaman,

 2   about how you might have attempted to reproduce your

 3   starting point of the plan, which was the 2011 plan,

 4   right?

 5   A.              Yes, sir.

 6   Q.              And if you were going to attempt to take

 7   the 2011 plan and create whole districts and you

 8   start with Congressional District 7, then you would

 9   try to make Jefferson, Tuscaloosa, and Montgomery

10   whole.    And that's what this plan does, doesn't it?

11   A.              It does.

12   Q.              You would have attempted to keep as much

13   of the black belt together as you could.            And that's

14   what this plan does, doesn't it?

15                   MR. WALKER:     Objection.     I'm not sure,

16   Jim, the way you're phrasing your questions, what

17   you're asking him.       You seem to be telling him what

18   he would have been doing and then -- I'm just

19   confused.

20                   MR. BLACKSHER:      I'm asking leading

21   questions, Counsel.        Is that all right?

22                   MR. WALKER:     Well, you're allowed to ask

23   leading questions.       I just didn't understand what

24   you were doing.      So go ahead, if that's what you

25   want to do.


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 1                    MR. BLACKSHER:      Can you read the

 2   question back, please, Court Reporter?            I'm sorry.

 3                         (Record read.)

 4                   MR. WALKER:     Objection to form.

 5   A.              It does, I guess.       Hale and Perry I

 6   think would be considered part of the black belt,

 7   and that's in a different district.           But by and

 8   large, you're correct, yes.

 9   Q.              Switching gears for a minute.          When you

10   met with Congresswoman Sewell, do I understand you

11   to say that she -- your testimony was that

12   Congresswoman Sewell wanted to keep her district the

13   way it is, adjusted for the population deviation

14   known; is that correct?

15   A.              I would phrase it this way:         I met with

16   Congresswoman Sewell and told her her district was

17   54,000 under.     And I gave her some options of where

18   it made, in my opinion anyway, sense to gain folks

19   to make up that 54,000 difference.           And then we

20   worked through that on the map.          That's how I would

21   phrase it.

22   Q.              Did Congresswoman Sewell tell you she

23   was opposed to attempting to draw two districts in

24   which blacks could elect candidates of their choice?

25   A.              She did not.     She didn't offer an


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 1   opinion, to my knowledge, on that issue.

 2   Q.              Say again.

 3   A.              She didn't offer an opinion on that, to

 4   my knowledge.

 5   Q.              And you didn't ask her about it?

 6   A.              I did not.

 7   Q.              Were you aware of all of the

 8   nongovernmental organizations and grass roots

 9   organizations in Alabama who have been urging the

10   legislature to draw two districts from which blacks

11   can elect candidates of their choice?

12   A.              I'm not sure that I was that aware of it

13   in our initial meetings in May.          Obviously, once

14   public hearings were held and your whole county plan

15   came out and so forth and so on, I was obviously

16   more aware of it at that point.

17   Q.              Okay.    So what you're saying is that you

18   simply sat down with Ms. Sewell and made suggestions

19   on how to increase -- get 53,000 and some odd

20   additional population in District 7, correct?

21   A.              That's correct, and keeping her existing

22   -- the core of her existing district together.

23   Q.              And didn't I hear you say you suggested

24   that one option might be to making Tuscaloosa County

25   and Montgomery County whole; that is, swapping the


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 1   population in Montgomery -- in Tuscaloosa County,

 2   north Tuscaloosa County, with a population that

 3   extends into Montgomery County?

 4   A.              I didn't offer that.

 5   Q.              What did -- you said something in your

 6   earlier examination about considering that option.

 7   A.              If I did, I didn't mean to.         I did not

 8   consider that option.

 9   Q.              You did not consider that option?

10   A.              No, I did not.

11   Q.              Why not?

12   A.              Because I started with her existing

13   cores of districts and I looked at what she needed

14   to gain, and I suggested areas that she may wish to

15   gain in.     And we worked through the map and made

16   those changes.

17   Q.              Well, I mean, was the -- is the little

18   -- the extension of District 7 that goes into

19   Montgomery County part of the core of that

20   district, in your opinion?

21   A.              It may be now.      It probably wasn't at

22   the -- obviously, I don't think it existed at the

23   beginning.     It's a lot of people.       I mean, I don't

24   know the exact number.        We can obviously look it

25   up.   But it's --


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 1   Q.              Well, I can tell you that based on the

 2   data that Dorman Walker and the reapportionment

 3   committee provided to us, the population of

 4   District 7 in Montgomery County is 62,519.

 5   A.              Okay.

 6   Q.              And the population of the portion of

 7   Tuscaloosa County that's in District 4, the

 8   northern part of Tuscaloosa County, is 42,770.              So

 9   there's about a 20,000 difference between those two

10   split counties making them whole in District 7.

11                    MR. BLACKSHER:      So I'm going to ask

12   Eli, if he would, to mark up those two documents

13   that show -- that are labeled Plan Tuscaloosa and

14   Montgomery Whole and show it to Mr. Hinaman.

15                   MR. HARE:     I'm going to mark them as

16   -- the map as Plaintiff's 13, and then the chart or

17   the data sheet as Plaintiff's 14, Jim.

18

19                (Plaintiff's Exhibits 13&14

20               were marked for identification.)

21

22   Q.              I'll tell you, Mr. Hinaman, that I did

23   this with Dave's Redistricting app.           Are you

24   familiar with Dave's Redistricting app?

25   A.              I've heard of it.       I've never used it.


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 1   Q.              Okay.    And I did exactly what I just

 2   suggested.     I made -- took Montgomery County

 3   completely out of District 7, and I put all of

 4   Tuscaloosa County into District 7.           And that 20,000

 5   difference I got out of Jefferson County.

 6                   Otherwise, it looks pretty close to

 7   the map that you ended up drawing and that was

 8   enacted.     But, of course, would you -- would agree

 9   that it otherwise (inaudible) the one that you

10   drew?

11   A.              Yeah.    Obviously, there's a split in

12   Blount and a split in Etowah that I don't have.

13   But yeah.

14   Q.              Well, this is a good point.         When you

15   talk about making changes in District 7 like I just

16   did with Dave's, you end up requiring changes in

17   several of the surrounding districts.

18                   I mean, for example, because District

19   6 lost population to District 7, I elected to get

20   some population out of Blount.          And that ended up

21   splitting Blount.

22   A.              Right.

23   Q.              And because Montgomery County went

24   into District 2, I ended up having to do a little

25   split of Elmore County, right?


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 1   A.              Yes, sir.

 2   Q.              And on up the line, if you will.           But,

 3   of course, I didn't have to interfere with the

 4   split you made in Lauderdale County.           And these are

 5   -- and this is not zero deviation.

 6                   If you look to the left in that table,

 7   you will see that there are as many as 471 people

 8   in District 2 who are going to have to be -- I'm

 9   sorry.    District 3 who are going to have to be

10   taken out, right?

11   A.              Yeah.    I'll take -- I can't find that

12   number on this sheet.       But I'll take your word for

13   it.

14   Q.              Well, it's on the map.

15   A.              Oh, I'm sorry.      Yeah, I see it.      Thank

16   you.     I was looking on the corresponding number

17   sheet.     Sorry.

18   Q.              The point I want to make here is isn't

19   it true when you're drawing maps and you get to 471

20   people who have to be moved in order to get to zero

21   deviation, you go down to the block level, right?

22   A.              Most times, yeah.       Precincts aren't

23   going to have an exact number or that small a

24   number.

25   Q.              And I'll represent to you that I


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 1   didn't -- this is drawn with precincts.            So you're

 2   going to have to split some precincts, right?

 3   A.              Yes, sir.

 4   Q.              But that usually can be done after you

 5   have achieved the goal you set out to in broader

 6   terms in your districting scheme, right?

 7   A.              Sure.

 8   Q.              There are a lot of ways that you can

 9   split precincts or counties in order to achieve

10   this -- this sacred zero deviation objective.              And

11   yet you didn't consider this option at all when you

12   were going over the plan with Congresswoman Sewell;

13   is that correct?

14   A.              That's correct.

15   Q.              She did not -- she did not have an

16   option to consider this arrangement, right?

17                   MR. WALKER:     Objection to form.

18   A.              Obviously, she could have said how

19   about if I get all of Tuscaloosa County and come

20   out of Montgomery?       Which she said neither.

21   Q.              Well, I wonder if the reason she said

22   neither is because it turns out that doing that

23   reduces the BVAP, the black voting age population,

24   to 49.79 percent?

25                   MR. WALKER:     For CD 7?


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 1                    THE REPORTER:      For what?

 2                    MR. WALKER:     CD 7.

 3   Q.              Do you see that in the statistical

 4   table?

 5   A.              Yes, sir, I do.

 6   Q.              So would that have been a problem for

 7   Terri Sewell based on what she was telling you were

 8   her objectives?

 9   A.              I don't know specifically.         I don't

10   think she considered this map.           So I can't -- I

11   don't really know how to answer your question.

12   Q.              Okay.    Did you and Congresswoman

13   Sewell discuss the whole county plan, the League of

14   Women Voters' whole county plan?

15   A.              We did not.     I don't think it -- in

16   our initial meetings, I don't think it existed.              Or

17   at least I was not aware of it.           I don't think she

18   was.     So we really did not.

19   Q.              It didn't exist in May, but it did

20   exist before you finalized the plan that became

21   HB-1, right?

22   A.              Correct.

23   Q.              And September 1, 2021, was the first

24   public hearing of the reapportionment committee.

25   And the League of Women Voters was the first


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 1   witness at the first hearing offering that plan;

 2   isn't that correct?

 3   A.              I wasn't at that hearing.         But I'll

 4   take your word for it.

 5   Q.              So you're telling us that the

 6   whole county plan offered by the League of Women

 7   Voters was never discussed at all when you were

 8   communicating with Congresswoman Sewell?

 9   A.              I don't believe it -- maybe it was

10   discussed at the very end about what other plans

11   are out there.      We may have had a minor discussion

12   about -- frankly, I think at that point in time

13   yours would have been the only other publicly

14   acknowledged congressional plan.          So she may have

15   mentioned it.     But we didn't have a very healthy

16   discussion about it.       Let's put it that way.

17   Q.              What do you mean not healthy?

18   A.              Very long, very detailed.         She was

19   asking what other plans have you heard about.               And

20   I think at that point, yours was the only one that

21   was public at that point in time.

22   Q.              Did she tell you she would object to

23   that plan?

24   A.              We didn't have that detailed a

25   discussion about it.


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 1   Q.              So we don't know -- we don't know

 2   whether Congresswoman Sewell would be happy with

 3   the whole county plan or not; is that correct?

 4   A.              I do not know, no.       You may know.

 5   Q.              Sir?

 6   A.              I don't know.      I mean, you may have

 7   talked to her about it.        I don't have any knowledge

 8   of it directly.

 9   Q.              I understand.

10                   Can you take another look at the

11   whole county plan map, please?

12   A.              Yes, sir.

13   Q.              And compare it -- and compare it with

14   the map of the 55 -- 555 plan, HB-1, the enacted

15   plan.

16   A.              Yes, sir.     Exhibit 5.

17   Q.              If the court wanted to -- was drawing

18   a remedial plan in this case, just for the sake of

19   argument, it had reached the point where it was

20   going to draw its own plan, and it wanted to change

21   the whole county plan to look more like the plan

22   that the legislature enacted, that would simply be

23   a matter of changing the array between Districts 5

24   and 4, correct?

25   A.              No.    I mean -- well, first of all,


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 1   Terri Sewell doesn't even live in District 7 under

 2   your whole county plan.        She lives in District 6.

 3   Q.              I'm sorry.     I'm not being clear, and

 4   my question was not understood by you.

 5                   I'm just asking if the court wanted to

 6   change the array -- if it was drawing a

 7   court-ordered plan and it wanted to make the whole

 8   county plan 5 and 4 look more like the whole --

 9   like the 5 and 4 districts in the enacted plan, it

10   would simply be a matter of balancing out the

11   populations between 4 and 5, correct, splitting

12   some counties as needed?

13   A.              Yeah.    Obviously, 4 has changes in

14   Tuscaloosa and St. Clair that are different than

15   the enacted plan.

16   Q.              Every -- every change has a ripple

17   effect, right?

18   A.              Yes, sir.

19   Q.              All right.     But there would be no

20   problem in putting Lauderdale, Colbert, and

21   Franklin in CD 4 and moving Morgan County back up

22   into CD 5 if the court wanted to do that and made

23   the splits necessary to bring it into population

24   equality; isn't that correct?

25   A.              Yeah.    These hypothetical the court


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 1   wants to change things are hard for me.            But yes, I

 2   guess that's correct.

 3   Q.              I'm looking at the map of the plan you

 4   drew in 1992 that was adopted by the three-judge

 5   court in West versus Hunt.         Did that map ever get

 6   shown to you today, or not?

 7   A.              It has not been shown to me today.

 8                   MR. BLACKSHER:      Okay.    I'm looking at

 9   it in the amended complaint.         I don't know if

10   anyone has a copy there that they can show

11   Mr. Hinaman or not.

12                   But do you recall, Mr. Hinaman, that

13   the plan you drew in 1992 included all of the same

14   counties that are in the plan you drew in 2021?

15   A.              I'm not sure I -- I'm not sure I know

16   what that -- I'm not sure I know what you mean by

17   that.

18   Q.              The plan that you drew in 1992 had

19   Clarke split, it had Pickens split, Tuscaloosa and

20   Jefferson split, and Montgomery County split.

21                   Now, your plan in 2021 leaves Pickens

22   whole, correct?

23   A.              Correct, and Clarke whole.

24   Q.              And Clarke whole.       But Tuscaloosa,

25   Jefferson, and Montgomery are still split?


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 1   A.              Yes, sir.

 2   Q.              So your 2021 plan, the plan you drew

 3   and that was enacted by the legislature in 2021,

 4   preserves the core of the 1992 plan that you drew;

 5   is that correct?

 6   A.              It's -- it's correct.        But you've

 7   missed a few steps along the way, obviously.

 8   Because as we discussed earlier in the deposition

 9   testimony, it more preserves the cores of the 2011

10   districts, which I guess by chain preserve some of

11   the 2001 districts, which the legislature preserved

12   some of the 1992 districts, if that made any sense.

13                   In other words, I did not use the 1992

14   map as the starting point for my 2021 map.

15   Q.              No.   You used the 2011 plan, correct?

16   A.              Correct.

17   Q.              And isn't it true that the 2002 plan

18   and the 2011 plan preserved the cores -- the core

19   of the 1992 plan?

20   A.              For the most part.

21   Q.              Can we sum up your testimony about how

22   you went about drawing the 2021 enacted plan by

23   saying that you drew the plan so that it satisfied

24   what each incumbent member of the Alabama

25   congressional delegation wanted?          That was your


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 1   primary guideline, right?

 2   A.              Well, that was a part of it.         My

 3   primary guidelines were the guidelines given to me

 4   by the reapportionment committee, and then based

 5   off of the subsequent population shifts over the

 6   last ten years to repopulate or take away from,

 7   depending on the over/under of each district,

 8   population, and geography to reach the required

 9   guidelines of zero deviation and preserving the

10   cores of districts.

11                   And, of course, where possible -- and

12   we've had a couple of minor cases where it wasn't,

13   as we discussed with Representative Moore and so

14   forth.     But preserving what the incumbents would

15   have -- would like to accomplish, as well.

16   Q.              But your testimony is that nobody else

17   but the members of the Alabama congressional

18   delegation had any input into the decisions you

19   made about how to draw that plan; isn't that

20   correct?

21   A.              That's pretty much correct, yes, sir.

22   Q.              No member of the Alabama legislature's

23   reapportionment committee, including its chairs,

24   had any input into that plan; isn't that correct?

25   A.              They had all the input they wanted


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 1   into the plan.      But they chose to allow the members

 2   of congress to talk about what areas they wanted to

 3   gain and lose underneath the guidelines that they

 4   had already passed.

 5   Q.              And, in fact, in 19 -- let's see.

 6   Excuse me.

 7                   In 2011, that's what the legislature

 8   did, as well.     They simply deferred to what the

 9   congressional delegation wanted in redrawing that

10   plan, right?

11   A.              No, that's not -- that was the goal I

12   had.   But that's not what happened.          When we got --

13   as you may remember, when we got to the senate

14   floor, there were some members of the senate who

15   may have wanted to run in one district or another

16   who moved some things around.

17                   My map -- my initial map in 2011

18   didn't even have the 4th District in Tuscaloosa.

19   It had the 6th District in Tuscaloosa.

20                   So there were numerous changes made on

21   the senate floor and probably subsequently the

22   house floor from the map that the members and I

23   worked on, members of congress and I worked on.

24   Q.              But that didn't happen in 2021?

25   A.              It did not happen in 2021.         The map


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 1   that came out of -- the map that I gave to the

 2   chairs that was offered at the reapportionment

 3   committee was not amended through the process.                So

 4   it was identical to what was passed into law and

 5   signed by the governor.

 6   Q.              Okay.    So let me just go over -- I

 7   think I'm about finished here.          I want to make sure

 8   I understand what your testimony is.

 9                   You considered no other plans that did

10   not have a zero deviation; is that correct?             You

11   never considered drawing a plan that did not have a

12   zero deviation?

13   A.              That's correct.      My understanding and

14   -- my understanding of the guidelines required us

15   to be at zero deviation.

16   Q.              And you understood, didn't you, that

17   Jefferson County was now at a population level that

18   was smaller than an ideal congressional district

19   and, therefore, no longer needed to be split?              You

20   were aware of that, weren't you?

21   A.              I'm aware of it.      I'm not sure I

22   focused on it.      But what you say is true.

23   Q.              It wasn't -- it wasn't a priority for

24   you to try to make Jefferson County whole?             That's

25   what you're saying?


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 1   A.              That's correct.

 2                   And, frankly, when I started the

 3   meetings, I didn't even -- at the time I started

 4   the meetings -- subsequently I realized it.             But at

 5   the time I started the meetings, I actually thought

 6   that both Representative -- Congresswoman Sewell

 7   and Congressman Palmer both lived in Jefferson

 8   County.    As I turned out, he had -- Representative

 9   Palmer had moved over the last few years into

10   Shelby.

11                   But at the time, I would have thought

12   that that wasn't possible under our guidelines.

13   Because when I started the process, I thought they

14   both lived in Jefferson County.

15   Q.              But, in fact, you found out that

16   Congressman Gary Palmer lives about three blocks

17   south of the Jefferson County line in Shelby

18   County, and Congresswoman Sewell lives about a mile

19   away from where Palmer lives.         But she's on the

20   Jefferson side of the line in Lake Cyrus, right?

21   A.              That's correct, yeah.

22   Q.              But I also understood you to say that

23   Congresswoman Sewell considered making her

24   residence, for purpose of redistricting, Dallas

25   County.    Am I correct?


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 1   A.              I'm not sure I would phrase it that

 2   way.

 3                   When asked what residence -- when

 4   asked for her residence address so it could be put

 5   in the computer so that we would make sure she was

 6   inside her district, she gave us both her address

 7   where she votes at, which is obviously Jefferson

 8   County, and her ancestral home.          I don't know the

 9   right way to phrase it.        Where she grew up in

10   Dallas County.

11   Q.              She grew up in Selma, right?

12   A.              Yes.    Yes, sir.

13   Q.              Okay.    And you're aware, aren't you,

14   that there is no residency requirement for members

15   of congress, aren't you?

16   A.              I am aware.     I'm also aware it's

17   exceedingly difficult to get elected when you're

18   outside of your district.        It makes a rather good

19   TV spot.

20   Q.              So even though congress -- Congressman

21   Palmer still lives in the city of Birmingham, he's

22   in that part that extends into Shelby County, he

23   would not feel comfortable representing the

24   Birmingham area again; is that right?

25   A.              I don't know that.       He may feel


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 1   perfectly comfortable.        But I've -- I've seen in

 2   other races where, you know, the fact that somebody

 3   doesn't reside in their district is not a positive

 4   when you get around to campaigning.

 5   Q.              Okay.    I think I'm about done here.         I

 6   need one more look at my notes.

 7                   That's it.     Thank you very much,

 8   Mr. Hinaman.

 9   A.              Thank you.

10                   MS. MADDURI:     This is Lali Madduri for

11   the Caster plaintiffs.        We don't have any

12   questions.

13                   MR. THOMPSON:      I think that's all the

14   questions that I have at this time, too.            So on

15   behalf of all the plaintiffs, I'll pass the witness

16   at this time.

17                   MR. WALKER:     Let us have a few

18   minutes.

19                   THE VIDEOGRAPHER:       We're off the

20   record.    The time is 3:34 p.m.

21                       (Recess was taken.)

22                   THE VIDEOGRAPHER:       We are back on the

23   record.    The time is 3:39 p.m.

24                   MR. WALKER:     We have nothing to ask

25   Mr. Hinaman.     So I guess we're done.        Thank you


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 1   very much, everyone.

 2                   THE VIDEOGRAPHER:       This ends the

 3   deposition of Randy Hinaman.         The time is now

 4   3:40 p.m.

 5

 6               (DEPOSITION ENDED AT 3:40 P.M.)

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 1   STATE OF ALABAMA )

 2   JEFFERSON COUNTY )

 3

 4                     I hereby certify that the above

 5   proceedings were taken down by me and transcribed

 6   by me using computer-aided transcription and that

 7   the above is a true and correct transcript of said

 8   proceedings taken down by me and transcribed by me.

 9                     I further certify that I am neither of

10   kin nor of counsel to any of the parties nor in

11   anywise financially interested in the result of

12   this case.

13                     I further certify that I am duly

14   licensed by the Alabama Board of Court Reporting as

15   a Certified Court Reporter as evidenced by the ACCR

16   number following my name found below.

17                     So certified on December 9, 2021.

18

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24                          Birmingham, AL 35203

25


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